Case 3:16-md-02741-VC Document 1137-4 Filed 02/16/18 Page 1 of 58




                 Exhibit 3
     Case 3:16-md-02741-VC Document 1137-4 Filed 02/16/18 Page 2 of 58


                                                                     Page 1
 1               UNITED STATES DISTRICT COURT
 2             NORTHERN DISTRICT OF CALIFORNIA
 3

 4   IN RE:    ROUNDUP PRODUCTS                  )
     LIABILITY LITIGATION,                       )
 5                                               )
     ______________________________ ) MDL No. 2741
 6                                               )
     This document relates to:                   ) Case No.
 7                                               ) 16-md-02741-VC
     ALL ACTIONS                                 )
 8                                               )
     _______________________________)
 9

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14

15                      VIDEO DEPOSITION OF
16                  DENNIS WEISENBURGER, M.D.
17                     MONROVIA, CALIFORNIA
18                  MONDAY, JANUARY 22, 2018
19

20

21

22    REPORTED BY:
23    LISA MOSKOWITZ, CSR 10816, RPR, CRR, CLR,
24    NCRA REALTIME SYSTEMS ADMINISTRATOR
25    JOB NO. 136023

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       Case 3:16-md-02741-VC Document 1137-4 Filed 02/16/18 Page 3 of 58

                                         Page 2                                                         Page 4
 1                                                   1    --------------- I N D E X -----------------
 2                                                   2   WITNESS:           EXAMINATION                  PAGE
 3                                                   3   DENNIS WEISENBURGER, M.D.
 4                                                   4              Mr. Griffis         9, 147
 5          JANUARY 22, 2018                         5              Ms. Forgie             141
 6            8:41 A.M.                              6
 7                                                   7
 8                                                   8     -------------- E X H I B I T S ------------
 9        VIDEO DEPOSITION OF DENNIS                 9   NUMBER                             MARKED
10   WEISENBURGER, M.D., held at Courtyard by       10   Exhibit 31-1 Notice to take oral and 10
11   Marriott, 700 West Huntington Drive,           11              videotaped deposition of
12   Monrovia, California, before Lisa Moskowitz,   12              Dr. Dennis D.
13   California CSR 10816, RPR, CRR, CLR, NCRA      13              Weisenburger
14   Realtime Systems Administrator.                14   Exhibit 31-2 Amended Notice to take            10
15                                                  15              oral and videotaped
16                                                  16              deposition of Dr. Dennis
17                                                  17              D. Weisenburger
18                                                  18   Exhibit 31-3 Supplemental report of           10
19                                                  19              Dr. Dennis D.
20                                                  20              Weisenburger, M.D.,
21                                                  21              pursuant to PTO number
22                                                  22              34 and in support of
23                                                  23              general causation on
24                                                  24              behalf of plaintiffs
25                                                  25



                                         Page 3                                                         Page 5
 1   A P P E A R A N C E S:                          1
 2     ANDRUS WAGSTAFF ATTORNEYS AT LAW              2   Exhibit 31-4 Supplemental materials      10
 3     Attorneys for Plaintiffs                      3             related to the 2017 AHS
 4     7171 West Alaska Drive                        4             publication
 5     Lakewood, Colorado 80226                      5   Exhibit 31-5 Andreotti study         10
 6     BY: KATHRYN FORGIE, ESQ.                      6   Exhibit 31-6 Malathion monograph          18
 7                                                   7   Exhibit 31-7 Expert report of Dr.     73
 8    BAUM HEDLUND ARISTEI & GOLDMAN                 8             Dennis D. Weisenburger,
 9    Attorneys for Plaintiffs                       9             M.D., in support of
10    12100 Wilshire Boulevard                      10             general causation on
11    Los Angeles, California 90025                 11             behalf of plaintiffs
12    BY: PEDRAM ESFANDIARY, ESQ.                   12   Exhibit 31-8 Bonner study           93
13                                                  13   Exhibit 31-9 Koutros study          93
14    HOLLINGSWORTH                                 14   Exhibit 31-10 Koutros study          93
15    Attorneys for Defendant Monsanto              15   Exhibit 31-11 Heltshe study         103
16    1350 I Street, N.W.                           16   Exhibit 31-12 Montgomery study          122
17    Washington, D.C. 20005                        17   Exhibit 31-13 Rinsky study          122
18    BY: KIRBY GRIFFIS, ESQ.                       18
19    BY: ELYSE SHIMADA, ESQ.                       19
20                                                  20
21   ALSO PRESENT:                                  21
22    ANDREW TURNER, VIDEOGRAPHER                   22
23                                                  23
24                                                  24
25                                                  25



                                                                               2 (Pages 2 to 5)
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       Case 3:16-md-02741-VC Document 1137-4 Filed 02/16/18 Page 4 of 58

                                         Page 6                                                 Page 8
 1    QUESTIONS NOT ANSWERED                       1         MS. FORGIE: Kathryn Forgie for the
 2      PAGE LINE                                  2      plaintiffs.
 3       20 9                                      3         MR. ESFANDIARY: Pedram Esfandiary
 4       20 16                                     4      for the plaintiffs.
 5       21 14                                     5         MR. GRIFFIS: Kirby Griffis,
 6       22 5                                      6      Hollingsworth, LLP, for Monsanto.
 7                                                 7         MS. SHIMADA: Elyse Shimada,
 8                                                 8      Hollingsworth, LLP, for Monsanto.
 9                                                 9         THE VIDEOGRAPHER: Thank you.
10                                                10         Will the court reporter please
11                                                11      swear in the witness.
12                                                12
13                                                13   Dennis Weisenburger, MD,
14                                                14         called as a witness, having been
15                                                15         duly sworn, was examined and
16                                                16         testified as follows:
17                                                17
18                                                18          MS. FORGIE: I want to make a
19                                                19      statement for the record.
20                                                20          This deposition is being taken
21                                                21      pursuant to pre-trial order number 34.
22                                                22      It is limited to the recent Agricultural
23                                                23      Health Study publication. It is also
24                                                24      limited to two-and-a-half hours of
25                                                25      questioning.

                                         Page 7                                                 Page 9
 1   LOS ANGELES, MONDAY, JANUARY 22, 2018.        1              EXAMINATION
 2          8:41 A.M.                              2   BY MR. GRIFFIS:
 3                                                 3      Q. Good morning, Dr. Weisenburger.
 4        THE VIDEOGRAPHER: Good morning.          4      A. Good morning.
 5    This is the start of media labeled           5      Q. We met one time at a prior version
 6    number 1 of the video-recorded               6   of this deposition; is that right?
 7    deposition of Dennis Weisenburger in the     7      A. Yes.
 8    matter of Roundup Products liability         8      Q. You formed your opinions about
 9    litigation in the court of the U.S.          9   causation in this litigation, i.e., that
10    District Court, Northern District of        10   glyphosate causes non-Hodgkin's lymphoma
11    California, case number 16-MD-02741-VC.     11   without any data from the Agricultural
12    This deposition is being held at the        12   Health Study after the DeRoos 2005
13    Courtyard Marriott, address 700 West        13   publication; correct?
14    Huntington Drive, Monrovia, California      14         MS. FORGIE: Objection.
15    91016 on January 22 at approximately        15         THE WITNESS: That's correct.
16    8:41 a.m.                                   16   BY MR. GRIFFIS:
17        My name is Andrew Turner. I am the      17      Q. At your deposition I showed you an
18    legal video specialist from TSG             18   unpublished draft of some data through 2013
19    Reporting, Incorporated, headquartered      19   from the AHS pool of data, and we discussed
20    at 747 Third Avenue, New York, New York.    20   it. That was not included in your original
21    The court reporter today is Lisa            21   report or in your original assessment of
22    Moskowitz in association with TSG           22   causation; right?
23    Reporting.                                  23      A. That's correct.
24        Counsel, will you please introduce      24      Q. And that data, additional data, has
25    yourselves.                                 25   now been published in the 2018 publication


                                                                           3 (Pages 6 to 9)
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      Case 3:16-md-02741-VC Document 1137-4 Filed 02/16/18 Page 5 of 58

                                       Page 10                                             Page 12
 1   in the "Journal of the National Cancer          1   evidence that Roundup glyphosate-containing
 2   Institute," and we're going to be talking       2   substances don't cause NHL?
 3   about that today; right?                        3       A. Well, I give it some weight because
 4      A. Yes.                                      4   it is now a published study in a reputable
 5      Q. Now, you said in your                     5   journal, but there are significant issues
 6   supplemental -- well, let me say what I've      6   and flaws in the study which would lead me
 7   marked prior to starting the deposition.        7   to not give it very much weight or to change
 8   Exhibit 1 is the original notice of             8   my opinion.
 9   deposition in this case. Exhibit 2 is a         9       Q. Does it weaken your conviction that
10   second notice of deposition with the time      10   Roundup or glyphosate-containing substances
11   corrected because you asked to be deposed at   11   cause non-Hodgkin's lymphoma?
12   9 o'clock, rather than 1 o'clock, the          12       A. No.
13   original information we had. 3 is your         13          MS. FORGIE: Object to the form.
14   supplemental expert report that's marked in    14          THE WITNESS: No.
15   front of you. 4 is an additional materials     15   BY MR. GRIFFIS:
16   considered list that we received quite         16       Q. If you give it some weight, sir,
17   recently, and 5 is the National Cancer         17   would you please explain how it is that it
18   Institute 2018 study.                          18   does not weaken your conclusion?
19          (Exhibit Numbers 31-1, 31-2,            19       A. Well, the findings are basically
20          31-3, 31-4, and 31-5 were               20   the same as the original De Roos study.
21          marked for identification.)             21   They added more cases. They added more
22   BY MS. FORGIE:                                 22   follow-up time. They did a bit more
23      Q. Correct, sir?                            23   sophisticated analysis, but the results are
24          MS. FORGIE: I don't think we have       24   basically the same in all findings. So I
25      all the copies here, additional copies.     25   don't give it really more -- any more weight

                                       Page 11                                             Page 13
 1          MR. GRIFFIS: Do you need an              1   than I gave the original De Roos study.
 2      additional copy of the notice of             2      Q. And that weight, the weight that
 3      deposition?                                  3   the original De Roos study had, was built
 4          MS. FORGIE: I just want to make          4   into your original evaluation and your
 5      sure I know what it is.                      5   original expert report, of course; correct?
 6          THE WITNESS: Everything is here.         6      A. Yes.
 7          MS. FORGIE: Yeah, but it's not           7      Q. Would you please comment on why you
 8      here. Let me just look real quick.           8   give it no more weight than you gave to the
 9          Okay.                                    9   De Roos 2005 paper if it is, as you just
10   BY MR. GRIFFIS:                                10   said, larger and has more follow-up time and
11      Q. In your supplemental expert report,      11   more sophisticated methods of analysis?
12   sir, which is Exhibit 3, can you get that      12          MS. FORGIE: Object to the form.
13   out, please. On the second page which is       13          THE WITNESS: Well, as I mentioned,
14   also the last page, last paragraph, the        14      there are significant issues and flaws
15   first sentence is "In conclusion, my opinion   15      with the study that I think call into
16   on the role of glyphosate as a cause of NHL    16      question the validity of the study in
17   has not changed based on the                   17      terms of a negative finding, and, you
18   recently-published update of the AHS";         18      know, if one looks at all of the
19   correct?                                       19      epidemiologic evidence, there are
20      A. Yes.                                     20      multiple case control studies which are
21      Q. So you don't rely certainly on the       21      positive. And there's one cohort study,
22   NCI, National Cancer Institute 2018 study as   22      the Agricultural Health study, which is
23   proof that Roundup does cause NHL; right?      23      negative. So you've got multiple
24      A. I do not.                                24      positive studies, you've got one
25      Q. And what weight do you give it as        25      negative study which is questionable,


                                                                       4 (Pages 10 to 13)
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      Case 3:16-md-02741-VC Document 1137-4 Filed 02/16/18 Page 6 of 58

                                         Page 14                                             Page 16
 1      and so it really doesn't change my             1   BY MR. GRIFFIS:
 2      opinion to any degree.                         2      Q. And recall bias refers not to just
 3   BY MR. GRIFFIS:                                   3   mistakes people might make when asked to
 4      Q. I don't want to misrepresent the            4   recall but differential recall based on
 5   methodology you applied, sir. You certainly       5   whether you already have the condition that
 6   don't just count up the positives and the         6   the study is looking at or don't have it;
 7   negatives and compare them. You weigh the         7   correct?
 8   value?                                            8      A. Yes.
 9      A. Correct.                                    9      Q. And that's why it tends to apply to
10      Q. And reliability of each study              10   case control and not as to cohort studies;
11   before you reach a conclusion. Fair?             11   right?
12      A. Yes, that's correct.                       12         MS. FORGIE: Object to the form.
13      Q. And one important factor in                13         THE WITNESS: Yes.
14   weighing the reliability and validity of         14   BY MR. GRIFFIS:
15   studies is the size of the study, the number     15      Q. If someone said recall bias happens
16   of exposed cases, the length of follow-up,       16   any time you ask anyone to recall, they
17   the sophistication of the epidemiologic          17   wouldn't understand what they were talking
18   analysis, et cetera; correct?                    18   about epidemiologically speaking; right?
19         MS. FORGIE: Object to the form.            19         MS. FORGIE: Object to the form.
20         THE WITNESS: Right. You look at            20         THE WITNESS: Well, in
21      each of the studies individually. You         21      epidemiologic terms, you're right.
22      draw some conclusions about whether they      22   BY MR. GRIFFIS:
23      are acceptable studies or not, and then       23      Q. Okay. Now, do you know, sir, that
24      you weigh that evidence. And that's           24   IARC found the AHS to be a highly
25      what I did.                                   25   informative study including their imputation

                                         Page 15                                             Page 17
 1     BY MR. GRIFFIS:                                 1   procedures?
 2        Q. Is it fair to say that the -- you         2          MS. FORGIE: Object to the form.
 3     identified a number of what you consider to     3          THE WITNESS: I don't recall that.
 4     be flaws in the National Cancer Institute       4   BY MR. GRIFFIS:
 5     2018 study in your supplemental expert          5      Q. Have you been shown the malathion
 6     report; right?                                  6   monograph, sir?
 7        A. Yes.                                      7      A. No.
 8        Q. Is it fair to say that it is              8      Q. And you know what I mean when I
 9     because of those flaws that you believe to      9   refer to the malathion monograph?
10     exist in the study that you have given it no   10      A. I assume it's an IARC monograph on
11     more weight than you originally gave to        11   malathion.
12     De Roos 2005?                                  12      Q. Do you know that when the
13        A. Yes.                                     13   glyphosate monograph was done, the same
14        Q. You don't claim that recall bias is      14   working groups were simultaneously working
15     a flaw in the NCI 2018 study; right?           15   on other substances?
16           MS. FORGIE: Object to the form.          16      A. Yes.
17           THE WITNESS: I don't claim that,         17      Q. And actually dividing their time
18        no.                                         18   between glyphosate and other substances --
19     BY MR. GRIFFIS:                                19      A. Yes.
20        Q. Recall bias is a concern for case        20      Q. -- including malathion. You know
21     control studies but generally not a concern    21   that, sir?
22     for cohort studies; is that fair?              22      A. I don't know what other pesticides
23           MS. FORGIE: Object to the form.          23   they were considering but yes, they were
24           THE WITNESS: That's true.                24   considering other pesticides as part of
25   ///                                              25   their work.


                                                                         5 (Pages 14 to 17)
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      Case 3:16-md-02741-VC Document 1137-4 Filed 02/16/18 Page 7 of 58

                                       Page 18                                            Page 20
 1       Q. I'll show you the malathion             1   reviewed this document.
 2     monograph.                                   2      Q. Yes, sir. You did review the
 3           MS. FORGIE: I'm going to object to     3   monograph for glyphosate; right?
 4       this. It's completely beyond the scope.    4      A. I did.
 5       It's not in his supplemental report and    5      Q. Take a look on page 7 under
 6       it's not about the AHS. Unless you can     6   "Exposure assessment."
 7       tie it pretty quickly to the AHS           7         Do you see that?
 8       publication, the actual publication        8      A. Yes.
 9       which was not published at the time --     9      Q. Do you see it says, "This section
10       the publication we're talking about       10   summarizes the exposure assessment and
11       which was not published at the time the   11   assignment for epidemiological studies of
12       malathion IARC monograph was, then I'm    12   cancer and exposure to the pesticides
13       going to instruct him not to answer.      13   considered in the present volume."
14           MR. GRIFFIS: I admonish counsel       14         MS. FORGIE: Don't answer that.
15       not to make speaking objections.          15   BY MR. GRIFFIS:
16           MS. FORGIE: That's not an             16      Q. And it lists multiple substances
17       objection. It's a statement as to what    17   including glyphosate?
18       is going on here.                         18         MS. FORGIE: Don't answer that,
19           MR. GRIFFIS: I admonish counsel       19      please.
20       not to make speaking statements.          20         This has nothing to do with what
21           MS. FORGIE: I'll make whatever        21      we're here for. I'm going to instruct
22       statements I can that are important.      22      him not to answer.
23           (Exhibit Number 31-6 was marked       23         MR. GRIFFIS: This is about the AHS
24           for identification.)                  24      data.
25   ///                                           25         MS. FORGIE: No, this is not about

                                       Page 19                                            Page 21
 1   BY MR. GRIFFIS:                                1      the AHS publication. This was published
 2     Q. Turn, sir, to what I've marked as         2      three years before the publication, and
 3   Exhibit 6. It's the same day as the other      3      he's already stated he hasn't reviewed
 4   monograms.                                     4      it.
 5         MS. FORGIE: 2015, three years            5   BY MR. GRIFFIS:
 6     before the publication.                      6      Q. Sir, you have a criticism of
 7         MR. GRIFFIS: Counsel.                    7   imputation; correct? Imputation as done in
 8         MS. FORGIE: I'm asking why are we        8   the NCI 2018?
 9     talking about this when this --              9      A. I have a criticism of imputation as
10         MR. GRIFFIS: We're not going to         10   it was done with regard to glyphosate.
11     have a debate on the record. He's not       11      Q. And do you know that the IARC
12     going to listen to your --                  12   commented on that very imputation procedure?
13         MS. FORGIE: I can make whatever         13      A. No, I don't know that they --
14     statements I want. Unless you can tie       14      Q. Turn to page 21, sir.
15     this into his supplemental report or the    15          MS. FORGIE: No, don't answer that.
16     AHS publication we're talking about, I'm    16      Don't answer any questions about the
17     going to instruct him not to answer.        17      malathion.
18     It's not appropriate.                       18   BY MR. GRIFFIS:
19         MR. GRIFFIS: We'll be back.             19      Q. Sir, you've said you haven't
20         MS. FORGIE: Fine. We've done that       20   reviewed the malathion monograph. You also
21     before.                                     21   haven't reviewed the section that addresses
22   BY MR. GRIFFIS:                               22   IARC's assessment of epidemiology from the
23     Q. Counsel.                                 23   agriculture Health Study including
24         Turn to page 7?                         24   glyphosate; is that right?
25     A. I'd like to state I haven't              25      A. I'm sorry. Repeat -- would you


                                                                      6 (Pages 18 to 21)
                       TSG Reporting - Worldwide          877-702-9580
       Case 3:16-md-02741-VC Document 1137-4 Filed 02/16/18 Page 8 of 58

                                       Page 22                                             Page 24
 1   repeat the question?                            1      A. Yes, there have been others.
 2      Q. Yes, sir. You said you haven't            2      Q. And there have been multiple
 3   reviewed the malathion monograph.               3   peer-reviewed papers applying that
 4      A. That's correct.                           4   methodology; right?
 5      Q. You also haven't reviewed the             5      A. Yes.
 6   section in the malathion monograph in which     6      Q. And you didn't know before today
 7   IARC addressed its view of the Agricultural     7   that IARC had also looked at that same
 8   Health Survey data including De Roos 2005       8   imputation procedure; right?
 9   and multiple subsequent publications that       9          MS. FORGIE: Object to the form.
10   they took into account in the glyphosate       10          THE WITNESS: I did not.
11   monograph and other monographs and gave its    11   BY MR. GRIFFIS:
12   assessment of the quality of that data;        12      Q. When you say that you agree with
13   right?                                         13   IARC that -- well, when you say that the NCI
14          MS. FORGIE: Don't answer that.          14   2018 paper is highly reliable, what do you
15      He's not going to answer questions about    15   mean by that, sir?
16      the malathion monograph.                    16          MS. FORGIE: Object to the form.
17   BY MR. GRIFFIS:                                17          THE WITNESS: I didn't make that
18      Q. Do you agree with the working group      18      statement.
19   that the AHS is a highly informative study?    19   BY MR. GRIFFIS:
20          MS. FORGIE: Could I have that read      20      Q. I'm sorry. Highly informative.
21      back, please.                               21          MS. FORGIE: Object to the form.
22   BY MR. GRIFFIS:                                22   BY MR. GRIFFIS:
23      Q. Do you agree with IARC that the AHS      23      Q. Let me ask it again cleanly --
24   is a highly informative study?                 24      A. Well, you know, it lays out in
25          MS. FORGIE: Object to the form.         25   detail the follow-up that was done, the

                                       Page 23                                             Page 25
 1          THE WITNESS: In general, I would         1   methodology, and, you know, it is
 2      say yes.                                     2   informative in the sense that it provides
 3   BY MR. GRIFFIS:                                 3   new information. But as I said before, I
 4      Q. Do you consider it to be -- let's         4   think that there are significant issues and
 5   talk specifically about the NCI 2018 data.      5   flaws that really take away from the -- call
 6   You know, sir, that there have been many,       6   the findings into question and take away
 7   many publications from the AHS pool of data;    7   from the validity of the study. And I'm
 8   right?                                          8   speaking specifically about the glyphosate
 9      A. Yes.                                      9   study.
10      Q. And they address many possible           10      Q. Had you reviewed the NCI 2018
11   outcomes, not just non-Hodgkin's lymphoma      11   paper, would you have recommended it for
12   and glyphosate; right?                         12   publication in the "Journal of the National
13      A. Yes.                                     13   Cancer Institute"?
14      Q. Many, many substances and other          14      A. I probably would have not.
15   exposures and other possible health risks      15      Q. You disagree with the peer
16   have been compared to many, many outcomes,     16   reviewers of the "Journal of the National
17   and there are multiple publications about      17   Cancer Institute" as to the appropriateness
18   that; right?                                   18   of the publication?
19      A. Yes.                                     19         MS. FORGIE: Object to the form.
20          MS. FORGIE: Object to the form.         20         THE WITNESS: I think the peer
21   BY MR. GRIFFIS:                                21      reviewers probably didn't address the
22      Q. Are you aware that there have been       22      issues and flaws in the study in an
23   multiple publications using the same           23      informative way and so didn't call into
24   imputation method that was used in the NCI     24      question the study. I mean, I don't
25   2018 paper?                                    25      know. The peer review is secret; so we


                                                                       7 (Pages 22 to 25)
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       Case 3:16-md-02741-VC Document 1137-4 Filed 02/16/18 Page 9 of 58

                                        Page 26                                            Page 28
 1      don't know who the peer reviewers were,      1   tumors or lymphoid malignancies overall,
 2      and we don't know what they said or          2   including NHL and its subtypes."
 3      didn't say.                                  3         Have I read that correctly?
 4   BY MR. GRIFFIS:                                 4      A. Yes.
 5      Q. Do you peer review for the "Journal       5      Q. And that accurately describes the
 6   of the National Cancer Institute"?              6   findings of the study; right?
 7      A. I don't remember if I have or not.        7         MS. FORGIE: Object to the form.
 8   Not commonly. Not usually, no.                  8         THE WITNESS: Yes.
 9      Q. You can't remember if you have; is        9   BY MR. GRIFFIS:
10   that right?                                    10      Q. In the discussion section, first
11      A. I can't remember off the top of my       11   paragraph of the discussion section on
12   head if I have or not.                         12   page 5 of 8, sir, the authors wrote, "In
13      Q. Okay. Are there any -- what              13   this updated evaluation of glyphosate use
14   journals -- are there any epidemiology         14   and cancer risk in a large perspective study
15   journals that you peer review for, sir?        15   of pesticide applicators, we observed no
16      A. I have done reviews for "Cancer          16   associations between glyphosate use and
17   Epidemiology, Biomarkers and Prevention." I    17   overall cancer risk or with total
18   may have done reviews for other epidemiology   18   lymphohematopoietic cancers including NHL
19   journals, but in general, I don't accept       19   and multiple myeloma."
20   reviews from epidemiology journals.            20         Have I read that right?
21      Q. Why is that?                             21      A. Yes.
22      A. Well, because it's a lot of work,        22      Q. That's an accurate description of
23   and I'm a busy man.                            23   the finding in the study; right?
24      Q. Why is it a lot of work to do            24         MS. FORGIE: Object to the form.
25   epidemiology reviews?                          25         THE WITNESS: Yes.

                                        Page 27                                            Page 29
 1      A. Well, any review is a lot of work.        1   BY MR. GRIFFIS:
 2   You have to read the paper critically. You      2      Q. On page 7 of 8, sir, in the
 3   have to read the literature around it. You      3   right-hand column in the first full
 4   have to understand the methodology. It can      4   paragraph, the authors of the NCI 2018 study
 5   take you literally hours and hours to do a      5   comment on the scope of this study compared
 6   proper review of a complicated or difficult     6   to the De Roos 2005 publication, and they
 7   article and write a very, I would say,          7   write, "In this perspective cohort study, we
 8   helpful and critical review of comments to      8   expanded a previous analysis of glyphosate
 9   the editor and to the authors. So it's a        9   use and cancer risk with more than eleven
10   lot of work to do that, and, of course, it's   10   years of additional follow-up and more than
11   done in my free time, my weekends, nights,     11   four times the number of glyphosate-exposed
12   and holidays. That's when I end up having      12   cancer cases, n equals 5,779 compared with n
13   to do it because I have a full-time job. So    13   equals 1,324."
14   I don't do it very often. I very carefully     14          Did I read that right?
15   pick the articles that I review, things that   15      A. Yes.
16   I'm interested in or things that I've          16      Q. That's an accurate comparison of
17   done -- I have myself done research on         17   this study to the De Roos 2005 study;
18   usually.                                       18   correct?
19      Q. Take a look at Exhibit 5, the NCI        19          MS. FORGIE: Object to the form.
20   2018 paper, sir.                               20          THE WITNESS: Yes.
21          I'm going to start out in the           21   BY MR. GRIFFIS:
22   abstract, the part marked "Conclusions. The    22      Q. On the other -- in the left-hand
23   author has concluded that in this large        23   column, sir, the first full paragraph, the
24   perspective cohort study, no association was   24   authors repeat that they observed no
25   apparent between glyphosate and any solid      25   associations between glyphosate use and NHL


                                                                       8 (Pages 26 to 29)
                       TSG Reporting - Worldwide           877-702-9580
      Case 3:16-md-02741-VC Document 1137-4 Filed 02/16/18 Page 10 of 58

                                       Page 30                                             Page 32
 1   overall or any of its subtypes. And then        1   association between the substance being
 2   they say, "This lack of association was         2   examined and the multiple cancers being
 3   consistent for both exposure metrics,           3   examined; correct?
 4   unlagged and lagged analyses, after further     4         MS. FORGIE: Object to the form.
 5   adjustment for pesticides linked to NHL in      5         THE WITNESS: Yes.
 6   previous AHS analyses and when we excluded      6   BY MR. GRIFFIS:
 7   multiple myeloma from the NHL grouping."        7      Q. So we just talked about the all
 8         Have I read that correctly?               8   cancers finding. There are also multiple
 9         MS. FORGIE: Object to the form.           9   breakdown, oral cavity, colon, rectum,
10         THE WITNESS: Yes.                        10   pancreas, lung, melanoma, prostate,
11   BY MR. GRIFFIS:                                11   testicular, bladder and kidney --
12      Q. And that's accurate. They did all        12         MS. FORGIE: Are you still on
13   those adjustments and they still found no      13      Table 2?
14   association; correct?                          14         MR. GRIFFIS: Yes.
15         MS. FORGIE: Object to the form.          15         MS. FORGIE: Thank you.
16         THE WITNESS: Yes.                        16   BY MR. GRIFFIS:
17   BY MR. GRIFFIS:                                17      Q. And those are all negative as well;
18      Q. In Table 2, sir, Table 2 of the          18   correct?
19   data table, these are their findings for all   19      A. I don't know. I didn't look
20   cancers, multiple and specific, solid and      20   carefully at them.
21   lymphohematopoietic cancers; correct?          21      Q. Yes, sir.
22      A. Yes.                                     22      A. Yes, I guess, they are all
23      Q. For all cancers they found no            23   negative. That's true.
24   association. All of the relative risks were    24      Q. So they're all very close to one,
25   right around one; correct?                     25   some of the values are above one, some of

                                       Page 31                                             Page 33
 1          MS. FORGIE: Object to the form.          1   the values are below one. All of them are
 2          THE WITNESS: Yes.                        2   non-significant and the P-trend, which is a
 3   BY MR. GRIFFIS:                                 3   way of looking at a group of relative risks
 4       Q. And when -- generally speaking,          4   and confidence intervals together for
 5   sir, when an epidemiology study investigates    5   different exposure levels, those are all
 6   whether a particular exposure causes a          6   non-significant as well; correct?
 7   particular outcome, it looks at a whole         7      A. Yes.
 8   bunch of different outcomes and it finds        8      Q. And that was for the solid tumors
 9   relative risks a little bit above one, a        9   to be clear.
10   little bit below one, consistently none of     10         Let's talk about the
11   them are statistically significant, the        11   lymphohematopoietic cancers which would be
12   confidence interval is always straddling the   12   the lymphomas -- correct? -- and leukemias?
13   one, that's what you would expect to see       13      A. Yes.
14   when a substance does not cause cancer;        14      Q. The overall figure for
15   right?                                         15   lymphohematopoietic cancers is negative.
16          MS. FORGIE: Object to the form.         16   Relative risks are all one or below.
17          THE WITNESS: In general, yes.           17   Confidence intervals all straddle the null,
18   BY MR. GRIFFIS:                                18   the one; correct?
19       Q. So, in general, and we'll talk          19         MS. FORGIE: Object to the form.
20   about your specific criticisms of this in a    20         THE WITNESS: Yes.
21   moment, of course, sir, but, in general,       21   BY MR. GRIFFIS:
22   this is the pattern of relative risks, point   22      Q. And the subtypes, the Hodgkin
23   estimates, and confidence intervals you        23   lymphoma breakdown is also negative. The
24   would expect to see in a large epidemiology    24   overall non-Hodgkin's lymphoma breakdown is
25   study where there is, in fact, no              25   negative; correct?


                                                                       9 (Pages 30 to 33)
                       TSG Reporting - Worldwide           877-702-9580
      Case 3:16-md-02741-VC Document 1137-4 Filed 02/16/18 Page 11 of 58

                                       Page 34                                            Page 36
 1         MS. FORGIE: Are you on Table 3 now       1   data, they broke it into tertiles, and when
 2      or Table 2?                                 2   there was the least amount of data, they
 3         MR. GRIFFIS: Still on Table 2.           3   broke it into moieties, into halves; right?
 4         THE WITNESS: Second part of              4     A. Correct.
 5      Table 2.                                    5     Q. This is one of the ones for which
 6         MS. FORGIE: Okay.                        6   they had the least data, and these values
 7         THE WITNESS: So both Hodgkin and         7   are above one, but they are not significant;
 8      non-Hodgkin show the same pattern.          8   correct?
 9   BY MR. GRIFFIS:                                9     A. Correct.
10      Q. Right. I.e., no association;            10         MS. FORGIE: Objection.
11   correct?                                      11   BY MR. GRIFFIS:
12      A. Correct.                                12     Q. So, again, there's no association
13      Q. And then there's a breakdown for        13   for non-Hodgkin's lymphoma T-cell in this
14   various subtypes of non-Hodgkin lymphoma;     14   data; correct?
15   correct?                                      15         MS. FORGIE: Object to the form.
16      A. Yes.                                    16         THE WITNESS: There's no
17      Q. So for non-Hodgkin lymphoma B-cell,     17     significant association.
18   there's no association. For chronic           18   BY MR. GRIFFIS:
19   lymphocytic lymphoma and small lymphocytic    19     Q. The .31 is a measure of the
20   leukemia, there is no association; correct?   20   P-trend -- correct? -- whether there's an
21      A. Correct.                                21   association across the data?
22      Q. For diffuse large B-cell lymphoma,      22     A. .31 just looks at trend by
23   no association; correct?                      23   comparing the different groups. So what the
24         MS. FORGIE: Object to the form.         24   .31 is telling you is that the M2 group does
25         THE WITNESS: Correct.                   25   not have a higher risk ratio than the M1; so

                                       Page 35                                            Page 37
 1    BY MR. GRIFFIS:                               1   that's why it's not significant.
 2       Q. For marginal-zone lymphoma, no          2      Q. This data would show -- you said
 3    association; correct?                         3   there's an association but not a
 4       A. Correct.                                4   statistically significant one; right, sir?
 5       Q. For follicular lymphoma, no             5   Is that what you said?
 6    association; correct?                         6      A. Right. So you can see in the M1
 7       A. Correct.                                7   there's an over fourfold increase odds ratio
 8       Q. For multiple myeloma, no                8   for T-cell lymphoma, but since there's only
 9    association; correct?                         9   six cases in the M2 group, there wasn't an
10       A. Correct.                               10   increased -- there was a small increased
11       Q. For non-Hodgkin lymphoma T-cell, we    11   odds ratio. So what this is telling you
12    have the smallest -- we have a very small    12   there isn't really what I would call a
13    exposed group so that they have to use       13   dose-response effect here, although it's a
14    moieties instead of breaking into three or   14   very crude analysis with very few cases and
15    four groups; right?                          15   only two groups so . . .
16       A. Right. They can only break them        16      Q. So the data shows no-dose response?
17    into two groups.                             17          MS. FORGIE: Object to the form.
18       Q. Let's comment on that for a moment.    18          THE WITNESS: Well, the data is so
19    When there was enough data, they broke it    19      small that it's hard to draw any
20    into four groups, into quartiles; right?     20      conclusions from that.
21          MS. FORGIE: Object to the form.        21          MS. FORGIE: Counsel, when you get
22          THE WITNESS: Tertiles or               22      a chance, the reason I keep asking if
23       quartiles, yes.                           23      we're still on Table 2 is maybe when you
24   BY MR. GRIFFIS:                               24      finish Table 2, we can take a break. I
25       Q. And when there was slightly less       25      left my phone, I think, in the room so


                                                                    10 (Pages 34 to 37)
                       TSG Reporting - Worldwide         877-702-9580
      Case 3:16-md-02741-VC Document 1137-4 Filed 02/16/18 Page 12 of 58

                                         Page 38                                             Page 40
 1      when you get to a good breaking point.         1   BY MR. GRIFFIS:
 2      That's why I keep saying are you still         2      Q. A point estimate of greater than
 3      on table 2.                                    3   one without regard to the confidence
 4         MR. GRIFFIS: Okay. I'll stop when           4   interval.
 5      we're done with table 2.                       5      A. Yes, that's true.
 6         MS. FORGIE: Okay, or if there's an          6         MR. GRIFFIS: We can take a break.
 7      earlier one, whatever is best for you.         7         MS. FORGIE: Thank you.
 8   BY MR. GRIFFIS:                                   8         THE VIDEOGRAPHER: We are going off
 9      Q. So the data for non-Hodgkin                 9      the record at 9:14 a.m.
10   lymphoma T-cell is so small you can't draw a     10         (Recess taken from 9:14 a.m. to
11   reasonable conclusion; is that --                11         9:24 a.m.)
12         MS. FORGIE: Object to the form.            12         THE VIDEOGRAPHER: This continues
13         THE WITNESS: I would say that is           13      disk number 1. We are going back on the
14      true.                                         14      record. The time is 9:24 a.m.
15   BY MR. GRIFFIS:                                  15   BY MR. GRIFFIS:
16      Q. You made a distinction earlier, and        16      Q. All right, Dr. Weisenburger, I'd
17   I'm not talking about non-Hodgkin lymphoma       17   like to go to Exhibit 3, which is your
18   T-cell in particular, I'm talking in             18   supplemental expert report.
19   general. You made a distinction between          19         You told me earlier that there are
20   whether there's an association or not and        20   a number of what you consider to be errors
21   whether that association is statistically        21   or weaknesses or flaws in the NCI 2018 paper
22   significant; right?                              22   that caused you to give it no more weight
23      A. Right.                                     23   than you gave to De Roos 2005. What I want
24      Q. What does "statistically                   24   to do first is just enumerate the flaws you
25   significant" mean in epidemiology, sir?          25   see in the NCI 2018 paper. Let's get that

                                         Page 39                                             Page 41
 1        A. Well, it's a measure of the               1   done first, and then we'll talk about them.
 2     likelihood of -- that the association is due    2         So I'll give you some guidance but
 3     to chance. So if it is statistically            3   tell me if I'm wrong about anything. It
 4     significant, it's unlikely to be due to         4   seems to me that the first one that you
 5     chance. It's very likely to be real.            5   identified, sir, is a response rate one.
 6        Q. When we're looking at each of these       6   This is in the first -- the second
 7     point estimates like under follicular           7   paragraph. You raised the issue of problems
 8     lymphoma, the point estimate for the first      8   that could happen if response rates to
 9     tertile is 0.89; correct?                       9   follow-up surveys are low, and then you say,
10        A. Right.                                   10   "Only 44 percent of enrolled applicators
11        Q. Where we looked to see if it's           11   completed and returned a supplemental
12     statistically significant is the confidence    12   questionnaire"; correct?
13     interval, the parenthetical afterwards and     13      A. Yes.
14     to see if that spans or does not span the 1,   14      Q. That 44 percent does not -- doesn't
15     the null value; correct?                       15   reflect a questionnaire that was actually
16        A. Yes.                                     16   used in the NCI 2018; right?
17        Q. If somebody said statistically           17      A. Oh, I'm sure data to perform that
18     significant means greater than one, and        18   supplemental questionnaire was used.
19     that's all it means, they don't know what      19         MS. FORGIE: Object to the form.
20     they're talking about; right?                  20   BY MR. GRIFFIS:
21            MS. FORGIE: Well, object to the         21      Q. The two surveys that were used were
22        form.                                       22   the original one and the 1999 to 2005 one.
23            THE WITNESS: Well, it depends           23   You go on to describe 37 percent of
24        where the one is.                           24   applicators failing to respond to that one;
25   ///                                              25   correct?


                                                                       11 (Pages 38 to 41)
                        TSG Reporting - Worldwide            877-702-9580
      Case 3:16-md-02741-VC Document 1137-4 Filed 02/16/18 Page 13 of 58

                                       Page 42                                             Page 44
 1      A. Right.                                    1         THE WITNESS: You have to repeat
 2      Q. And the two that are described in         2      the question. I don't understand the
 3   the study and from which the data are pooled    3      question.
 4   in the NCI 2018 study and the text of the       4   BY MR. GRIFFIS:
 5   study and the methods and analysis are the      5      Q. I'm just trying to get a list right
 6   1999 -- the original survey, 1993 to '97 and    6   now so that we can go through and do them
 7   the '99 to 2005 one; right?                     7   one by one, a list of what you perceive to
 8      A. Well, the supplemental                    8   be the flaws in the NCI 2018.
 9   questionnaire in which only 40 percent of       9      A. Okay.
10   the applicators responded was a take-home      10      Q. I'm trying to know whether the
11   questionnaire after they filled out the        11   response rate one goes with the imputation
12   initial questionnaire for enrollment. Okay?    12   one so we can address them together or if
13   And that data was used in many of the          13   they're distinct facets of those.
14   studies and was probably used in -- it was     14      A. So, yeah, the lack of response from
15   probably used in the analysis of the people    15   37 percent of the applicators, the authors
16   who responded to the second questionnaire.     16   of the paper tried to address using this
17   And it was certainly used in the data from     17   imputation method. So they basically used
18   De Roos 2000 -- the first De Roos paper.       18   their method to try and guess what the
19      Q. 2005?                                    19   responses would have been for those
20      A. Yeah, so it's supplemental               20   37 percent of people who didn't respond.
21   information that they had on a subset and      21      Q. Okay. So the next flaw that you
22   they used that data. They didn't just          22   identified is in the, if I'm reading it
23   discard that data.                             23   correctly, it's in the second paragraph at
24      Q. Okay. We'll come back to that.           24   the end. You said that "For the responders,
25      A. They used what they had.                 25   pesticide use data was only obtained for the

                                       Page 43                                             Page 45
 1      Q. The first error -- should I call          1   last year of farming prior to the follow-up
 2   them errors or biases or flaws or what?         2   survey"; right?
 3      A. I think they're flaws.                    3          MS. FORGIE: Object to the form.
 4      Q. The first flaw that you identified        4          THE WITNESS: Let's see. Where is
 5   in your supplemental expert report is the       5      that?
 6   non- -- the relatively high non-response        6   BY MR. GRIFFIS:
 7   rate. The non-response rate; correct?           7      Q. It's the second paragraph of your
 8      A. In the follow-up and supplemental         8   supplemental expert report at the end of
 9   questionnaires, yes.                            9   that paragraph.
10      Q. Okay. And the way that was               10      A. Yeah, so they only asked -- in this
11   addressed you discuss at the bottom of the     11   first follow-up questionnaire, they only --
12   first page, the last paragraph there. The      12   which occurred anywhere from, I guess,
13   imputation method; right?                      13   probably 6 to 12 years after the initial
14      A. Right. The imputation methods were       14   questionnaire, they only asked for
15   used to address the lack of response to the    15   information on pesticide use for the last
16   first follow-up survey.                        16   year of farming. So they didn't ask for any
17      Q. Okay. So it's kind of --                 17   information in the period of time between
18      A. Not that it was used to address the      18   the last year of farming and the last year
19   lack of information from the supplemental      19   that was included in the initial enrollment
20   survey done at the time of enrollment.         20   questionnaire.
21      Q. These are kind of the same               21      Q. So that's a second flaw, the first
22   criticism. It's a lack of follow-up and        22   one being the low response rate and the
23   then the imputation method that was used to    23   attempt to fix it with imputation which you
24   address that you have critiques of; correct?   24   feel was unsuccessful, and the second one
25          MS. FORGIE: Object to the form.         25   was asking only for the last year of farming


                                                                     12 (Pages 42 to 45)
                       TSG Reporting - Worldwide          877-702-9580
      Case 3:16-md-02741-VC Document 1137-4 Filed 02/16/18 Page 14 of 58

                                        Page 46                                             Page 48
 1   in the follow-up survey.                        1   digging in. The flaws that you identified
 2          MS. FORGIE: Object to the form.          2   are the relatively low response rate and the
 3   BY MR. GRIFFIS:                                 3   attempt to address that through imputation
 4      Q. Is that right, sir? Is that an            4   which you have criticisms of; two, the fact
 5   accurate list so far?                           5   the pesticide use data was obtained on last
 6      A. Yes, that's true.                         6   year of farming in the second survey; three,
 7      Q. And then the third that I see if          7   that there were secular trends in the use of
 8   I'm correct is that there was an increase in    8   glyphosate that could affect exposure
 9   glyphosate use that you believe likely          9   analysis and change the figures; four, that
10   resulted in significant misclassification of   10   the relatively high frequency of exposure to
11   some exposures; right?                         11   glyphosate made the distribution among
12      A. Right.                                   12   exposed and non-exposed non-optimal; and,
13      Q. The next thing you write is              13   five, that it's too short a study so far in
14   imputation as we discussed. That kind of       14   terms of exposure and latency; is that
15   fits with the first criticism.                 15   correct?
16          MS. FORGIE: Object to the form.         16          MS. FORGIE: Object to the form.
17          THE WITNESS: The third one that         17          THE WITNESS: I would agree. The
18      you mentioned, the dramatic increase,       18      last one is, you know, the median
19      really reflects on how the cases were       19      exposure was only 8.5 years which is
20      actually classified in the initial          20      really not a long period of exposure in
21      enrollment. It also complicates the         21      a cohort study. And the follow-up
22      attempt to impute or to guess what          22      probably needs to be even longer than it
23      the -- what the exposure was for those      23      is in this most recent publication.
24      that didn't respond. So these things        24   BY MR. GRIFFIS:
25      are all tied together.                      25      Q. Okay. But those are the five

                                        Page 47                                             Page 49
 1   BY MR. GRIFFIS:                                 1   flaws; right?
 2      Q. Okay. The next one that I see --          2      A. Yes.
 3   and tell me if I've missed one -- is on         3         MS. FORGIE: Object to the form.
 4   page 2, the first full paragraph, and you       4   BY MR. GRIFFIS:
 5   make the point that there was a high -- high    5      Q. And there weren't any flaws that I
 6   usage of glyphosate, and so that's not an       6   missed; correct?
 7   optimal distribution among exposed and          7         MS. FORGIE: Object to the form.
 8   unexposed; correct?                             8         THE WITNESS: Those are the ones
 9      A. That's correct, yes.                      9      that I outlined in my report.
10      Q. Is that the next one, or did I miss      10   BY MR. GRIFFIS:
11   one?                                           11      Q. Did you have any in mind that you
12      A. I think that's the next one.             12   didn't outline in your report?
13      Q. Okay. And then the next, and I           13      A. No.
14   think last -- but you'll correct me if I'm     14      Q. All right. I'd like to start with
15   wrong -- is a latency issue. You said, "The    15   flaw number 2, "Pesticide use data was only
16   median lifetime years of glyphosate use was    16   obtained for the last year of farming."
17   only 8.5 years with a median follow-up time    17         So tell me if I'm correct here.
18   of only about 18 years which may not be        18   The concern is that someone may have started
19   enough exposure and/or follow-up time to       19   to use glyphosate after the first survey but
20   demonstrate an effect," and you called the     20   continued to farm and not use glyphosate
21   NCI 2018 at best an interim analysis?          21   during their last year of farming and then
22      A. Yeah, it's both an exposure and          22   reported no use of glyphosate in the second
23   latency issue.                                 23   survey and thus been undercounted?
24      Q. To recap, and again what I'm trying      24         MS. FORGIE: Object to the form.
25   to do is get a complete list before we start   25         THE WITNESS: There are a whole


                                                                     13 (Pages 46 to 49)
                       TSG Reporting - Worldwide           877-702-9580
     Case 3:16-md-02741-VC Document 1137-4 Filed 02/16/18 Page 15 of 58

                                       Page 50                                             Page 52
 1      variety of errors that could have            1      question. This is a problem with cohort
 2      occurred there. That's one of them.          2      studies. They cut short to some extent
 3      For example, in the first survey they        3      on the way they gather the data, and
 4      could have been a non-user of                4      they try to compensate it by having
 5      glyphosate, and in the second survey         5      many, many more people in the study.
 6      they could have become a user of             6      But what it means is that the quality of
 7      glyphosate, but you wouldn't know when       7      the data is not as good as it should be.
 8      they started using glyphosate. Okay?         8      And had they taken more time in the
 9      There's no way to know that. The             9      follow-up questionnaire and asked the
10      reverse is true too. So they may have       10      questions for each of the years, it
11      not -- they may have been a user of         11      wouldn't have added a lot of time to the
12      glyphosate, and then they discontinued      12      question because the years were anywhere
13      glyphosate, and you wouldn't know when      13      between maybe five and ten, maximum 12.
14      they discontinued glyphosate. So            14      So they could have asked three or four
15      there's no way to fill in the gap of the    15      questions for each year and had all the
16      years between the first survey and the      16      data they needed to really do it
17      second survey. So I guess in the            17      properly.
18      imputation you just guess what it was.      18   BY MR. GRIFFIS:
19   BY MR. GRIFFIS:                                19      Q. You say on page 2 --
20      Q. The imputation does address those        20      A. So they have to actually impute the
21   issues. We'll discuss your criticisms of       21   data for the respondents too because they
22   imputation, but it does address those          22   don't know what they did in between. It's
23   issues; right?                                 23   not just for the non-respondents, but it's
24         MS. FORGIE: Object to the form.          24   also for the respondents.
25         THE WITNESS: Well, it attempts to        25      Q. You say on page 2, sir, "Since all

                                       Page 51                                             Page 53
 1      address them.                                1   of these various errors and exposure
 2   BY MR. GRIFFIS:                                 2   classification were non-differential." And
 3      Q. Okay. So it's one of the pieces of        3   I don't want to ask you about the whole
 4   absent data that the imputation procedure is    4   sentence right now, but just tell me what
 5   designed to address. That's fair?               5   you mean by non-differential.
 6         MS. FORGIE: Object to the form.           6         MS. FORGIE: Object to the form.
 7         THE WITNESS: Yes.                         7         THE WITNESS: Non-differential
 8   BY MR. GRIFFIS:                                 8      means that the errors were not linked
 9      Q. Do you have any evidence that there       9      specifically to the exposure or to the
10   was error introduced by asking people to       10      disease in question. They were random
11   report on their last year of farming?          11      errors.
12      A. Well, the reported data probably         12   BY MR. GRIFFIS:
13   was accurate because it's the most recent      13      Q. Okay. So one person might slightly
14   year of farming. So they should remember       14   underreport glyphosate. One person might
15   that pretty accurately. So with regard to      15   slightly overreport glyphosate, and there's
16   that there probably was not a lot of error.    16   no consistency in the lack of data or the
17      Q. And do you know whether it was the       17   missing data in association with either
18   best procedure to follow, for example, to      18   non-Hodgkin lymphoma or glyphosate exposure.
19   give people a shorter questionnaire to fill    19   That's what non-differential means?
20   out and increase their likelihood of           20         MS. FORGIE: Object to the form.
21   responding to it?                              21         THE WITNESS: Non-differential
22         MS. FORGIE: Object to the form.          22      means that it's just as likely that --
23         THE WITNESS: So that's true, but         23      well, it's just as -- it means that
24      what happens then is you don't have the     24      there's no direction in the bias, that
25      data you really need to answer the          25      the bias is going in both directions,


                                                                      14 (Pages 50 to 53)
                       TSG Reporting - Worldwide           877-702-9580
      Case 3:16-md-02741-VC Document 1137-4 Filed 02/16/18 Page 16 of 58

                                       Page 54                                              Page 56
 1      yes. I guess that's what you said.           1   You've also told us -- the very next thing
 2   BY MR. GRIFFIS:                                 2   you tell us is that there was a very major
 3      Q. Okay. And if there are a whole            3   increase in glyphosate use after the
 4   bunch of little randomnesses, some of them      4   introduction of glyphosate-resistant crops;
 5   would be pointing in one direction and some     5   right?
 6   in the other, and they would kind of tend to    6      A. Yes.
 7   cancel out; is that right?                      7      Q. Glyphosate is used on -- tell me if
 8          MS. FORGIE: Object to the form.          8   you know. I don't know whether you do or
 9          THE WITNESS: That's true, but what       9   not. Glyphosate is used on some of the most
10      would happen is it decreases the ability    10   widely used crops in the country; right?
11      of the study to detect a true finding.      11      A. Yes.
12      It biases any of the results in general.    12      Q. And there are glyphosate-resistant
13      It biases the results towards the null.     13   versions of those meaning -- you're talking
14   BY MR. GRIFFIS:                                14   about Roundup Ready; right?
15      Q. And that was the rest of the             15      A. Yes.
16   sentence?                                      16      Q. So because of the introduction of
17      A. Right.                                   17   Roundup Ready crops, lots of farmers were
18      Q. "Since all of these various errors       18   using glyphosate, and they were doing it
19   in exposure classification were                19   consistently year after year; right?
20   non-differential, they would result in a       20         MS. FORGIE: Object to the form.
21   bias toward the null and attenuate or          21         THE WITNESS: Well, I would say, in
22   obliterate any true positive effect."          22      general, that's true. Farmers do stop
23          So they wouldn't tend in any            23      doing things. They don't continue to
24   particular direction, but they would tend to   24      always do what they did before, but, in
25   obscure in the direction of the null towards   25      general, the use of these agents

                                       Page 55                                              Page 57
 1   1.0?                                            1      increase dramatically because farmers
 2      A. Right.                                    2      found that they could increase their
 3      Q. So that the outcome that you              3      yields by doing it. So it was -- it had
 4   measured, you say I found such and such a       4      a huge effect on how they farmed for
 5   relative risk, that would, in fact, be          5      certain crops.
 6   closer to the null than it should be; is        6   BY MR. GRIFFIS:
 7   that right?                                     7      Q. So if a farmer told you -- for
 8      A. Yeah, so if you have a true               8   glyphosate. If a farmer told you for
 9   relative risk of say 3, and you have a          9   glyphosate the last year I was farming I
10   significant amount of exposure                 10   didn't use glyphosate, they probably weren't
11   misclassification, that could lower the risk   11   using it before then either; right?
12   from a significant 3 to a non-significant 2    12          MS. FORGIE: Object to the form.
13   or a non-significant 1.8 or 1.2. So that's,    13          THE WITNESS: Probably that's true,
14   in general, the effect of non-differential     14      although we don't really know.
15   misclassification.                             15   BY MR. GRIFFIS:
16      Q. And bias towards the null when you       16      Q. Okay.
17   have a point estimate that is below one        17      A. There may have been another reason
18   suggests that the true point estimate would    18   why they switched. They could have switched
19   be even lower; right? It would be .5           19   crops; right? They could have decided to
20   instead of .7, for example?                    20   plant something else in the field that year,
21          MS. FORGIE: Object to the form.         21   rotate their crops.
22          THE WITNESS: That would be -- that      22      Q. Sure. We could think of scenarios,
23      would also happen, yes.                     23   but it's a relatively unlikely scenario that
24   BY MR. GRIFFIS:                                24   somebody was using glyphosate and then the
25      Q. Okay. So last year of farming.           25   last year they were farming they stopped


                                                                     15 (Pages 54 to 57)
                       TSG Reporting - Worldwide           877-702-9580
      Case 3:16-md-02741-VC Document 1137-4 Filed 02/16/18 Page 17 of 58

                                        Page 58                                            Page 60
 1   using glyphosate and then they stopped          1   minute, but at any point in using the
 2   farming; right?                                 2   imputation method, does any person sit there
 3          MS. FORGIE: Object to the form.          3   and make a guess, or do they apply a
 4          THE WITNESS: I don't know. I             4   formula?
 5      can't speculate.                             5     A. Well, the formula they use is, I
 6   BY MR. GRIFFIS:                                 6   would say, an educated guess. Okay?
 7      Q. It also makes it pretty easy to           7     Q. Have you ever designed an
 8   impute and pretty easy to predict if you        8   imputation formula yourself?
 9   built that into the formula, glyphosate         9     A. No.
10   users are likely to continue to use            10     Q. Would you be qualified to?
11   glyphosate?                                    11         MS. FORGIE: Object to the form.
12          MS. FORGIE: Object to the form.         12         THE WITNESS: No.
13      Calls for speculation.                      13   BY MR. GRIFFIS:
14   BY MR. GRIFFIS:                                14     Q. What kinds of people -- and I don't
15      Q. Correct?                                 15   mean their personality traits but their
16      A. I can't answer that question             16   qualifications and professional training
17   either. I don't know whether it was easy or    17   would be qualified to generate an imputation
18   hard. The method they used is quite            18   formula?
19   complicated. It may be easy to use, but I      19         MS. FORGIE: Object to the form.
20   really -- there's no way to know how           20         THE WITNESS: Well, it would have
21   accurate it is or was.                         21     to be -- it would have to be an
22      Q. Well, it should be easier at least,      22     epidemiologist or sophisticated
23   in general, to predict glyphosate use and      23     biostatistician who understands the
24   you project glyphosate use if glyphosate is    24     issues around what they're trying to
25   a widely used crop year after year -- widely   25     impute.

                                        Page 59                                            Page 61
 1   used product year after year than if it's a     1   BY MR. GRIFFIS:
 2   relatively rarely used herbicide that           2      Q. So an epidemiologist or
 3   someone might choose to use or not use;         3   biostatistician?
 4   right?                                          4      A. Yes.
 5         MS. FORGIE: Object to the form.           5      Q. The optimal distribution issue,
 6      Asked and answered.                          6   sir -- and you remember what I mean by that?
 7         You can answer it again.                  7   This is on page 2, your statement that since
 8         THE WITNESS: Well, it would -- I          8   lots of people were using glyphosate, you
 9      suppose it would make it easier to           9   don't have an optimal 50 percent, 50 percent
10      predict, but again, for example, if you     10   distribution between exposed and unexposed?
11      had somebody in the first survey they       11      A. Right. So yes.
12      weren't using glyphosate, and in the        12      Q. So you're referring to a general
13      second survey they were using               13   principle of epidemiology that you can best
14      glyphosate, you really wouldn't know        14   compare two groups if your numbers are
15      when they started using it. You would       15   divided evenly between those two groups;
16      have a window of when they started, but     16   right?
17      you wouldn't know when they started and     17      A. Yes.
18      you wouldn't know how many days per year    18          MS. FORGIE: Object to the form.
19      they started. You wouldn't know             19          THE WITNESS: Yes. In fact, you
20      anything about the metrics of use during    20      know -- for example, in a case control
21      that gap period. And so, you know, so,      21      study, you design the study to have a
22      again, you've got to use the imputation     22      sometimes two- or three-to-one match of
23      method to guess.                            23      controls to cases. So you actually have
24   BY MR. GRIFFIS:                                24      more controls in the case control study
25      Q. We'll talk about imputation in a         25      than you do -- than you do cases. And


                                                                     16 (Pages 58 to 61)
                       TSG Reporting - Worldwide           877-702-9580
      Case 3:16-md-02741-VC Document 1137-4 Filed 02/16/18 Page 18 of 58

                                        Page 62                                              Page 64
 1      in this study, because so many of the        1   different levels and an unexposed you can.
 2      applicators used glyphosate, you've got      2          MS. FORGIE: Wait. Wait for a
 3      a balance going in the other direction       3      question.
 4      where you've got four patients or four       4          Is there a question?
 5      applicators who are exposed versus only      5          MR. GRIFFIS: You can; right? --
 6      one that's unexposed. So it's balanced       6      is the end of the question. You stepped
 7      in the wrong direction.                      7      on it.
 8   BY MR. GRIFFIS:                                 8          MS. FORGIE: Object to the form.
 9      Q. The same math you're talking about        9          THE WITNESS: So there are two
10   that makes 50/50 distribution give you the     10      different -- you're asking two different
11   cleanest numbers in your statistical           11      questions, and the answer is the same
12   analysis for ever, never use tell you that     12      for both, that you want to have equal
13   if you're dividing it into four exposed        13      numbers of cases or diseased and
14   groups and one unexposed group, then a         14      non-diseased people in your comparative
15   20 percent, 20 percent, 20 percent,            15      groups. But if you take your diseased
16   20 percent, 20 percent distribution is         16      group and you divide it into three or
17   optimal; right?                                17      four sub-groups, then you're going to
18          MS. FORGIE: Object to the form.         18      somewhat increase the power to detect
19   BY MR. GRIFFIS:                                19      significant changes. But it's not --
20      Q. Same numbers in each group?              20      but it's because you divided your
21          MS. FORGIE: Object to the form.         21      diseased group into three or four
22          THE WITNESS: In general, you want       22      groups, okay, and decreased the numbers
23      it to be 50/50; right? The fact you         23      in each.
24      divide your cases with disease into         24   BY MR. GRIFFIS:
25      sub-groups really -- I don't think --       25      Q. If your intention is to look at

                                        Page 63                                              Page 65
 1       you know, I think, in general, when you     1     dose response by dividing into multiple
 2       design the study, you want to have a        2     exposed groups, a lower-exposed group,
 3       50/50 balance to get the best power to      3     medium-exposed group, higher-exposed group
 4       detect a difference.                        4     or four such groups, quartile, then the
 5   BY MR. GRIFFIS:                                 5     optimum distribution in terms of power to
 6       Q. Okay. So as a biostats matter,           6     demonstrate or fail to demonstrate a dose
 7   biostatistics matter, do you know whether       7     response would be an equal distribution into
 8   it's true or false that you get the most        8     each group. Do you know whether that's true
 9   power in a division into four exposed groups    9     or false?
10   and one unexposed group if your division is    10           MS. FORGIE: Object to the form.
11   as close to 20, 20, 20, 20 as you can get?     11        Asked and answered.
12           MR. ESFANDIARY: Wait. Object to        12           You can answer it again.
13       the form.                                  13           THE WITNESS: I would say that --
14           THE WITNESS: I don't know the          14        again I would -- I'm not sure, but I
15       answer to that. If I was to guess, I       15        think that the greater numbers in any of
16       would say the power would be somewhat      16        the groups would improve the power.
17       less if you did it that way.               17        Okay? So by decreasing the number of
18   BY MR. GRIFFIS:                                18        cases or diseased people in each group
19       Q. Less than what?                         19        versus controls, if you decrease the
20       A. It's less because you have less         20        number of controls, again, you decrease
21   people with disease in each group, not         21        the power to detect anything. So the
22   because you have too many controls.            22        fact that you have more controls than
23       Q. In the never ever, you can't do any     23        cases helps you. It doesn't hurt you.
24   sort of dose-response analysis, and in the     24        Okay?
25   group where you have four exposed groups at    25   ///


                                                                      17 (Pages 62 to 65)
                       TSG Reporting - Worldwide           877-702-9580
      Case 3:16-md-02741-VC Document 1137-4 Filed 02/16/18 Page 19 of 58

                                        Page 66                                            Page 68
 1   BY MR. GRIFFIS:                                 1      you increase the numbers in the study to
 2      Q. And power is a --                         2      allow you to show statistical
 3          MS. FORGIE: Were you finished?           3      significance.
 4          THE WITNESS: Yes.                        4          MR. GRIFFIS: I want to use the
 5   BY MR. GRIFFIS:                                 5      bathroom. Can we break for just five
 6      Q. You listed this one under your            6      minutes? Not a long one.
 7   sentence that since all of these various        7          MS. FORGIE: Can we make it ten so
 8   errors were non-differential which makes it     8      we can all get another cup of coffee?
 9   not totally obvious to me --                    9          MR. GRIFFIS: Ten is fine.
10          MS. FORGIE: What page are you on?       10          THE VIDEOGRAPHER: We are going off
11          MR. GRIFFIS: The second.                11      the record at 9:58 a.m.
12   BY MR. GRIFFIS:                                12          (Recess taken from 9:58 a.m. to
13      Q. Which makes me not know whether you      13          10:11 a.m.)
14   mean to include this one in the list of the    14          THE VIDEOGRAPHER: This continues
15   errors that are not differential, do you?      15      disk number 1. The time is 10:11 a.m.
16          MS. FORGIE: Object to the form.         16      We are back on the record.
17          THE WITNESS: No. The issue we're        17   BY MR. GRIFFIS:
18      talking about is -- has -- has nothing      18      Q. So the fifth criticism we
19      to do with classification differential      19   identified earlier that you have of the NCI
20      or non-differential classification.         20   2018 study is what you've titled, I believe,
21   BY MR. GRIFFIS:                                21   exposure and latency. It's a reference to
22      Q. Reducing the power of a study would      22   the median lifetime years of glyphosate use
23   just tend to make it less able to detect a     23   in the study 8.5 and the median follow-up
24   variance from the null; correct?               24   time 18 years being too short; correct?
25          MS. FORGIE: Object.                     25      A. Yes.

                                        Page 67                                            Page 69
 1         THE WITNESS: True variance from           1      Q. Let's talk about the 8.5 years, the
 2      the null.                                    2   median lifetime years of glyphosate use
 3   BY MR. GRIFFIS:                                 3   first. What is your view of how long a
 4      Q. Right. So the values that you find        4   person needs to be exposed to glyphosate to
 5   in the study, had you increased the power,      5   contract non-Hodgkin lymphoma if they will?
 6   you would tend to predict that that would be    6      A. Well, I don't think anybody knows
 7   farther from the null?                          7   the answer to that question. The longer,
 8         MS. FORGIE: Object to the form.           8   the better. So in typical cohort studies,
 9   BY MR. GRIFFIS:                                 9   the workers are exposed to a certain
10      Q. Correct?                                 10   chemical during their careers, maybe 20,
11      A. As you increase the numbers and you      11   even 30 years of exposure with long
12   increase the power, you're likely to find a    12   follow-up. So in this situation, the
13   true and significant result increases.         13   exposure is a median of 8.5 years ranging
14      Q. So the drift would be as you             14   from five or six years to 14 years is not a
15   increase power, the drift would tend to be     15   very long time of exposure for a cohort
16   further from the null; correct?                16   study.
17         MS. FORGIE: Object to the form.          17      Q. Are you talking about cohort
18      Asked and answered.                         18   studies of non-Hodgkin lymphoma?
19         THE WITNESS: Not necessarily. But        19      A. I'm talking about cohort studies,
20      you're significant. You would be much       20   in general.
21      more likely to show statistically           21      Q. Your expert report -- in your
22      significance. You can find the same         22   expert report you claim to be a specialist
23      number with small -- you can find the       23   in non-Hodgkin lymphoma, somebody who
24      same result with smaller numbers, but it    24   focuses on that.
25      may not be statistically significant; so    25      A. Yes.


                                                                     18 (Pages 66 to 69)
                       TSG Reporting - Worldwide           877-702-9580
      Case 3:16-md-02741-VC Document 1137-4 Filed 02/16/18 Page 20 of 58

                                        Page 70                                             Page 72
 1      Q. And you've been involved in a             1    you have long exposures and high exposures.
 2   number of epidemiology studies as the           2       Q. Okay. Other than those --
 3   pathologist on the study; correct?              3       A. So it's a general statement.
 4         MS. FORGIE: Object to the form.           4       Q. It's the general statement the
 5         THE WITNESS: Actually not only the        5    longer the better for cohort studies; right?
 6      pathologist, I was in charge and ran the     6       A. Right.
 7      studies in Nebraska; so I was the PI on      7          MS. FORGIE: Object to the form.
 8      the studies.                                 8       Asked and answered.
 9   BY MR. GRIFFIS:                                 9   BY MR. GRIFFIS:
10      Q. Do you have a view as to how much        10       Q. And there's no specific thing about
11   exposure a person needs to have for            11    glyphosate and no specific thing about
12   non-Hodgkin lymphoma to a suspect substance    12    non-Hodgkin lymphoma that makes you say that
13   in order to detect any effect?                 13    8.5 years median is not enough to detect an
14         MS. FORGIE: Object to the form.          14    effect; right?
15         THE WITNESS: It would depend             15          MS. FORGIE: Object to the form.
16      entirely on the substance, whether it       16          THE WITNESS: Correct.
17      was a strong carcinogen or a weak           17    BY MR. GRIFFIS:
18      carcinogen. So it's highly dependent on     18       Q. The 18 years median follow-up time,
19      the substance. There's no one number        19    median follow-up is something we discussed
20      for -- there's no one generic number.       20    in your prior deposition; right?
21   BY MR. GRIFFIS:                                21       A. Correct.
22      Q. So what is your basis for saying         22       Q. You said in your expert report,
23   that for glyphosate and non-Hodgkin            23    your original expert report -- I'll mark
24   lymphoma, 8.5 median years of exposure is      24    that so we can look at it. This is
25   too short?                                     25    Exhibit 7.

                                        Page 71                                             Page 73
 1         MS. FORGIE: Object to the form.           1         (Exhibit Number 31-7 was marked
 2         THE WITNESS: It's probably too            2         for identification.)
 3      short. I don't know that it's too            3   BY MR. GRIFFIS:
 4      short, but it's probably too short based     4      Q. I'm on page 5, sir.
 5      on how other cohort studies have             5      A. Okay.
 6      evaluated other chemicals. In other          6      Q. You said -- you're talking about
 7      words, the longer the better. In this        7   the De Roos 2005 study in that paragraph;
 8      case, it's relatively short. You know,       8   correct?
 9      what it means is that half of the people     9      A. Yes.
10      had less than 8.5 years of exposure.        10      Q. That first paragraph?
11   BY MR. GRIFFIS:                                11      A. Yes.
12      Q. Is it the case that the sole basis       12      Q. You see in the middle of the
13   for saying 8.5 years is probably too short     13   paragraph, "However, the median follow-up
14   for glyphosate and non-Hodgkin lymphoma in     14   time in this study was only 6.7 years, too
15   the study your knowledge of other cohort       15   short a time to detect a meaningful increase
16   studies of other substances and other          16   in NHL or other cancers associated with
17   disease outcomes?                              17   glyphosate"; right?
18      A. I'm just making a general                18      A. Yes.
19   statement. If you read about cohort studies    19      Q. And then at the deposition, sir, do
20   and how they're designed, you generally want   20   you recall that I asked you for an
21   a long period of exposure to really be sure    21   association between a pesticide and
22   that you have an adequate exposure to find a   22   non-Hodgkin lymphoma, "How long a period of
23   significant association. If you have short     23   time do you think you need between the
24   exposures or small exposures, your chances     24   exposures and the cancers that you're
25   are much less defined in association than if   25   measuring?"


                                                                      19 (Pages 70 to 73)
                       TSG Reporting - Worldwide           877-702-9580
      Case 3:16-md-02741-VC Document 1137-4 Filed 02/16/18 Page 21 of 58

                                       Page 74                                             Page 76
 1          And you said, "The longer the            1   you say 18 years isn't enough and the study
 2   better."                                        2   is not done, you're moving the goalpost,
 3          And I said, "Well, is ten years too      3   aren't you?
 4   short?"                                         4          MS. FORGIE: Object to the form.
 5          And you said "No, probably not?"         5      It's unfair. You're not showing him the
 6          MS. FORGIE: Object to the form.          6      deposition.
 7      If you're going to ask him questions         7          THE WITNESS: So 18 years is
 8      about his deposition, I think you have       8      probably not enough. Okay? But it's
 9      to show it to him.                           9      interesting, if you look at Table 3 in
10   BY MR. GRIFFIS:                                10      the paper where they've got 20 years of
11      Q. Do you recall that, sir?                 11      follow-up, you begin to see elevated
12          MS. FORGIE: Object to the form.         12      odds ratios for non-Hodgkin's lymphoma
13          THE WITNESS: I don't remember           13      and its subtypes. So this sort of
14      specifically, no.                           14      speaks to my point that you have to have
15   BY MR. GRIFFIS:                                15      a long period of follow-up after
16      Q. Do you recall me saying, "Okay, the      16      exposure to begin to see risk. In fact,
17   longer the better, 6.7 is too short, 10 is     17      if you look at Table 3, you see it.
18   probably long enough" and you couldn't be      18   BY MR. GRIFFIS:
19   more specific between those two; is that       19      Q. Is that because it takes a long
20   fair?"                                         20   time for non-Hodgkin lymphoma to show up
21          And you said, "Yes."                    21   after an exposure?
22          MS. FORGIE: Object to the form.         22      A. Yes.
23          THE WITNESS: I don't remember.          23      Q. And is that because it takes a lot
24   BY MR. GRIFFIS:                                24   of exposure, like years and years of
25      Q. Do you agree with that testimony         25   exposure, or is this in reference to your

                                       Page 75                                             Page 77
 1   today?                                          1   earlier point about 8.5 years of use in the
 2      A. Well, I agree with the testimony          2   study, it takes a lot of years of exposure
 3   that the longer would be the better. I          3   to a substance for it to produce
 4   think probably ten years is when you would      4   non-Hodgkin's lymphoma?
 5   begin to see cases that are associated with     5         MS. FORGIE: Object to the form.
 6   the chemical. So what would be the best         6         THE WITNESS: In general, I would
 7   latency period? Well, the best latency          7      say yes. The more exposure, the more
 8   period would be long so you would want to       8      likely you are to find elevated risks
 9   follow locations for 30 or more years, okay?    9      that are significant.
10   And the median latency of 20 years is          10   BY MR. GRIFFIS:
11   probably a minimum where you would begin to    11      Q. The charts you're talking about,
12   see a significant number of cases so that      12   sir, Table 3, tell me which one you're
13   you could actually demonstrate significant     13   pointing me to.
14   increased risk.                                14      A. Well, if you look at non-Hodgkin
15          So the longer the better. Ten           15   lymphoma as a group, you can see increased
16   years might be the minimum where you would     16   odds ratios in the higher-exposed group,
17   begin to see cases, an increase in cases.      17   15 percent, 12 percent. The same for B-cell
18   Actually, if you look at the Eriksson study,   18   non-Hodgkin lymphoma. And then if you look
19   that's when they began to see statistically    19   at chronic lymphocytic leukemia, anywhere
20   significantly increased cases after ten        20   between 19 and 25 percent increase. If you
21   years.                                         21   look at diffuse large B-cell lymphoma, you
22      Q. Sir, when the data before you was        22   see a 35 percent increase. For T-cell
23   6.7 years of follow-up in the De Roos 2005     23   lymphomas, you actually have a threefold
24   and you said ten years was probably enough     24   increase that's statistically significant.
25   and now you have 18 years of follow-up and     25   So you're beginning to see increased risk


                                                                     20 (Pages 74 to 77)
                       TSG Reporting - Worldwide           877-702-9580
      Case 3:16-md-02741-VC Document 1137-4 Filed 02/16/18 Page 22 of 58

                                        Page 78                                             Page 80
 1   ratios when you use a minimum of follow-up       1      lymphoma with longer follow-up.
 2   of 20 years. Okay?                               2   BY MR. GRIFFIS:
 3      Q. You don't claim, sir, that any of          3      Q. And there are no statistically
 4   these findings show that glyphosate causes       4   significant associations at five years,
 5   those subtypes or causes non-Hodgkin's           5   10 years, 15 years, or 20 years for
 6   lymphoma; correct? You're not relying on         6   non-Hodgkin lymphoma; correct? It's the
 7   this in support of your claim that               7   third row of the -- data row of the chart;
 8   glyphosate --                                    8   right?
 9          (Simultaneous cross-talk                  9      A. There are increased risks, but
10      interrupted by the reporter.)                10   they're not statistically significant.
11   BY MR. GRIFFIS:                                 11      Q. And you wouldn't say that a
12      Q. You're not relying on this for your       12   non-statistically significant increased risk
13   claim that glyphosate causes non-Hodgkin        13   shows causation; correct?
14   lymphoma or its subtypes; right?                14         MS. FORGIE: Object to the form.
15          MS. FORGIE: Object to the form.          15         THE WITNESS: Well, you would
16          THE WITNESS: I'm not relying on          16      interpret it in the context of what you
17      it, but it is data that suggests that a      17      know about from other studies.
18      longer follow-up is required to see          18   BY MR. GRIFFIS:
19      increased risks. It's possible if we         19      Q. There's no dose response even in
20      follow these patients another ten years      20   the 20-year period for non-Hodgkin lymphoma;
21      with a 30-year lag, we'll have               21   correct?
22      significantly increased risks. So this       22         MS. FORGIE: Object to the form.
23      is why I say in my report that at best       23         THE WITNESS: Well, the numbers are
24      this is another interim analysis and to      24      very small, and, you know, so with small
25      really know the results of the               25      numbers of cases in the various

                                        Page 79                                             Page 81
 1       agricultural health study, you'll need       1       quartiles and tertiles, it's difficult
 2       longer follow-up.                            2       to demonstrate. But you don't see a
 3   BY MR. GRIFFIS:                                  3       dose response here. It's true. You
 4       Q. After a mean of 8.5 years of              4       don't see a dose response.
 5    exposure to glyphosate, it's going to take      5    BY MR. GRIFFIS:
 6    more than 20 years to find a doubling of the    6       Q. The least-exposed group has a
 7    risk in these patients; correct?                7    higher point estimate than the most-exposed
 8           MS. FORGIE: Object to the form.          8    group; right?
 9       Mischaracterizes --                          9           MS. FORGIE: Object to the form.
10    BY MR. GRIFFIS:                                10           THE WITNESS: In some of the
11       Q. If it happens?                           11       categories that's true.
12           MS. FORGIE: Object to the form.         12    BY MR. GRIFFIS:
13       Mischaracterizes his testimony --           13       Q. For non-Hodgkin lymphoma overall
14           THE WITNESS: You'll need a              14    that's true; right?
15       longer --                                   15           MS. FORGIE: Object to the form.
16           MS. FORGIE: You have to wait until      16           THE WITNESS: Yes.
17       I get my --                                 17   BY MR. GRIFFIS:
18           THE WITNESS: I'm sorry.                 18       Q. And that's one of the things that
19           So what I'm saying is we probably       19    goes into the P-trend analysis; right?
20       need more exposure and we probably need     20    Whether there's a dose response; correct?
21       longer follow-up if the Agricultural        21       A. Correct.
22       Health Study is going to show               22       Q. These P trends are all -- what is a
23       significant increases in risk. The data     23    P-trend? What is a statistically P-trend?
24       here in Table 3 suggests that now the       24    0.05?
25       risks are increasing for non-Hodgkin's      25       A. Or less than 0.05.


                                                                      21 (Pages 78 to 81)
                        TSG Reporting - Worldwide           877-702-9580
      Case 3:16-md-02741-VC Document 1137-4 Filed 02/16/18 Page 23 of 58

                                         Page 82                                            Page 84
 1        Q. And none of these P trends in             1   lymphohematopoietic overall 0.3; correct?
 2     Table 3 are below 0.05; right?                  2         MS. FORGIE: Object to the form.
 3        A. Well, not for non-Hodgkin's               3         THE WITNESS: You're talking about
 4     lymphoma. For acute myeloid leukemia there      4      the first item on Table 3,
 5     is a P-trend of 0.04.                           5      lymphohematopoietic neoplasms?
 6        Q. For the 20-year lag. That's the           6   BY MR. GRIFFIS:
 7     one we were just talking about --               7      Q. Yeah. The question is is that the
 8        A. Okay.                                     8   lowest P-trend in the 20-year lag column;
 9        Q. -- that you were focusing me on?          9   right?
10        A. Right.                                   10      A. Correct. .37.
11        Q. The P trends in Table 3 for a            11      Q. Okay.
12     20-year lag, what is the smallest P-trend in   12      A. Actually that's .31.
13     that?                                          13      Q. .37? What are you looking at, sir?
14        A. For non-Hodgkin's lymphoma or for        14      A. I'm reading you the P-trend for
15     anything in the table?                         15   lymphohematopoietic neoplasms.
16        Q. Anything in the table, 0.3 for           16      Q. In supplemental Table 3, 20-year
17     lymphohematopoietic overall; right?            17   lag?
18            MS. FORGIE: Now you've got two          18      A. In supplemental Table 3?
19        questions pending. Which one do you         19      Q. Yeah.
20        want him to answer?                         20         MS. FORGIE: What table are you?
21            Object to the form.                     21         THE WITNESS: I don't have
22            THE WITNESS: So acute myeloid           22      supplemental Table 3.
23        leukemia has a P-trend of 0.04 which is     23   BY MR. GRIFFIS:
24        statistically significant.                  24      Q. You don't have the supplementary
25   ///                                              25   tables for this?

                                         Page 83                                            Page 85
 1   BY MR. GRIFFIS:                                   1      A. I have them at home. Have you
 2      Q. Do you believe that glyphosate              2   attached them to the --
 3   causes AML?                                       3          MS. FORGIE: I don't think they're
 4         MS. FORGIE: Object to the form.             4      attached to the exhibit -- oh, wait.
 5      Beyond the scope of this report.               5          THE WITNESS: Maybe they are. I'm
 6         THE WITNESS: This data would                6      sorry. I was looking at Table 3.
 7      suggest that it does, but there isn't          7      You're talking about supplemental
 8      other data out there to support it. So         8      Table 3?
 9      I would say we don't know the answer to        9   BY MR. GRIFFIS:
10      that.                                         10      Q. We don't need to. This one shows
11   BY MR. GRIFFIS:                                  11   5-year and 20-year lag and supplemental
12      Q. So you're not going to give expert         12   Table 3 shows five, ten, 15 and 20; right?
13   testimony unless there's more data that          13      A. Right.
14   glyphosate causes AML; right?                    14      Q. So it just shows more columns.
15      A. Correct.                                   15   Table 3 works fine. It's the same data for
16      Q. That wouldn't be scientifically            16   the 20-year.
17   appropriate to do based on this data;            17          MS. FORGIE: There's no question
18   correct?                                         18      pending.
19         MS. FORGIE: Object to the form.            19   BY MR. GRIFFIS:
20         THE WITNESS: Based on this data            20      Q. But -- okay.
21      alone, you're correct.                        21          At how many years of follow-up
22   BY MR. GRIFFIS:                                  22   would you consider the AHS data to be
23      Q. Now, for the 20-year lag, the              23   complete, sir?
24   smallest P-trend on the chart in                 24          MS. FORGIE: Object to the form.
25   supplemental Table 3 is for                      25          THE WITNESS: Well, you would want


                                                                       22 (Pages 82 to 85)
                        TSG Reporting - Worldwide            877-702-9580
     Case 3:16-md-02741-VC Document 1137-4 Filed 02/16/18 Page 24 of 58

                                       Page 86                                            Page 88
 1      to -- actually ideally, you would want      1   remember the details about years of
 2      to follow the people for 20 or 30 or 40     2   exposure.
 3      or more years until almost everyone or      3      Q. Let me just ask you this, sir,
 4      everyone is dead, and then you would        4   since you criticized the NCI 2018 study for
 5      have the ultimate database to do your       5   8.5 median years of exposure being too
 6      final analysis of the data. So that's       6   short. Do you know of any study on
 7      often the case in cohort studies. They      7   glyphosate and non-Hodgkin's lymphoma where
 8      go for 20, 30, 40 years.                    8   people were exposed as a median longer?
 9   BY MR. GRIFFIS:                                9         MS. FORGIE: Object to the form.
10      Q. For the 8.5 years of exposure, sir,     10      He doesn't have the studies in front of
11   the exposure categories in the case control   11      him.
12   studies that you rely on are much, much,      12         THE WITNESS: Off the top of my
13   much lower than 8.5 years of exposure;        13      head, I don't know. I'd have to go back
14   correct?                                      14      and look at the studies to answer your
15          MS. FORGIE: Object to the form.        15      question properly.
16      Do you want him to look at those           16   BY MR. GRIFFIS:
17      studies?                                   17      Q. Do you know of any study where the
18          THE WITNESS: I don't remember the      18   median follow-up which you say was too short
19      details of those studies.                  19   at 18 years in the NCI 2018 study was longer
20   BY MR. GRIFFIS:                               20   than 18 years?
21      Q. Like Eriksson is greater or less        21         MS. FORGIE: Object to the form.
22   than ten days; right?                         22      Asked and answered.
23          MS. FORGIE: Object to the form.        23         THE WITNESS: This was the only
24   BY MR. GRIFFIS:                               24      cohort study; so that question doesn't
25      Q. Do you remember that?                   25      really apply to the case-control

                                       Page 87                                            Page 89
 1          MS. FORGIE: Object to the form.         1       studies.
 2          THE WITNESS: So in Eriksson they        2    BY MR. GRIFFIS:
 3      looked at risk by days of exposure, and     3       Q. Do you know of another study where
 4      you're right. If it was less than -- if     4    the average time lapse between exposure and
 5      it was greater than ten days of             5    non-Hodgkin lymphoma was greater than
 6      exposure, they had a significantly          6    18 years?
 7      elevated risk. That's true.                 7          MS. FORGIE: Object to the form.
 8   BY MR. GRIFFIS:                                8          THE WITNESS: What --
 9      Q. And is it your claim that in             9          MS. FORGIE: Asked and answered.
10   Eriksson the greater than ten days the mean   10          THE WITNESS: Study of glyphosate.
11   was -- the mean of exposure in that was at    11   BY MR. GRIFFIS:
12   or greater than 8.5 years?                    12       Q. Yes. Glyphosate and non-Hodgkin
13          MS. FORGIE: Object to the form.        13    lymphoma.
14          THE WITNESS: Well, again, I don't      14       A. No. And, again, I don't have those
15      remember the details of Eriksson. I        15    studies before me, and I don't remember the
16      think they also looked at the number of    16    details of those studies off the top of my
17      years of exposure, and they looked at      17    head today.
18      the number of days of exposure. In that    18       Q. It could be that your criticisms of
19      study, the number of days of exposure      19    8.5 years of exposure being too short and
20      resulted in an increased risk for          20    18 years of follow-up being too short apply
21      non-Hodgkin's lymphoma, right.             21    with even greater force to the case-control
22   BY MR. GRIFFIS:                               22    studies than which you relied; correct?
23      Q. Do you know -- sorry.                   23          MS. FORGIE: Object to the form.
24      A. I don't have the study before me,       24       Asked and answered, mischaracterizes the
25   and I don't remember the details -- I don't   25       testimony.


                                                                    23 (Pages 86 to 89)
                       TSG Reporting - Worldwide          877-702-9580
      Case 3:16-md-02741-VC Document 1137-4 Filed 02/16/18 Page 25 of 58

                                        Page 90                                             Page 92
 1          THE WITNESS: I don't know the            1   kind of sophisticated weighted analysis at
 2      answer to that.                              2   all; right?
 3   BY MR. GRIFFIS:                                 3          MS. FORGIE: Object to the form.
 4      Q. Have you read Dr. Portier's               4          THE WITNESS: That's correct. You
 5   deposition, sir?                                5      only could do that kind of analysis in a
 6      A. Which deposition?                         6      cohort study.
 7      Q. His recent deposition. Did you            7   BY MR. GRIFFIS:
 8   read it?                                        8      Q. Being able to do that kind of
 9      A. Portier's deposition? No.                 9   analysis gives you better data than you
10      Q. Yes. Okay.                               10   could have otherwise; correct?
11          If he said in his deposition that       11          MS. FORGIE: Object to the form.
12   the NCI 2018 study allowed for longer          12          THE WITNESS: I'm not sure it gives
13   latency than any published study on            13      you better data. It gives you some
14   glyphosate and non-Hodgkin lymphoma, do you    14      confidence, I guess, in the way you did
15   have any basis to disagree with that?          15      your calculations, but the fact that
16          MS. FORGIE: Object to the form.         16      correlations between biomonitoring and
17          THE WITNESS: I don't agree or           17      the algorithm that was used were quite
18      disagree. I don't know the answer.          18      different for different pesticides and
19      That's his statement, not mine.             19      different formulations and for some
20   BY MR. GRIFFIS:                                20      there was good correlation and in some
21      Q. As we discussed earlier, you have a      21      there was poor correlation.
22   criticism of the NCI 2018 study based on the   22          So one of the other criticisms of
23   follow-up rate and the imputation procedure    23      the study which I didn't use, although
24   used to address that; correct?                 24      it also would result in exposure
25          MS. FORGIE: Object to the form.         25      misclassification, is if you use the

                                        Page 91                                             Page 93
 1          THE WITNESS: Yes.                        1      same algorithm for every pesticide,
 2   BY MR. GRIFFIS:                                 2      you're going to have misclassification
 3      Q. And the AHS investigators published       3      more or less for each pesticide.
 4   their imputation procedure; correct?            4   BY MR. GRIFFIS:
 5      A. Yes, they published a paper on how        5      Q. Do you know if that was done?
 6   they did it.                                    6      A. That's what was done, yes.
 7      Q. That's the Heltshe paper which you        7          (Exhibit Numbers 31-8, 31-9 and
 8   reviewed for your expert report; right?         8          31-10 were marked for identification.)
 9      A. Yes.                                      9   BY MR. GRIFFIS:
10      Q. There are also published papers in       10      Q. Sir, I've marked as Exhibits 8
11   which the investigators assessed -- took       11   through 10 published study by Bonner,
12   their exposure calculations and fact-checked   12   et al., involving lung cancer from the
13   them with biometric data from actual           13   Agricultural Health Study data, published
14   exposures; correct?                            14   study by Koutros, et al., on bladder cancer
15      A. Yes.                                     15   from the Agricultural Health Study, and a
16      Q. The AHS -- the NCI 2018 study is         16   published study by Koutros, et al., on
17   the only one out of all the epidemiology on    17   prostate cancer from the Agricultural Health
18   glyphosate and non-Hodgkin lymphoma that       18   Study. Correct, sir?
19   does a weighted analysis that has been         19      A. Yes.
20   published and checked with biometrics;         20      Q. Have you seen those?
21   right?                                         21      A. I have not.
22          MS. FORGIE: Object to the form.         22      Q. In the --
23          THE WITNESS: That's correct.            23          MS. FORGIE: I'm going to just put
24   BY MR. GRIFFIS:                                24      a general objection in here to 31-8,
25      Q. It's the only one that does any          25      which talks about lung cancer which he


                                                                     24 (Pages 90 to 93)
                        TSG Reporting - Worldwide         877-702-9580
      Case 3:16-md-02741-VC Document 1137-4 Filed 02/16/18 Page 26 of 58

                                       Page 94                                             Page 96
 1     has not read or cited in his                  1   past or either discontinued or the use was
 2     supplemental report. And I object to          2   pretty stable over time. In those kind of
 3     the use of 31-9 which he has not read or      3   situations it's much more plausible to
 4     cited to in his supplemental report that      4   impute use. But for glyphosate, as you
 5     talks about bladder cancer, and I object      5   know, the use increased dramatically right
 6     to 31-10 that talks about prostate            6   in the middle of the enrollment period and
 7     cancer, which is also not addressed or        7   continued to increase dramatically over
 8     referenced in his supplemental report.        8   time. It's impossible to capture that kind
 9     I'll decide later depending on the            9   of information which is critical to a cohort
10     questions whether I decide to instruct       10   study if you don't have adequate
11     him not to answer.                           11   participation in the follow-up
12   BY MR. GRIFFIS:                                12   questionnaires. So that's one of the fatal
13     Q. In the Bonner study, sir, on              13   flaws of the Agricultural Health Study.
14   page 545, middle column, last full             14   They don't have adequate follow-up
15   paragraph, do you see that they describe the   15   participation in their follow-up
16   multiple imputation with logistic regression   16   questionnaires to get real data. So they
17   procedure that was used in the AHS study?      17   guess what the data is going to be.
18          MS. FORGIE: Take your time and          18      Q. So is your statement that is unique
19     read whatever you want.                      19   to glyphosate?
20          THE WITNESS: Yes.                       20         MS. FORGIE: Wait, wait. Were you
21   BY MR. GRIFFIS:                                21      finished with your answer?
22     Q. Similarly, sir, on the Koutros            22         THE WITNESS: Yes.
23   bladder cancer study, page 794, under          23   BY MR. GRIFFIS:
24   "Exposure Assessment" towards the end of       24      Q. Is your statement it's unique to
25   that first paragraph, do you see that they,    25   glyphosate?

                                       Page 95                                             Page 97
 1   again, describe the imputation procedure?       1       A. It's actually unique to glyphosate,
 2      A. Yes.                                      2    yes.
 3      Q. The prostate cancer study, sir, on        3       Q. So the AHS study's imputation, not
 4   page 64, do you see that, again, the AHS        4    that it's fine --
 5   imputation procedure is described? Page 64,     5           MR. ESFANDIARY: Object to the
 6   first column.                                   6       form.
 7          MS. FORGIE: Are you talking about        7    BY MR. GRIFFIS:
 8      31-10? Exhibit 31-10.                        8       Q. -- works for everything else. It
 9          MR. GRIFFIS: Yeah, the one that's        9    doesn't work for glyphosate. Is that your
10      on prostate cancer.                         10    testimony?
11          MS. FORGIE: I object to him being       11           MS. FORGIE: Object to the form.
12      asked questions about this.                 12           THE WITNESS: I'm not sure it works
13          THE WITNESS: Yes.                       13       or doesn't work. They used it for these
14   BY MR. GRIFFIS:                                14       other studies. It's an accepted method,
15      Q. We talked in general earlier about       15       in general, when you don't have data and
16   the fact that there have been multiple         16       you want to fill in blanks for data.
17   publications from the AHS and multiple         17       But for glyphosate, it's particularly
18   publications in which the AHS imputation       18       problematic in a situation where the use
19   procedure was discussed and went to peer       19       of the chemical is increasing
20   review; correct?                               20       dramatically over a relatively short
21      A. Yes, these papers were                   21       period of time right in the middle of
22   peer-reviewed. The differences between         22       the enrollment period and right during
23   these papers and the recent glyphosate paper   23       the first follow-up questionnaire.
24   is these papers are mainly looking at          24   BY MR. GRIFFIS:
25   pesticides in -- which were used in distant    25       Q. Is your --


                                                                     25 (Pages 94 to 97)
                       TSG Reporting - Worldwide           877-702-9580
     Case 3:16-md-02741-VC Document 1137-4 Filed 02/16/18 Page 27 of 58

                                       Page 98                                             Page 100
 1      A. This is very different than it is         1       data is not as valid as actually
 2   for many of the other pesticides that have      2       gathering the actual data.
 3   been studied in these others' papers.           3   BY MR. GRIFFIS:
 4   There's a big difference between what           4       Q. You would agree --
 5   happened in the use of all these different      5       A. They didn't do that in this --
 6   pesticides compared to glyphosate.              6           MS. FORGIE: Wait. Let him finish.
 7   BY MR. GRIFFIS:                                 7           THE WITNESS: They didn't do that
 8      Q. Okay. Is it your view that the            8       in this study, and it's a fatal flaw in
 9   imputation method used was scientifically       9       this study particularly in regard to
10   acceptable for every other substance they      10       glyphosate.
11   examined except for glyphosate?                11    BY MR. GRIFFIS:
12         MS. FORGIE: Asked and answered.          12       Q. You would agree, sir, that not
13      You can answer it again. Objection.         13    being able to gather all the data is an
14         THE WITNESS: Well, it was                14    extremely common issue in cohort studies?
15      acceptable -- I don't know whether it's     15           MS. FORGIE: Object to the form.
16      acceptable or not. It was certainly         16           THE WITNESS: It is in some cohort
17      acceptable to the people who did the        17       studies like the Agricultural Health
18      studies and to the people who reviewed      18       Study. It's less common in other
19      the studies. It's an acceptable method      19       studies. It depends entirely on the
20      that epidemiologists use. I can't           20       loyalty of the cohort and their
21      answer whether it's acceptable to me or     21       willingness to participate.
22      not because I -- I suppose I would          22    BY MR. GRIFFIS:
23      accept it. I don't know with what           23       Q. You agree that multiple imputation
24      confidence one can accept this kind of      24    is a very standard epidemiological technique
25      methodology and particularly in the case    25    for dealing with absent data; correct?

                                       Page 99                                             Page 101
 1      of glyphosate, I don't have a lot of         1          MS. FORGIE: Object to the form.
 2      confidence in it.                            2          THE WITNESS: Yes.
 3   BY MR. GRIFFIS:                                 3          MS. FORGIE: Asked and answered
 4      Q. Okay. I'm not asking you to speak         4      three times. You're starting to badger
 5   for the peer reviewers of all these             5      the witness.
 6   journals, sir, or for the authors of NCI        6          THE WITNESS: Yes.
 7   2018 but just for yourself. For yourself,       7   BY MR. GRIFFIS:
 8   is the scientific imputation procedure          8      Q. Do you believe that glyphosate was
 9   applied in the NCI 2018 paper scientifically    9    not involved in the Koutros study, the other
10   acceptable for all those other substances      10    Koutros study on prostate cancer and the
11   but not for glyphosate?                        11    Bonner study, Exhibits 8, 9, and 10?
12         MS. FORGIE: Objection. Asked and         12          MS. FORGIE: Object to the form.
13      answered. He's answered it twice, and       13      I'm not going to let him answer any more
14      you're asking about articles he has not     14      questions about these three studies,
15      read and not cited.                         15      31-8, 31-9, and 31-10 which he has not
16         You can answer the question in the       16      read, not cited, do not deal with NHL,
17      same way.                                   17      until he's had a chance to sit here and
18         THE WITNESS: I would just answer         18      read them. So if you want him to read
19      that for me it's not acceptable for         19      them and answer your questions, he can.
20      glyphosate. I cannot comment on the         20          MR. GRIFFIS: What I want to know
21      others. I have not reviewed them. I         21      is when he made the statements that he
22      would say, in general, it's probably        22      did about glyphosate and imputation, did
23      acceptable although it's much less          23      you believe that glyphosate was not
24      scientifically valid than actually          24      involved in these studies?
25      gathering the data. Okay? Guessing the      25          MS. FORGIE: My objection stands.


                                                                    26 (Pages 98 to 101)
                       TSG Reporting - Worldwide           877-702-9580
     Case 3:16-md-02741-VC Document 1137-4 Filed 02/16/18 Page 28 of 58

                                     Page 102                                             Page 104
 1         You can read them if you want            1           In the introduction, sir, the
 2     before you answer those questions.           2   left-hand column on the first page, it says
 3         THE WITNESS: I don't know whether        3   halfway down first paragraph, "Multiple
 4     they evaluate glyphosate in these            4   imputation has been widely accepted, and
 5     studies or not. I don't know whether         5   it's been used to account for missing data
 6     they used the same method they used in       6   in large national surveys and studies," and
 7     the 2018 study and the data is highly        7   it lists multiple studies including the
 8     questionable.                                8   Framingham Heart Study; right?
 9   BY MR. GRIFFIS:                                9       A. Yes.
10     Q. The peer reviewers of "The American      10       Q. Do you have any criticism of the
11   Journal of Epidemiology," "International      11   quality of the studies listed, NHANES III,
12   Journal of Epidemiology," and the             12   National Assessment of Educational Progress,
13   "Environmental Health Perspective" passed     13   Children's Mental Health Initiative, and the
14   that procedure; right?                        14   Framingham Heart Study?
15         MS. FORGIE: Object to the form.         15           MS. FORGIE: Object to the form.
16     Again, he hasn't looked at these. He's      16       This deposition is not about those
17     already stated he doesn't know what's in    17       studies. I'm going to let him answer
18     them. It's not fair. You're badgering       18       that question.
19     him.                                        19           THE WITNESS: I really don't know
20         You can answer one more time.           20       much about any of these studies.
21         THE WITNESS: They accepted the          21   BY MR. GRIFFIS:
22     papers for publication but they -- it's     22       Q. Are you able -- do you have the
23     unlikely that they understood the -- all    23   expertise and experience to be able to
24     the issues surrounding glyphosate and       24   comment on whether multiple imputation is
25     its use. And I . . .                        25   widely used in major national studies that

                                     Page 103                                             Page 105
 1         (Exhibit Number 30-11 was                1     are well respected like the ones listed
 2         marked for identification.)              2     here?
 3   BY MR. GRIFFIS:                                3            MS. FORGIE: Objection. Asked and
 4      Q. Exhibit 11 is the Heltshe Study          4        answered.
 5   which you cited in your expert report;         5            You can answer it again.
 6   correct?                                       6            THE WITNESS: I would accept that
 7      A. Yes.                                     7        statement.
 8      Q. And this is a paper in which the         8     BY MR. GRIFFIS:
 9   imputation procedure was tested; correct?      9        Q. And the first sentence of the
10         MS. FORGIE: Object to the form.         10     article, sir, "Missing data is a common
11         THE WITNESS: Yes.                       11     problem in epidemiological studies and the
12   BY MR. GRIFFIS:                               12     statistical implications of ignoring missing
13      Q. And it was tested by withdrawing a      13     data are well known, including loss of
14   random sample of people who did respond to    14     statistical power and potentially biased
15   the second survey and pretending that they    15     estimates of the association." And then
16   didn't respond and seeing how well the        16     they describe multiple imputation technique
17   imputation procedure predicted the actual     17     as one way to address that. Do you agree
18   responses that those people gave; right?      18     with that?
19      A. Yes.                                    19            MS. FORGIE: Objection. Asked and
20      Q. So it compared imputation to real       20        answered.
21   responses, data that was actually gathered;   21            You can answer it again.
22   right?                                        22            THE WITNESS: I agree that
23      A. Right.                                  23        imputation is one way to address this
24      Q. To see how well those two matched       24        problem, yes.
25   up.                                           25   ///


                                                                 27 (Pages 102 to 105)
                       TSG Reporting - Worldwide          877-702-9580
      Case 3:16-md-02741-VC Document 1137-4 Filed 02/16/18 Page 29 of 58

                                       Page 106                                             Page 108
 1   BY MR. GRIFFIS:                                   1   BY MR. GRIFFIS:
 2      Q. In the Heltshe --                           2      Q. And you know that there were
 3         MS. FORGIE: How much time is                3   multiple sensitivity tests that were done in
 4      there, please.                                 4   the NCI 2018 study to test the accuracy of
 5         THE VIDEOGRAPHER: Just for this             5   its imputation procedure; right?
 6      tape.                                          6           MS. FORGIE: Object to the form.
 7   BY MR. GRIFFIS:                                   7           THE WITNESS: Yes.
 8      Q. In the Heltshe study, sir,                  8   BY MR. GRIFFIS:
 9   glyphosate was in the middle range for            9      Q. None of those sensitivity tests
10   relative errors as calculated between the        10   itself relied on imputation; right? There
11   actual respondents and the imputed figures;      11   are ways of checking the data without
12   correct?                                         12   looking at it without imputation; right?
13         MS. FORGIE: Object to the form.            13           MS. FORGIE: Object to the form.
14   BY MR. GRIFFIS:                                  14           THE WITNESS: That's correct.
15      Q. I'm looking, for example, at               15   BY MR. GRIFFIS:
16   Figure 2.                                        16      Q. And all three of those sensitivity
17      A. You're looking at Figure 2?                17   checks came up with essentially the same
18      Q. Yes. You're welcome to look                18   result, i.e., no association between
19   anywhere you like, but that's where I'm          19   glyphosate and non-Hodgkin lymphoma;
20   looking.                                         20   correct?
21      A. Yes, it's kind of at the lower             21           MS. FORGIE: Object to the form.
22   edge, but it's close to the middle.              22           THE WITNESS: It's correct, but
23      Q. Close to the middle. Looking at            23      they all used the same basic flawed data
24   Table 3, sir, do you know -- do you know         24      due to exposure misclassification. So
25   what a Brier skill score is and how to           25      it's not surprising they came up with

                                       Page 107                                             Page 109
 1     assess it?                                      1      the same result.
 2        A. I don't.                                  2   BY MR. GRIFFIS:
 3        Q. All right. Let's skip that then.          3      Q. They eliminated imputation entirely
 4            In the discussion section on             4   in those sensitivity analyses; right?
 5     page 413, sir, of the Heltshe Study, it says    5         MS. FORGIE: Objection. Asked and
 6     three sentences in, "In analyses, imputation    6      answered.
 7     is generally preferable to omitting             7         You can answer it again.
 8     individuals who did not complete phase 2, in    8         THE WITNESS: In some of the
 9     our case, 37 percent of enrolled                9      analyses that's true. I don't know
10     individuals, due to possible selection bias    10      whether they did in all of them. We'd
11     in the subset with complete data and           11      have to talk about them one at a time.
12     decreased precision of parameters estimates    12   BY MR. GRIFFIS:
13     using only a subset of data."                  13      Q. Let's do. Page 4, first column.
14            Do you see that, sir?                   14         MS. FORGIE: Are you back to the
15        A. Yes.                                     15      study?
16        Q. Do you agree that imputation is          16         MR. GRIFFIS: Yeah.
17     preferable to ignoring the data?               17         MS. FORGIE: That --
18            MS. FORGIE: Objection. Are you          18         THE WITNESS: Page 4? Where are
19        talking about in general or with            19      you?
20        glyphosate?                                 20   BY MR. GRIFFIS:
21            THE WITNESS: So -- yeah, so what        21      Q. I'm in the first column, first full
22        they're saying here is that imputation      22   paragraph within the paragraph that starts
23        is preferable to limiting the study to      23   in primary analyses, about three sentences
24        those with complete data.                   24   in. And the first sensitivity test is
25   ///                                              25   described -- they say "We conducted several


                                                                   28 (Pages 106 to 109)
                        TSG Reporting - Worldwide           877-702-9580
      Case 3:16-md-02741-VC Document 1137-4 Filed 02/16/18 Page 30 of 58

                                      Page 110                                            Page 112
 1   sensitivity analyses."                          1   talked about earlier. They had to do it.
 2         Do you see that?                          2   So they didn't include any imputation for
 3      A. Right.                                    3   the 37 percent who didn't complete the
 4      Q. Okay. So the first one was they           4   questionnaire, but they had to do some
 5   restricted to exposure report at enrollment,    5   imputation for the people who did complete
 6   in other words, the first questionnaire;        6   the questionnaire.
 7   correct?                                        7       Q. So you believe the imputation
 8      A. Correct.                                  8   procedure and not some other statistical
 9      Q. So people that answered the first         9   control is how the gaps were addressed in
10   questionnaire, they just looked at that data   10   people who answered the second
11   and left out the second questionnaire; so      11   questionnaire; is that right?
12   they didn't need to impute any missing data;   12          MS. FORGIE: Object to the form.
13   right?                                         13          THE WITNESS: I don't know the
14      A. Right.                                   14       answer, but I suspect that's how they
15      Q. And when they did that, when they        15       did it.
16   used only exposure information reported at     16   BY MR. GRIFFIS:
17   enrollment, rate ratio in the highest          17       Q. They didn't need --
18   exposed quartile was 0.82 percent and they     18       A. They don't tell you how they did
19   report the confidence interval expands one.    19   it.
20         So when they did the first               20       Q. Yes, sir. The 37 percent -- for
21   sensitivity analysis leaving out imputation,   21   the 37 percent, the second sensitivity
22   there was, again, no association between       22   analysis leaves out that whole imputation
23   glyphosate and non-Hodgkin lymphoma;           23   procedure; correct?
24   correct?                                       24       A. Right, it leaves out all those
25         MS. FORGIE: Object to the form and       25   people.

                                      Page 111                                            Page 113
 1      asked and answered.                          1      Q. And when they're left out, again,
 2         You can answer it again.                  2   there's no statistically significant
 3         THE WITNESS: That's correct.              3   association, no association at all between
 4   BY MR. GRIFFIS:                                 4   glyphosate and non-Hodgkin lymphoma;
 5      Q. Then they did a second sensitivity        5   correct?
 6   analysis a different way. "To evaluate the      6         MS. FORGIE: Objection. Asked and
 7   impact of using imputed exposure data for       7      answered.
 8   participants who did not complete the           8         You can answer it again.
 9   follow-up questionnaire, we limited the         9         THE WITNESS: That's correct.
10   analysis to the 34,698 participants who        10   BY MR. GRIFFIS:
11   completed both questionnaires." So if you      11      Q. Now, the third sensitivity test
12   didn't answer the second questionnaire, they   12   they truncated the follow-up period to 2005
13   left you out of this sensitivity test;         13   so that their latest exposure information
14   right?                                         14   that they had which was 2005 they stopped
15      A. Correct.                                 15   follow-up there; so if they had mistakenly
16      Q. So, again, they didn't need to use       16   imputed any exposures or non-exposures, that
17   imputation; right?                             17   wouldn't matter because they wouldn't be
18         MS. FORGIE: Object to the form.          18   looking into the future at those cancers;
19   BY MR. GRIFFIS:                                19   right?
20      Q. There was no imputation in this          20         MS. FORGIE: Object to the form.
21   second sensitivity analysis?                   21         THE WITNESS: So -- yeah. So they
22      A. Well, there may have been some           22      imputed it for everyone, but they
23   imputation for the people who answered the     23      stopped the follow-up at 2005. So
24   questionnaire because they had to impute       24      presumably any exposure
25   what their use was during that gap period we   25      misclassification that occurred after


                                                                  29 (Pages 110 to 113)
                       TSG Reporting - Worldwide           877-702-9580
      Case 3:16-md-02741-VC Document 1137-4 Filed 02/16/18 Page 31 of 58

                                      Page 114                                            Page 116
 1     that is not part of the issue.                1   view?
 2   BY MR. GRIFFIS:                                 2         MS. FORGIE: Object to the form.
 3     Q. Right. It takes out that exposure          3      Asked and answered.
 4   misclassification issue --                      4         You can answer it again.
 5     A. Right.                                     5         THE WITNESS: I don't know. I'd
 6     Q. -- as a sensitivity test; right?           6      have to go back and look at that
 7     A. Right.                                     7      carefully but -- I'd have to go back and
 8         MS. FORGIE: Object to the form.           8      look at it carefully. I thought it did
 9   BY MR. GRIFFIS:                                 9      include imputation up to 2005.
10     Q. And once again there is no                10   BY MR. GRIFFIS:
11   association in the resulting figures; right?   11      Q. You're not sure?
12         MS. FORGIE: Objection. Asked and         12         MS. FORGIE: Object to the form.
13     answered.                                    13      Asked and answered.
14         You can answer it again.                 14         THE WITNESS: Let me look at it.
15         THE WITNESS: Right, but, again,          15      I'm unclear on the last one whether the
16     it's not surprising because the              16      imputation was included or not.
17     underlying data and the extent of the        17   BY MR. GRIFFIS:
18     exposure misclassifications that             18      Q. Okay.
19     occurred even at the time of enrollment      19      A. I'd have to go back and review the
20     you wouldn't see anything. So with each      20   methods.
21     of these sensitivity analyses, there are     21      Q. Okay.
22     still major issues and flaws just as         22         MS. FORGIE: Do you want him to do
23     there is in the overall analysis.            23      that?
24   BY MR. GRIFFIS:                                24   BY MR. GRIFFIS:
25     Q. Okay. Let's get the imputation            25      Q. Since you're not clear about the

                                      Page 115                                            Page 117
 1   addressed first. As far as the imputation       1   third one, let's ask about the first two.
 2   procedure goes, the imputation procedure        2   They did two at least sensitivity tests that
 3   that was used to address the 37 percent         3   omitted the imputation procedure. Are we --
 4   non-respondents in the second questionnaire,    4         THE VIDEOGRAPHER: I should switch.
 5   the NCI 2018 investigators did three            5   BY MR. GRIFFIS:
 6   separate sensitivity analyses that didn't       6      Q. That omitted the imputation
 7   rely on that imputation and came up with the    7   procedure and came up with the same lack of
 8   same lack of association between glyphosate     8   association between glyphosate and NHL;
 9   and non-Hodgkin lymphoma; correct?              9   correct?
10         MS. FORGIE: Wait. Object to the          10         MS. FORGIE: Object to the form.
11      form. You've now asked him this four        11      Asked and answered like five times.
12      times. He can answer it one more time,      12         You can answer it again.
13      but you're badgering the witness.           13         THE WITNESS: I'm sorry. Ask the
14         You can answer it again.                 14      question again.
15         THE WITNESS: I believe the third         15         MR. GRIFFIS: Switch tapes, and
16      one did include imputation up to 2005.      16      we'll ask it again.
17   BY MR. GRIFFIS:                                17         THE VIDEOGRAPHER: This will
18      Q. Okay. Left out a big piece of            18      complete disk number 1. We're going off
19   imputation?                                    19      the record at 11:06 a.m.
20         MS. FORGIE: Object to the form.          20         (Recess taken from 11:06 a.m.
21         THE WITNESS: No, it included             21         to 11:16 a.m.)
22      imputation up to 2005.                      22         THE VIDEOGRAPHER: This is the
23   BY MR. GRIFFIS:                                23      beginning of disk number 2. We are
24      Q. And it left out a big piece of           24      going back on the record. The time is
25   imputation as well; correct? -- in your        25      11:16 a.m.


                                                                  30 (Pages 114 to 117)
                       TSG Reporting - Worldwide           877-702-9580
     Case 3:16-md-02741-VC Document 1137-4 Filed 02/16/18 Page 32 of 58

                                      Page 118                                            Page 120
 1         THE WITNESS: So I'd just like to         1        they're actually very different. So
 2      correct myself. For the last                2        this is the problem with just using this
 3      sensitivity analysis, they didn't use       3        kind of data because there's a selection
 4      imputed data for any of the 37 percent      4        bias for people who actually answered
 5      who didn't complete the second              5        the questionnaire. And those people are
 6      questionnaire.                              6        very different actually than people who
 7   BY MR. GRIFFIS:                                7        didn't answer the second phase of the
 8      Q. For the last one, the third one          8        questionnaire; so you're trying to guess
 9   that we were talking about, the truncated      9        what the people who didn't answer the
10   follow-up period --                           10        second phase of the questionnaire --
11      A. Yes.                                    11        you're trying to guess what exposure
12      Q. -- to 2005, they didn't use any         12        they had when, in fact, they're very
13   imputed data?                                 13        different than the group that you used
14      A. Not for the 37 percent.                 14        to train your imputation.
15      Q. Okay. And the purpose of these          15     BY MR. GRIFFIS:
16   three sensitivity tests was to test how       16        Q. First of all, you said that you're
17   reliable imputation was in this study;        17     relying on people who answered the second
18   right?                                        18     questionnaire being similar to people who
19         MS. FORGIE: Object to the form.         19     didn't answer the second questionnaire;
20         THE WITNESS: Well, they're              20     correct?
21      comparing different types of analysis to   21        A. Yes.
22      see whether there's any difference, and    22            MS. FORGIE: Objection --
23      there wasn't any difference. So they're    23            THE WITNESS: But they aren't --
24      assuming that this confirms their          24        they're very different.
25      imputation calculations, but all this --   25   ///

                                      Page 119                                            Page 121
 1      all the analyses are using the same         1   BY MR. GRIFFIS:
 2      flawed data; so it's not surprising that    2      Q. As to the first sensitivity
 3      the results are not different.              3   analysis, that's not an accurate criticism
 4   BY MR. GRIFFIS:                                4   because that was restricted to data from the
 5      Q. Well, let's talk about imputation        5   first questionnaire; right?
 6   first, not the same flawed data point which    6          MS. FORGIE: Objection. Asked and
 7   we'll discuss with the imputation point.       7      answered.
 8          As far as imputation goes, these        8          You can answer it again.
 9   are three sensitivity tests that were done     9          THE WITNESS: Right. So in the
10   to set aside imputation and see if similar    10      first -- so in the first sensitivity
11   results were reached, and the answer was      11      analysis, you just use the initial data,
12   yes. We get similar results without using     12      right.
13   imputation; right?                            13   BY MR. GRIFFIS:
14          MS. FORGIE: Objection. Asked and       14      Q. Okay. And you said that we know
15      answered. It mischaracterizes his          15   that the people who responded to the second
16      answer.                                    16   questionnaire were different than the people
17          THE WITNESS: So, yes, you get          17   who didn't respond to it.
18      similar results, but there's a real        18      A. Yes.
19      selection bias that occurs here because    19      Q. What's the evidence for that?
20      you're only analyzing data on people who   20      A. Well, there's a paper by Montgomery
21      actually answered the two parts of the     21   which I didn't cite, but there's a paper by
22      questionnaire. If you look at, you         22   Rinsky which I did cite which also
23      know, are the people who didn't respond    23   references the paper by Montgomery, and both
24      to the second phase of the questionnaire   24   those papers showed that the people who
25      different than the ones who did respond,   25   answered the second questionnaire were


                                                                 31 (Pages 118 to 121)
                       TSG Reporting - Worldwide          877-702-9580
      Case 3:16-md-02741-VC Document 1137-4 Filed 02/16/18 Page 33 of 58

                                      Page 122                                           Page 124
 1   actually very different than the people who     1   this deposition that glyphosate is uniquely
 2   didn't answer the second questionnaire.         2   problematic for the NCI 2018 study and for
 3         MR. GRIFFIS: Let's mark Rinsky and        3   the AHS dataset, in general, and that
 4      Montgomery.                                  4   imputation will be biased with regard to it
 5         (Exhibit Numbers 30-12 and                5   and that the basic data collection will be
 6         30-13 were marked for                     6   wrong with regard to it; correct?
 7         identification.)                          7          MS. FORGIE: Object to the form.
 8   BY MR. GRIFFIS:                                 8      Mischaracterizes his testimony.
 9      Q. Which one is Exhibit 12, sir?             9          THE WITNESS: I think the marked
10         MS. SHIMADA: Montgomery.                 10      change in the use of glyphosate right
11         THE WITNESS: I'm sorry?                  11      during the time of the enrollment and
12   BY MR. GRIFFIS:                                12      during the period after the enrollment
13      Q. Montgomery is 12?                        13      has resulted in a significant amount of
14      A. Yes.                                     14      exposure misclassification, which is a
15      Q. In Montgomery, they looked at the        15      problem for the study because this
16   difference between the people who responded    16      exposure misclassification is
17   to the second questionnaire and the people     17      non-differential, and it biases any
18   who didn't respond to it; right?               18      potential real findings to the null. So
19      A. Right. They compared the two             19      it gives you a negative study, and this
20   groups.                                        20      is one reason why one in general has
21      Q. In the abstract under                    21      less confidence in negative studies than
22   "Conclusions," they said "Differences          22      positive studies because when risk
23   between non-participants and participants in   23      ratios are not high, they can just
24   the follow-up interview were generally         24      disappear with this kind of -- with this
25   small, and we did not find significant         25      level of misclassification.

                                      Page 123                                           Page 125
 1   evidence of selection bias"; right?             1   BY MR. GRIFFIS:
 2         MS. FORGIE: Object to the form.           2      Q. And you have a hypothesis that
 3         THE WITNESS: That's what they say.        3   changes in glyphosate use caused
 4   BY MR. GRIFFIS:                                 4   non-differential misclassification. Do you
 5      Q. In the Rinsky paper, sir, 13, this        5   have any evidence that that is true?
 6   is a comparison of people who did and didn't    6          MS. FORGIE: Object to the form.
 7   respond to a third interview; right?            7          THE WITNESS: No, but if you look
 8      A. Right. Response was even worse in         8      at how the study was done and
 9   the third questionnaire.                        9      constructed, you'd know that there was
10      Q. And the third interview doesn't          10      significant amounts of exposure
11   have anything to do with NCI 2018; right?      11      misclassification just by understanding
12         MS. FORGIE: Object to the form.          12      the nature of how the study was done.
13         THE WITNESS: It doesn't, but it          13   BY MR. GRIFFIS:
14      shows you that there are going to be        14      Q. Yes, sir. You have a hypothesis,
15      even more problems in future analyses if    15   but you don't have any evidence for it;
16      they're ever done.                          16   right?
17   BY MR. GRIFFIS:                                17          MS. FORGIE: Objection.
18      Q. As far as the critique of the            18      Mischaracterizes his testimony, asked
19   non-responders to the second questionnaire     19      and answered.
20   in NCI 2018, Rinsky doesn't speak to that;     20          You can answer it again.
21   right?                                         21          THE WITNESS: Well, I'm not part of
22      A. No, Montgomery does, but the             22      the study; so how can I develop
23   findings are the same. And Rinsky              23      evidence? I don't have -- I don't have
24   references Montgomery.                         24      access to the raw data to develop
25      Q. You've said several times during         25      evidence. How could I develop evidence?


                                                                 32 (Pages 122 to 125)
                       TSG Reporting - Worldwide          877-702-9580
     Case 3:16-md-02741-VC Document 1137-4 Filed 02/16/18 Page 34 of 58

                                       Page 126                                             Page 128
 1    BY MR. GRIFFIS:                                 1     clear, when you say "the exposure
 2        Q. Well, for example, sir, the NCI          2     misclassification that occurred," it is the
 3    2018 paper and the AHS pool of data, in         3     exposure misclassification that you
 4    general, has all sorts of supporting studies    4     hypothesized by looking at the study;
 5    validating all sorts of different aspects of    5     correct?
 6    it, which is something the case-control         6            MS. FORGIE: Object to the form.
 7    studies don't have; right?                      7            THE WITNESS: I think it's pretty
 8           MS. FORGIE: Object to the form.          8        commonly -- if one studies the way the
 9           THE WITNESS: And many of those           9        study was done, if one studies the
10        studies raised the issue of exposure       10        methodology carefully, one can see that
11        misclassification and how it could be a    11        there's a significant likelihood of
12        major problem in the Agriculture Health    12        exposure misclassification which can't
13        Study.                                     13        be addressed -- which can't be addressed
14   BY MR. GRIFFIS:                                 14        and probably can't be measured because
15        Q. And none of them detected any           15        of the way the study was done.
16    exposure misclassification with regard to      16     BY MR. GRIFFIS:
17    the glyphosate; correct?                       17        Q. And there are no data or figures
18           MS. FORGIE: Object to the form.         18     that you can point to for that?
19           THE WITNESS: The studies didn't         19            MS. FORGIE: Object to the form.
20        necessarily focus on glyphosate.           20        Asked and answered.
21    BY MR. GRIFFIS:                                21            You can answer it again.
22        Q. To close the loop, you can't point      22            THE WITNESS: No, other than the
23    us to any evidence as opposed to your          23        whole body of information that we know
24    hypothesis that the glyphosate data            24        about the agricultural health study.
25    incorporates differential misclassification;   25   ///

                                       Page 127                                             Page 129
 1   right?                                           1   BY MR. GRIFFIS:
 2          MS. FORGIE: Object to the form.           2      Q. All of the flaws or errors,
 3      Asked and answered.                           3   whatever term you like to use, that you've
 4          You can answer it again.                  4   discussed today and that you believe exist
 5          THE WITNESS: So if you understand         5   with regard to this study, those are
 6      how the study was done, you know there        6   non-differential, not differential; correct?
 7      was a significant amount of exposure          7          MS. FORGIE: Object to the form.
 8      misclassification, and basically the          8      Mischaracterizes his testimony.
 9      study does not address that issue.            9          THE WITNESS: Yes, I think they're
10      Okay? The study does not address that        10      non-differential.
11      issue, and it should have been               11   BY MR. GRIFFIS:
12      addressed.                                   12      Q. Okay.
13   BY MR. GRIFFIS:                                 13      A. The other problem with the
14      Q. And imputation is designed to             14   sensitivity analyses is that they're
15   address the problem of exposure                 15   focusing only on people who actually
16   misclassification?                              16   responded to the questionnaires. So there's
17          MS. FORGIE: Objection.                   17   a selection bias in just analyzing that
18          THE WITNESS: No, it's designed to        18   data, and the study doesn't recommend doing
19      fill in the gaps in information, but it      19   that because of the selection bias. That's
20      can be also influenced by the initial        20   why they decided to use the imputation data.
21      exposure misclassification which             21   Okay?
22      occurred because that data is used as        22      Q. Because it was better; right?
23      part of imputation method.                   23          MS. FORGIE: Object to the form.
24   BY MR. GRIFFIS:                                 24          THE WITNESS: Because they thought
25      Q. And, again, so that the jury is           25      it would be better.


                                                                   33 (Pages 126 to 129)
                        TSG Reporting - Worldwide           877-702-9580
      Case 3:16-md-02741-VC Document 1137-4 Filed 02/16/18 Page 35 of 58

                                      Page 130                                            Page 132
 1   BY MR. GRIFFIS:                                 1      imputation is flawed because of that
 2      Q. They thought it would be better,          2      because they used a group of people who
 3   and there are studies on whether it's better    3      were very different to impute the data
 4   like the Heltshe Study, and you can't point     4      to people who -- to another group of
 5   anywhere where they found that it's worse;      5      people.
 6   correct?                                        6   BY MR. GRIFFIS:
 7          MS. FORGIE: Object to the form.          7      Q. Montgomery says "Differences
 8          THE WITNESS: It's not a matter of        8   between non-participants and participants in
 9      whether it's worse or not. It's do you       9   the follow-up interview were generally small
10      use the data, or do you not -- do you       10   and we did not find significant evidence of
11      just drop out the people who didn't         11   selection bias"; right?
12      respond, and I think for most of the        12         MS. FORGIE: Are you asking him
13      analysis they did the imputation data is    13      whether you're reading a section
14      acceptable. But for glyphosate because      14      correctly?
15      of the special circumstances, it is         15         MR. GRIFFIS: I'm asking whether
16      highly questionable.                        16      that was their conclusion.
17   BY MR. GRIFFIS:                                17         MS. FORGIE: Object to the form.
18      Q. All three of the sensitivity tests       18         THE WITNESS: That's what they say.
19   that were done would, if they were published   19      That's what they say. If you look at
20   as a standalone study, would be the biggest    20      the details, the group that didn't
21   study out there other than NCI 2018 itself     21      respond to the questionnaire were
22   on the subject of glyphosate and               22      younger. They were less educated. They
23   non-Hodgkin's lymphoma; correct?               23      were more likely non-whites. They had
24          MS. FORGIE: Object to the form.         24      poor health habits. They smoked more.
25          THE WITNESS: It's true, but they        25      They drank more. They ate -- had diets

                                      Page 131                                            Page 133
 1     would never be able to publish them that      1      that weren't as good. They were less
 2     way because of the tremendous dropout of      2      likely to use pesticides, to mix and
 3     information and the selection bias that       3      apply pesticides; so there were all
 4     would have been introduced; so that's         4      kinds of differences between the
 5     why they didn't do it.                        5      non-responders and the responders that
 6   BY MR. GRIFFIS:                                 6      call into question the whole imputation
 7     Q. And in order for the dropout to            7      process.
 8   matter, it would have to be differential;       8   BY MR. GRIFFIS:
 9   correct? It would have to -- people would       9      Q. What evidence is there that any of
10   have to not respond to the second              10   those factors is correlated with being
11   questionnaire in a way that is correlated      11   exposed to glyphosate and contracting
12   with their propensity to be exposed to         12   non-Hodgkin's lymphoma?
13   glyphosate and contract non-Hodgkin's          13         MS. FORGIE: Objection. Asked and
14   lymphoma from their exposure to glyphosate;    14      answered.
15   correct?                                       15         You can answer it again.
16         MS. FORGIE: Object to the form.          16         THE WITNESS: We don't know the
17         THE WITNESS: We can't really know        17      answer to that because they never
18     what the effect of having those              18      gathered the data.
19     37 percent of people respond. We can't       19   BY MR. GRIFFIS:
20     really know what that is. We can only        20      Q. Take a look, sir, again, at Table 2
21     guess, and that's what they did. The         21   in Exhibit 5, the NCI 2018.
22     fact is that the group that didn't           22      A. Table 2?
23     respond to the second questionnaire was      23      Q. Yes. Let's just look at the data
24     very different from the group that did,      24   for lymphohematopoietic -- no, let's do
25     and so it's very likely that the             25   non-Hodgkin's lymphoma. Are you there?


                                                                  34 (Pages 130 to 133)
                       TSG Reporting - Worldwide          877-702-9580
      Case 3:16-md-02741-VC Document 1137-4 Filed 02/16/18 Page 36 of 58

                                      Page 134                                             Page 136
 1      A. Your Table 2 of Andreotti?                1   value is somewhat higher than one, point
 2      Q. Yes.                                      2   value somewhat lower than one, all clustered
 3      A. Yes.                                      3   tightly around one, all not significant,
 4      Q. Table 2, Exhibit 5, the NCI 2018.         4   except possibly with some multiple
 5   So we have here data for people who were        5   comparison outliers here and there.
 6   unexposed and people in four different          6      A. You have --
 7   quartiles of exposure, Q1 being lowest, Q4      7         MS. FORGIE: Wait. Objection.
 8   being highest; correct?                         8      Mischaracterizes his testimony.
 9      A. Yes.                                      9         THE WITNESS: If you look at the
10         MS. FORGIE: Object to the form.          10      data for most of these other cancers,
11   BY MR. GRIFFIS:                                11      the numbers are clustered around one.
12      Q. The relative risk pointed out to         12      For non-Hodgkin lymphoma, there's
13   Mr. Gibbons 0.83, 0.83, 0.88, and 0.87.        13      significant -- they're lower than one,
14   Those are the respective relative risks for    14      consistently lower than one. So what
15   quartiles 1 through 4; correct?                15      that tells you is there's something
16      A. Correct.                                 16      different here, and we don't understand
17      Q. If there was non-differential            17      why that is. Okay? So the questions
18   classification in this study that biased       18      about non-differential misclassification
19   results toward the null, then the true         19      actually changing a value below one is
20   relative risks that you would get for          20      nonsensical to me. It makes no sense.
21   non-Hodgkin lymphoma if you corrected for      21      Okay?
22   those would be figures smaller than 0.83,      22   BY MR. GRIFFIS:
23   0.83, 0.88, and 0.87; correct?                 23      Q. So in your epidemiologic view, bias
24         MS. FORGIE: Object to the form.          24   towards the null only applies to increasing
25         THE WITNESS: If the data is              25   P values -- increasing relative risks that

                                      Page 135                                             Page 137
 1      correct, that's true. But there's no         1     start out above one?
 2      obvious reason to be able to understand      2            MS. FORGIE: Object to the form.
 3      why the risk ratios are lower than one.      3            THE WITNESS: Well, if -- if they
 4      Okay? So if there's no risk --               4        start out above one, it will decrease it
 5      right? -- if there's no risk, they           5        towards the null. If they truly start
 6      should be about one. So the fact that        6        below one, it will increase it towards
 7      they're, you know, almost 20 percent         7        the null, but there's no reason to
 8      lower for some categories tells you that     8        believe that glyphosate actually
 9      there are also some methodologic issues      9        prevents non-Hodgkin lymphoma, is there?
10      in the study which we don't understand.     10        No, there's not. So it's sort of
11      Either the control group is very unlike     11        nonsensical to make the argument below
12      the group that got diseased or there's      12        one. Okay?
13      some random error. There is some other      13     BY MR. GRIFFIS:
14      issues here which is hard to understand,    14        Q. Okay. All of your points about
15      why would the odds ratios actually be       15     non-differential bias, they wouldn't take
16      lower than one? We don't really believe     16     something like the results that we see for
17      glyphosate is protective for disease;       17     lymphohematopoietic and move it towards one
18      right.                                      18     and beyond one and yield a statistically
19   BY MR. GRIFFIS:                                19     significant positive association because
20      Q. You testified earlier, sir, that         20     that would be the wrong direction for
21   this pattern, a pattern for all cancers, for   21     non-differential bias; right?
22   oral cavity, colon, rectum, pancreas, lung,    22            MS. FORGIE: Object to the form.
23   melanoma, prostate, et cetera, is exactly      23            THE WITNESS: So if it was lower
24   what you would expect to see in a substance    24        than one?
25   that does not cause cancer, i.e., point        25   ///


                                                                  35 (Pages 134 to 137)
                       TSG Reporting - Worldwide           877-702-9580
      Case 3:16-md-02741-VC Document 1137-4 Filed 02/16/18 Page 37 of 58

                                      Page 138                                            Page 140
 1   BY MR. GRIFFIS:                                 1   BY MR. GRIFFIS:
 2      Q. Yeah, you're not going to get .87         2      Q. Are you testifying to a reasonable
 3   ticking up towards one and beyond it by         3   degree of medical certainty that these
 4   correcting for non-differential bias by         4   figures represent a difference in the
 5   definition; right?                              5   control group from the composed group, and
 6         MS. FORGIE: Object to the form.           6   that's the reason for this, and that's an
 7         THE WITNESS: No, but that's why I         7   additional source of error in the data? Is
 8      say that the fact that the odds ratios       8   that your testimony to a reasonable degree
 9      are lower -- consistently lower than         9   of medical certainty?
10      one, there must be another explanation      10      A. I'm suggesting that that may be an
11      for that. Okay? Other than the fact         11   explanation for the lower than one odds
12      that glyphosate is protective of            12   ratios for non-Hodgkin's lymphoma. I'm
13      non-Hodgkin's lymphoma. That doesn't        13   suggesting that.
14      make any sense either.                      14      Q. That's a speculation?
15   BY MR. GRIFFIS:                                15          MS. FORGIE: No. Objection.
16      Q. What is it?                              16          THE WITNESS: It is speculation
17      A. Uh-huh?                                  17      because no one has explained why they
18      Q. What is the other explanation?           18      are not clustering around one, why
19      A. I don't know what the other              19      they're all low. There's some
20   explanation is. Either the control group is    20      methodologic issue here that is not
21   so different from the cases that it doesn't    21      addressed in the paper.
22   allow us to do a valid evaluation, or          22          MR. GRIFFIS: Pass the witness.
23   there's some random error. I don't know.       23          MS. FORGIE: Okay. We'll take a
24   My guess is that there -- my guess is that     24      break.
25   the control group is probably not a very       25          THE VIDEOGRAPHER: Going off the

                                      Page 139                                            Page 141
 1     good group to use because they're very        1     record at 11:41 a.m.
 2     different from the cases, and actually        2        (Recess taken from 11:41 a.m.
 3     that's the reason in the De Roos -- the       3        to 11:55 a.m.)
 4     first De Roos paper that they did an          4        THE VIDEOGRAPHER: This is
 5     analysis of the low exposed to the high       5     continuing disk number 2. The time is
 6     exposed instead of using -- doing the         6     11:55. We are going back on the record.
 7     analysis of the high exposed versus the       7
 8     controls. And, in fact, it would have been    8              EXAMINATION
 9     interesting for these folks to do the same    9   BY MS. FORGIE:
10     thing just to see if there's a difference.   10     Q. Doctor, you were asked a series of
11     Okay?                                        11   questions about your opinions about
12            My guess is that these risk ratios    12   misclassification flaws in the AHS
13     that are below one would have come much      13   publication. Do you remember those
14     closer and clustered around one. So that's   14   questions?
15     another issue with this study. The control   15     A. Yes.
16     group that they used probably isn't a very   16     Q. And do some of those
17     representative control group comparing the   17   misclassification flaws apply to the
18     controls to the cases.                       18   63 percent that answered the second
19        Q. Sir, to be fair, I've got five         19   questionnaire?
20     minutes left. You're supposed to be giving   20     A. Yes, they do.
21     expert testimony here. None of this is in    21     Q. So it's not just the 37 percent
22     your expert report.                          22   that did not answer the second question that
23        A. I'm answering your question.           23   those misclassification flaws applied to;
24            MS. FORGIE: Wait, wait, wait.         24   correct?
25   ///                                            25     A. Yes.


                                                                 36 (Pages 138 to 141)
                       TSG Reporting - Worldwide           877-702-9580
      Case 3:16-md-02741-VC Document 1137-4 Filed 02/16/18 Page 38 of 58

                                      Page 142                                            Page 144
 1      Q. You were also asked a series of           1       Q. If you collect the data, you don't
 2   questions with regard to the 37 percent and     2   need to use an imputation process; correct?
 3   the questionnaires in there. You were asked     3       A. Right. You want to use real data
 4   a series of questions with regards to the       4   whenever possible.
 5   statement at that follow-up, applicators        5       Q. And they could have -- the authors
 6   reported the number of days each pesticide      6   of the AHS study could have gotten that data
 7   was used in the most recent year farm. Do       7   if they had asked those questions; is that
 8   you remember those questions?                   8   correct?
 9      A. Yes.                                      9       A. They could have, yes.
10      Q. With regard to the other years for       10       Q. Are you aware of any peer-reviewed
11   which they did not answer that question,       11   publications that discuss the
12   what information, if any, do we have about     12   misclassification flaws in the AHS
13   pesticide they were using?                     13   publication that you've addressed today?
14      A. We don't have any -- we don't know.      14       A. Well, yes, there's the article by
15   We don't know what they were using. We         15   Gray that I reference in my report that
16   don't know.                                    16   talks about the fact that, you know, if you
17      Q. How many years were involved in the      17   don't gather data in the follow-up studies,
18   period which we don't know what they were      18   that there's a significant potential for
19   using and how long they were using it?         19   exposure misclassification. And then
20      A. Somewhere between six and 12 years.      20   there's the study by Acquavella and another
21      Q. And all that data is not in the          21   study by Blair where they did some
22   study; correct?                                22   biomonitoring, and they both discuss the
23      A. We don't know that data for any of       23   issue of exposure misclassification in the
24   them.                                          24   Agricultural Health Study and how it could
25      Q. You mentioned that you've never          25   be a significant factor.

                                      Page 143                                            Page 145
 1   used an imputation formula in any of your       1      Q. So the exposure misclassification
 2   publications. Do you remember that              2   flaws in the AHS publication that you've
 3   testimony?                                      3   discussed today are also mentioned in
 4      A. Yes.                                      4   peer-reviewed publications, and you just
 5      Q. And you mentioned that you don't          5   named three of those; correct?
 6   know exactly how you would use an imputation    6         MR. GRIFFIS: Objection. Leading.
 7   method, but would you have access as            7         THE WITNESS: Yes.
 8   chairman of the department of pathology here    8   BY MS. FORGIE:
 9   at a large cancer center, City of Hope,         9      Q. You were asked several questions
10   would you have access to people who are        10   about how long it takes to develop
11   qualified to prepare an imputation process     11   non-Hodgkin's lymphoma after the use of
12   if you needed it?                              12   Roundup. Do you remember those questions?
13      A. Yeah. So the studies I was               13      A. Yes.
14   involved in remain case control studies        14      Q. Is it possible to develop
15   where we gathered nearly complete data on      15   non-Hodgkin's lymphoma in one or two years?
16   all of the cases and controls so we didn't     16      A. It is possible after a short
17   have a need for imputation. So I never         17   exposure, but it would be quite unlikely.
18   needed to use imputation to create data for    18   But it's possible.
19   any of my studies. But, you know, if there     19      Q. And with regard to the answers that
20   had been a need, I would have engaged the      20   you were giving, you were giving answers
21   epidemiologists that I collaborated with to    21   about what you would want in an
22   do that.                                       22   epidemiological study as compared to what
23      Q. But if you have the data, you don't      23   would be exposure required in an individual;
24   need to use an imputation process?             24   is that correct?
25      A. Right.                                   25      A. Well, we were talking about median


                                                                  37 (Pages 142 to 145)
                       TSG Reporting - Worldwide           877-702-9580
      Case 3:16-md-02741-VC Document 1137-4 Filed 02/16/18 Page 39 of 58

                                      Page 146                                                Page 148
 1   times of exposure or median times of            1       MS. FORGIE: Thank you.
 2   follow-up. So, you know, as I said before,      2       THE VIDEOGRAPHER: We are going off
 3   the more exposure and the longer follow-up,     3    the record at 12:03 p.m. This will
 4   the better.                                     4    complete disk number 2 and complete
 5      Q. For purposes of an epidemiological        5    today's deposition.
 6   study; correct?                                 6       (Time noted: 12:03 p.m.)
 7      A. Yes.                                      7
 8      Q. Oh, one more question. You were           8
 9   asked a question -- is the AHS publication a    9
10   prospective study or retrospective study?      10         ____________________________
11      A. It's actually both because it's          11          Dennis Weisenburger, M.D.
12   retrospective from the time of enrollment      12
13   because that data is all gathered prior to     13
14   enrollment. And then it is prospective in      14    Subscribed and sworn to before me
15   the sense that as you go forward, they will    15    this   day of      , 2018.
16   have additional follow-up questionnaires to    16
17   try to update the data and have a complete     17    ___________________________________
18   and accurate database.                         18         (Notary Public)
19      Q. Do you agree that the imputation         19
20   error with regard to no differential           20    My Commission expires: ____________
21   misclassification of exposure is only asking   21
22   about the last year of pesticide use           22
23   compounds or makes the flaws in the AHS        23
24   publication more severe than in any of the     24
25   case-control studies?                          25


                                      Page 147                                                Page 149
 1                                                   1         CERTIFICATE
          MR. GRIFFIS: Objection. Leading.
 2                                                   2   STATE OF CALIFORNIA:
          MS. FORGIE: I'll withdraw it. I
 3     don't have anything else.                     3
 4                                                   4      I, LISA MOSKOWITZ, CSR, RPR, CRR, CLR,
 5            FURTHER EXAMINATION                    5   NCRA Realtime Systems Administrator,
 6   BY MR. GRIFFIS:                                 6   Certified Shorthand Reporter, do hereby
 7      Q. Sir, you said that it's possible to       7   certify:
 8   develop non-Hodgkin lymphoma in one to two      8      That the witness whose deposition is
 9   years. What's your evidence for that?           9   hereinbefore set forth was duly sworn, and
10      A. No, what I said is it's possible         10   that such deposition is a true record of the
11   that an exposure could cause non-Hodgkin's     11   testimony given by such witness.
12   lymphoma after a short period of time.         12      I further certify that I am not related
13   There's some evidence for that in studies of   13   to any of the parties to this action by
14   chemotherapy, high-dose chemotherapy, that     14   blood or marriage, and that I am in no way
15   when you use some high-dose chemotherapy       15   interested in the outcome of this matter.
16   that you can develop non-Hodgkin's lymphoma    16      IN WITNESS WHEREOF, I have hereunto set
17   as a result of that, using it for another      17   my hand this 22nd day of January, 2018.
18   purpose like for breast cancer or testicular   18
19   cancer or acute leukemia. But generally        19
20   those are using very toxic agents at high      20
21   doses. You could have a very short latency     21     _________________________________________
22   in that kind of a situation. I discussed       22     LISA MOSKOWITZ, CSR 10816, RPR, CRR, CLR
23   that in my article that is referenced in my    23     NCRA Realtime Systems Administrator
24   first report.                                  24
25          MR. GRIFFIS: No further questions.      25




                                                                   38 (Pages 146 to 149)
                       TSG Reporting - Worldwide            877-702-9580
          Case 3:16-md-02741-VC Document 1137-4 Filed 02/16/18 Page 40 of 58

                                                       Page 150
 1   NAME OF CASE: Roundup Products Liability Litigation
 2   DATE OF DEPOSITION: January 22, 2018
 3   DEPONENT: DENNIS WEISENBURGER, M.D.
 4        1. To clarify the record.
          2. To conform to the facts.
 5        3. To correct transcription error.
 6   Page _______ Line _______ Reason _______
     From_____________________ to________________
 7
     Page _______ Line _______ Reason _______
 8   From_____________________ to________________
 9   Page _______ Line _______ Reason _______
     From_____________________ to________________
10
     Page _______ Line _______ Reason _______
11   From_____________________ to________________
12   Page _______ Line _______ Reason _______
     From_____________________ to________________
13
     Page _______ Line _______ Reason _______
14   From_____________________ to________________
15   Page _______ Line _______ Reason _______
     From_____________________ to________________
16
     Page _______ Line _______ Reason _______
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18   Page _______ Line _______ Reason _______
     From_____________________ to________________
19
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     Page _______ Line _______ Reason _______
23   From_____________________ to________________
24   Page _______ Line _______ Reason _______
     From_____________________ to________________
25




                                                                                 39 (Page 150)
                                   TSG Reporting - Worldwide      877-702-9580
          Case 3:16-md-02741-VC Document 1137-4 Filed 02/16/18 Page 41 of 58


                                                                                                           Page 1

         A                 51:1,5 90:24 105:17   Amended (1)               128:21 133:15,17        88:22 89:9,24 95:12
a.m (18)                   105:23 115:3 127:9    4:14                      141:22 142:11           98:12 99:12 101:3
2:6 7:2,16 40:9,10,11      127:10,15             American (1)            answered (35)             105:3,19 109:5
  40:14 68:11,12,13     addressed (10)           102:10                  6:1 59:6 65:11 67:18      111:1 113:6 114:12
  68:15 117:19,20,21    22:7 43:11 94:7 112:9    AML (2)                   72:8 88:22 89:9,24      115:11 116:3,13
  117:25 141:1,2,3         115:1 127:12          83:3,14                   98:12 99:13,13          117:11 119:14
ability (1)                128:13,13 140:21      amount (4)                101:3 105:4,20          121:6 125:18 127:3
54:10                      144:13                36:2 55:10 124:13         109:6 110:9 111:1       128:20 133:13
able (7)                addresses (1)              127:7                   111:23 112:10           141:10 142:1,3
66:23 92:8 100:13       21:21                    amounts (1)               113:7 114:13 116:3      144:7 145:9 146:9
  104:22,23 131:1       adequate (3)             125:10                    116:13 117:11         asking (10)
  135:2                 71:22 96:10,14           analyses (12)             119:15,21 120:4,17    19:8 37:22 45:25
absent (2)              adjustment (1)           30:4,6 107:6 109:4,9      121:7,25 125:19         51:10 64:10 99:4,14
51:4 100:25             30:5                       109:23 110:1            127:3 128:20            132:12,15 146:21
abstract (2)            adjustments (1)            114:21 115:6 119:1      133:14 141:18         aspects (1)
27:22 122:21            30:13                      123:15 129:14         answering (1)           126:5
accept (4)              Administrator (4)        analysis (31)           139:23                  assess (1)
26:19 98:23,24 105:6    1:24 2:14 149:5,23       12:23 13:11 14:18       answers (2)             107:1
acceptable (11)         admonish (2)               29:8 37:14 42:5,15    145:19,20               assessed (1)
14:23 98:10,15,16,17    18:14,19                   47:21 48:9 62:12      anybody (1)             91:11
  98:19,21 99:10,19     affect (1)                 63:24 78:24 81:19     69:6                    assessment (7)
  99:23 130:14          48:8                       86:6 91:19 92:1,5,9   apparent (1)            9:21 20:6,10 21:22
accepted (3)            agents (2)                 110:21 111:6,10,21    27:25                     22:12 94:24 104:12
97:14 102:21 104:4      56:25 147:20               112:22 114:23         applicators (8)         assignment (1)
access (3)              agree (14)                 118:3,21 121:3,11     28:15 41:10,24 42:10    20:11
125:24 143:7,10         22:18,23 24:12 48:17       130:13 139:5,7          44:15 62:2,5 142:5    associated (2)
account (2)                74:25 75:2 90:17      analyzing (2)           applied (3)             73:16 75:5
22:10 104:5                100:4,12,23 105:17    119:20 129:17           14:5 99:9 141:23        association (33)
accuracy (1)               105:22 107:16         and/or (1)              applies (1)             7:22 27:24 30:2,14,24
108:4                      146:19                47:19                   136:24                    32:1 34:10,18,20,23
accurate (8)            agricultural (13)        Andreotti (2)           apply (6)                 35:3,6,9 36:12,17
28:22 29:16 30:12       8:22 9:11 13:22 22:7     5:5 134:1               16:9 60:3 88:25 89:20     36:21 37:3 38:20,21
  46:5 51:13 58:21         79:1,21 93:13,15,17   Andrew (2)                133:3 141:17            39:2 53:17 71:23,25
  121:3 146:18             96:13 100:17          3:22 7:17               applying (1)              73:21 105:15
accurately (2)             128:24 144:24         ANDRUS (1)              24:3                      108:18 110:22
28:5 51:15              agriculture (2)          3:2                     appropriate (2)           113:3,3 114:11
Acquavella (1)          21:23 126:12             Angeles (2)             19:18 83:17               115:8 117:8 137:19
144:20                  AHS (29)                 3:11 7:1                appropriateness (1)     associations (3)
action (1)              5:3 9:19 11:18 16:24     answer (58)             25:17                   28:16 29:25 80:4
149:13                     18:6,7 19:16 20:23    18:13 19:17 20:14,18    approximately (1)       assume (1)
ACTIONS (1)                21:1 22:19,23 23:7      20:22 21:15,16        7:15                    17:10
1:7                        30:6 85:22 91:3,16      22:14,15 51:25        argument (1)            assuming (1)
actual (5)                 94:17 95:4,17,18        58:16 59:7 63:15      137:11                  118:24
18:8 91:13 100:2           97:3 124:3 126:3        64:11 65:12 69:7      ARISTEI (1)             ate (1)
  103:17 106:11            141:12 144:6,12         82:20 83:9 88:14      3:8                     132:25
acute (3)                  145:2 146:9,23          90:2,18 94:11 96:21   article (4)             attached (2)
82:4,22 147:19          al (3)                     98:13,21 99:16,18     27:7 105:10 144:14      85:2,4
added (3)               93:12,14,16                101:13,19 102:2,20      147:23                attempt (3)
12:21,21 52:11          Alaska (1)                 104:17 105:5,21       articles (2)            45:23 46:22 48:3
additional (7)          3:4                        109:7 111:2,12        27:15 99:14             attempts (1)
9:24 10:15,25 11:2      algorithm (2)              112:14 113:8          aside (1)               50:25
  29:10 140:7 146:16    92:17 93:1                 114:14 115:12,14      119:10                  attenuate (1)
address (20)            allow (2)                  116:4 117:12          asked (40)              54:21
7:13 23:10 25:21        68:2 138:22                119:11,16 120:7,9     10:11 16:3 45:10,14     Attorneys (4)
  43:15,18,24 44:12     allowed (1)                120:19 121:8 122:2      52:9,14 59:6 65:11    3:2,3,9,15
  44:16 48:3 50:20,22   90:12                      125:20 127:4            67:18 72:8 73:20      author (1)


                                     TSG Reporting - Worldwide      877-702-9580
          Case 3:16-md-02741-VC Document 1137-4 Filed 02/16/18 Page 42 of 58


                                                                                                            Page 2

  27:23                   78:23                Boulevard (1)             96:8                    chairman (1)
authors (7)             better (14)            3:10                     carcinogen (2)            143:8
27:9 28:12 29:4,24      69:8 71:7 72:5 74:2    break (5)                 70:17,18                chance (4)
  44:15 99:6 144:5        74:17 75:3,15 92:9   35:16 37:24 40:6 68:5    careers (1)               37:22 39:3,5 101:17
Avenue (1)                92:13 129:22,25        140:24                  69:10                   chances (1)
7:20                      130:2,3 146:4        breakdown (4)            carefully (5)             71:24
average (1)             beyond (4)             32:9 33:23,24 34:13       27:14 32:20 116:7,8     change (4)
89:4                    18:4 83:5 137:18       breaking (2)                128:10                 12:7 14:1 48:9 124:10
aware (2)                 138:3                35:14 38:1               case (16)                changed (1)
23:22 144:10            bias (20)              breast (1)                1:6 7:11 10:9 13:20      11:17
                        15:14,20 16:2,15       147:18                      15:20 16:10 61:20     changes (2)
           B              53:24,25 54:21       Brier (1)                   61:24 71:8,12 86:7     64:19 125:3
B (1)                     55:16 107:10         106:25                      86:11 98:25 107:9     changing (1)
4:8                       119:19 120:4 123:1   broke (3)                   143:14 150:1           136:19
B-cell (4)                129:17,19 131:3      35:19 36:1,3             case-control (4)         charge (1)
34:17,22 77:17,21         132:11 136:23        built (2)                 88:25 89:21 126:6        70:6
back (12)                 137:15,21 138:4      13:3 58:9                   146:25                chart (2)
19:19 22:21 40:13       biased (3)             bunch (2)                cases (22)                80:7 83:24
  42:24 68:16 88:13     105:14 124:4 134:18    31:8 54:4                 12:21 14:16 29:12       charts (1)
  109:14 116:6,7,19     biases (4)             busy (1)                    37:9,14 46:19 61:23    77:11
  117:24 141:6          43:2 54:12,13 124:17   26:23                       61:25 62:24 64:13     checked (1)
badger (1)              big (3)                                            65:18,23 75:5,12,17    91:20
101:4                   98:4 115:18,24                    C                75:17,20 80:25        checking (1)
badgering (2)           biggest (1)            C (3)                       138:21 139:2,18        108:11
102:18 115:13           130:20                  3:1 149:1,1                143:16                checks (1)
balance (2)             Biomarkers (1)         calculated (1)           categories (3)            108:17
62:3 63:3               26:17                   106:10                   81:11 86:11 135:8       chemical (3)
balanced (1)            biometric (1)          calculations (3)         causation (5)             69:10 75:6 97:19
62:6                    91:13                   91:12 92:15 118:25       4:23 5:10 9:9,22        chemicals (1)
based (6)               biometrics (1)         California (8)              80:13                  71:6
11:17 16:4 71:4 83:17   91:20                   1:2,17 2:12,13 3:11     cause (7)                chemotherapy (3)
  83:20 90:22           biomonitoring (2)         7:11,14 149:2          11:16,23 12:2,11         147:14,14,15
basic (2)               92:16 144:22           call (6)                    31:14 135:25          Children's (1)
108:23 124:5            biostatistician (2)     13:15 25:5,23 37:12        147:11                 104:13
basically (4)           60:23 61:3                43:1 133:6            caused (2)               choose (1)
12:19,24 44:17 127:8    biostatistics (1)      called (2)                40:22 125:3              59:3
basis (3)               63:7                    8:14 47:20              causes (7)               chronic (2)
70:22 71:12 90:15       biostats (1)           Calls (1)                 9:10 31:6 78:4,5,13      34:18 77:19
bathroom (1)            63:6                    58:13                      83:3,14               circumstances (1)
68:5                    bit (3)                cancel (1)               cavity (2)                130:15
BAUM (1)                12:22 31:9,10           54:7                     32:9 135:22             cite (2)
3:8                     bladder (4)            cancer (28)              center (1)                121:21,22
began (1)               32:11 93:14 94:5,23     10:1,17 11:22 15:4       143:9                   cited (5)
75:19                   Blair (1)                 20:12 25:13,17 26:6   certain (2)               94:1,4 99:15 101:16
beginning (2)           144:21                    26:16 28:14,17 29:9    57:5 69:9                  103:5
77:25 117:23            blanks (1)                29:12 31:14 93:12     certainly (4)            City (1)
behalf (2)              97:16                     93:14,17,25 94:5,7     11:21 14:5 42:17         143:9
4:24 5:11               blood (1)                 94:23 95:3,10            98:16                 claim (7)
believe (11)            149:14                    101:10 135:25         certainty (2)             15:14,17 69:22 78:3,7
15:9 46:9 68:20 83:2    body (1)                  143:9 147:18,19        140:3,9                    78:13 87:9
  101:8,23 112:7        128:23                 cancers (13)             Certified (1)            clarify (1)
  115:15 129:4          Bonner (4)              28:18 30:20,21,23        149:6                    150:4
  135:16 137:8          5:12 93:11 94:13          32:2,8 33:11,15       certify (2)              classification (5)
best (8)                  101:11                  73:16,24 113:18        149:7,12                 53:2 54:19 66:19,20
38:7 47:21 51:18        bottom (1)                135:21 136:10         cetera (2)                  134:18
  61:13 63:3 75:6,7     43:11                  capture (1)               14:18 135:23            classified (1)


                                    TSG Reporting - Worldwide      877-702-9580
           Case 3:16-md-02741-VC Document 1137-4 Filed 02/16/18 Page 43 of 58


                                                                                                              Page 3

   46:20                 commonly (2)             150:4                      35:10 36:4,8,9,14     critically (1)
cleanest (1)              26:8 128:8             consider (4)                36:20 39:9,15 41:12    27:2
 62:11                   comparative (1)          15:3 23:4 40:20 85:22      41:25 43:7,24 46:8    criticism (8)
cleanly (1)               64:14                  considered (2)              47:8,9,14 48:15        21:6,9 43:22 46:15
 24:23                   compare (2)              10:16 20:13                49:6,17 58:15 66:24      68:18 90:22 104:10
clear (3)                 14:7 61:14             considering (2)             67:10,16 68:24 70:3      121:3
 33:9 116:25 128:1       compared (7)             17:23,24                   72:16,21 73:8 78:6    criticisms (5)
close (5)                 23:16 29:5,12 98:6     consistency (1)             79:7 80:6,13,21        31:20 48:4 50:21
 32:24 63:11 106:22        103:20 122:19          53:16                      81:20,21 83:15,18        89:18 92:22
   106:23 126:22           145:22                consistent (1)              83:21 84:1,10 86:14   criticized (1)
closer (2)               comparing (3)            30:3                       89:22 90:24 91:4,14    88:4
 55:6 139:14              36:23 118:21 139:17    consistently (4)            91:23 92:4,10 93:18   critique (1)
CLR (4)                  comparison (3)           31:10 56:19 136:14         95:20 100:25 103:6     123:18
 1:23 2:13 149:4,22       29:16 123:6 136:5         138:9                    103:9 106:12          critiques (1)
clustered (3)            compensate (1)          constructed (1)             108:14,20,22 110:7     43:24
 136:2,11 139:14          52:4                    125:9                      110:8,24 111:3,15     crop (1)
clustering (1)           complete (14)           context (1)                 112:23 113:5,9         58:25
 140:18                   47:25 85:23 107:8,11    80:16                      115:9,25 117:9        crops (6)
coffee (1)                 107:24 111:8 112:3    continue (2)                118:2 120:20 124:6     56:4,10,17 57:5,19,21
 68:8                      112:5 117:18 118:5     56:23 58:10                126:17 128:5 129:6    cross-talk (1)
cohort (22)                143:15 146:17         continued (2)               130:6,23 131:9,15      78:9
 13:21 15:22 16:10         148:4,4                49:20 96:7                 134:8,15,16,23        CRR (4)
   27:24 29:7 48:21      completed (2)           continues (2)               135:1 141:24           1:23 2:13 149:4,22
   52:1 69:8,15,17,19     41:11 111:11            40:12 68:14                142:22 144:2,8        crude (1)
   71:5,15,19 72:5       completely (1)          continuing (1)              145:5,24 146:6         37:14
   86:7 88:24 92:6        18:4                    141:5                      150:5                 CSR (4)
   96:9 100:14,16,20     complicated (2)         contract (2)             corrected (2)             1:23 2:13 149:4,22
collaborated (1)          27:6 58:19              69:5 131:13              10:11 134:21            cup (1)
 143:21                  complicates (1)         contracting (1)          correcting (1)            68:8
collect (1)               46:21                   133:11                   138:4                   cut (1)
 144:1                   composed (1)            control (14)             correctly (4)             52:2
collection (1)            140:5                   13:20 15:21 16:10        28:3 30:8 44:23
 124:5                   compounds (1)              61:20,24 86:11           132:14                          D
colon (2)                 146:23                    112:9 135:11          correlated (2)           D (5)
 32:9 135:22             concern (3)                138:20,25 139:15       131:11 133:10           4:1,12,17,19 5:8
Colorado (1)              15:20,21 49:18            139:17 140:5          correlation (2)          D.C (1)
 3:5                     concluded (1)              143:14                 92:20,21                3:17
column (8)                27:23                  controls (9)             correlations (1)         data (115)
 29:3,23 84:8 94:14      conclusion (5)           61:23,24 63:22 65:19     92:16                   9:11,18,19,24,24
   95:6 104:2 109:13      11:15 12:18 14:11         65:20,22 139:8,18     counsel (6)                20:24 22:8,12 23:5
   109:21                  38:11 132:16             143:16                 7:24 18:14,19 19:7,23     23:7 30:19 35:19
columns (1)              conclusions (4)         conviction (1)              37:21                   36:1,2,6,14,21 37:2
 85:14                    14:22 27:22 37:20       12:9                    count (1)                  37:16,18 38:9 41:17
come (2)                   122:22                copies (2)                14:6                      42:3,13,17,22,23
 42:24 139:13            condition (1)            10:25,25                country (1)                44:25 48:5 49:15
comment (5)               16:5                   copy (1)                  56:10                     51:4,12,25 52:3,7
 13:7 29:5 35:18 99:20   conducted (1)            11:2                    course (3)                 52:16,21 53:16,17
   104:24                 109:25                 correct (125)             13:5 27:10 31:21          75:22 78:17 79:23
commented (1)            confidence (11)          9:13,15,23 10:23        court (5)                  80:7 83:6,8,13,17
 21:12                    31:12,23 33:4,17          11:19 13:5 14:9,12     1:1 7:9,10,21 8:10        83:20 85:15,22 86:6
comments (1)               39:12 40:3 92:14         14:18 16:7 21:7       Courtyard (2)              91:13 92:9,13 93:13
 27:8                      98:24 99:2 110:19        22:4 29:18 30:14,21    2:10 7:13                 96:16,17 97:15,16
Commission (1)             124:21                   30:25 32:3,18 33:6    create (1)                 99:25 100:1,2,13,25
 148:20                  confirms (1)               33:12,18,25 34:11      143:18                    102:7 103:21 104:5
common (3)                118:24                    34:12,15,20,21,23     critical (2)               105:10,13 107:11
 100:14,18 105:10        conform (1)                34:25 35:3,4,6,7,9     27:8 96:9                 107:13,17,24


                                      TSG Reporting - Worldwide      877-702-9580
          Case 3:16-md-02741-VC Document 1137-4 Filed 02/16/18 Page 44 of 58


                                                                                                          Page 4

  108:11,23 110:10      degree (3)              detected (1)            53:10 62:24 63:21      drift (2)
  110:12 111:7          14:2 140:3,8            126:15                    71:17 135:17         67:14,15
  114:17 118:4,13       demonstrate (5)         develop (7)             diseased (5)           Drive (3)
  119:2,6,20 120:3      47:20 65:6,6 75:13      125:22,24,25 145:10     64:13,15,21 65:18      2:11 3:4 7:14
  121:4,11 124:5          81:2                    145:14 147:8,16         135:12               drop (1)
  125:24 126:3,24       Dennis (11)             diets (1)               disk (6)               130:11
  127:22 128:17         1:16 2:9 4:3,12,16,19   132:25                  40:13 68:15 117:18     dropout (2)
  129:18,20 130:10        5:8 7:7 8:13 148:11   difference (7)            117:23 141:5 148:4   131:2,7
  130:13 132:3            150:3                 63:4 98:4 118:22,23     distant (1)            due (4)
  133:18,23 134:5,25    department (1)            122:16 139:10         95:25                  39:2,4 107:10 108:24
  136:10 140:7          143:8                     140:4                 distinct (1)           duly (2)
  142:21,23 143:15      depend (1)              differences (4)         44:13                  8:15 149:9
  143:18,23 144:1,3,6   70:15                   95:22 122:22 132:7      distinction (2)
  144:17 146:13,17      dependent (1)             133:4                 38:16,19                         E
database (2)            70:18                   different (28)          distribution (8)       E (6)
86:5 146:18             depending (1)           31:8 33:5 36:23 64:1    47:7 48:11 61:5,10      3:1,1 4:1,8 149:1,1
dataset (1)             94:9                      64:10,10 92:18,18       62:10,16 65:5,7      earlier (9)
124:3                   depends (2)               92:19 98:1,5 111:6    District (4)            38:7,16 40:19 68:19
DATE (1)                39:23 100:19              118:21 119:3,25       1:1,2 7:10,10             77:1 90:21 95:15
150:2                   DEPONENT (1)              120:1,6,13,24         divide (2)                112:1 135:20
day (3)                 150:3                     121:16 122:1 126:5    62:24 64:16            easier (2)
19:3 148:15 149:17      deposed (1)               131:24 132:3 134:6    divided (2)             58:22 59:9
days (8)                10:11                     136:16 138:21         61:15 64:20            easy (4)
59:18 86:22 87:3,5,10   deposition (28)           139:2                 dividing (3)            58:7,8,17,19
  87:18,19 142:6        1:15 2:9 4:11,16 7:7    differential (7)        17:17 62:13 65:1       edge (1)
De (15)                   7:12 8:20 9:6,17      16:4 66:15,19 126:25    division (2)            106:22
12:20 13:1,3,9 15:12      10:7,9,10 11:3          129:6 131:8 146:20    63:9,10                editor (1)
  22:8 29:6,17 40:23      72:20 73:19 74:8      difficult (2)           Doctor (1)              27:9
  42:18,18 73:7 75:23     76:6 90:5,6,7,9,11    27:6 81:1               141:10                 educated (2)
  139:3,4                 104:16 124:1 148:5    diffuse (2)             document (2)            60:6 132:22
dead (1)                  149:8,10 150:2        34:22 77:21             1:6 20:1               Educational (1)
86:4                    DeRoos (1)              digging (1)             doing (5)               104:12
deal (1)                9:12                    48:1                    56:18,23 57:3 129:18   effect (8)
101:16                  describe (4)            direction (7)             139:6                 37:13 47:20 54:22
dealing (1)             41:23 94:15 95:1        53:24 54:5,24,25 62:3   dose (6)                  55:14 57:4 70:13
100:25                    105:16                  62:7 137:20           65:1,6 80:19 81:3,4       72:14 131:18
debate (1)              described (3)           directions (1)            81:20                either (7)
19:11                   42:2 95:5 109:25        53:25                   dose-response (2)       53:17 57:11 58:17
decide (2)              describes (1)           disagree (3)            37:13 63:24               96:1 135:11 138:14
94:9,10                 28:5                    25:15 90:15,18          doses (1)                 138:20
decided (2)             description (1)         disappear (1)           147:21                 elevated (3)
57:19 129:20            28:22                   124:24                  doubling (1)            76:11 77:8 87:7
decrease (3)            design (2)              discard (1)             79:6                   eleven (1)
65:19,20 137:4          61:21 63:2              42:23                   Dr (7)                  29:9
decreased (2)           designed (5)            discontinued (3)        4:12,16,19 5:7 9:3     eliminated (1)
64:22 107:12            51:5 60:7 71:20         50:12,14 96:1             40:16 90:4            109:3
decreases (1)             127:14,18             discuss (5)             draft (1)              Elyse (2)
54:10                   detail (1)              43:11 50:21 119:7       9:18                    3:19 8:7
decreasing (1)          24:25                     144:11,22             dramatic (1)           engaged (1)
65:17                   details (6)             discussed (8)           46:18                   143:20
Defendant (1)           86:19 87:15,25 88:1     9:19 46:14 72:19        dramatically (4)       enrolled (2)
3:15                      89:16 132:20            90:21 95:19 129:4     57:1 96:5,7 97:20       41:10 107:9
defined (1)             detect (8)                145:3 147:22          drank (1)              enrollment (13)
71:25                   54:11 63:4 64:18        discussion (3)          132:25                  42:12 43:20 45:19
definition (1)            65:21 66:23 70:13     28:10,11 107:4          draw (3)                  46:21 96:6 97:22
138:5                     72:13 73:15           disease (5)             14:22 37:19 38:10         110:5,17 114:19


                                     TSG Reporting - Worldwide     877-702-9580
           Case 3:16-md-02741-VC Document 1137-4 Filed 02/16/18 Page 45 of 58


                                                                                                              Page 5

   124:11,12 146:12       102:4 111:6             explain (1)              fact-checked (1)        find (9)
   146:14                evaluated (1)             12:17                    91:12                   67:4,12,22,23 71:22
entirely (3)              71:6                    explained (1)            factor (2)                 77:8 79:6 122:25
 70:16 100:19 109:3      evaluation (3)            140:17                   14:13 144:25              132:10
enumerate (1)             13:4 28:13 138:22       explanation (4)          factors (1)             finding (4)
 40:24                   evenly (1)                138:10,18,20 140:11      133:10                  13:17 28:23 32:8
Environmental (1)         61:15                   exposed (19)             facts (1)                  54:11
 102:13                  evidence (16)             14:16 35:13 47:7         150:4                  findings (8)
epidemiologic (4)         12:1 13:19 14:24 51:9     48:12 61:10 62:5,13    fail (1)                 12:19,24 25:6 28:6
 13:19 14:17 16:21          121:19 123:1 125:5      63:9,25 65:2 69:4,9     65:6                      30:19 78:4 123:23
   136:23                   125:15,23,25,25         88:8 110:18 131:12     failing (1)                124:18
epidemiological (5)         126:23 132:10           133:11 139:5,6,7        41:24                  finds (1)
 20:11 100:24 105:11        133:9 147:9,13        exposure (83)            fair (8)                 31:8
   145:22 146:5          exactly (2)               20:6,10,12 30:3 31:6     14:11 15:2,8,22 51:5   fine (4)
epidemiologically (1)     135:23 143:6              33:5 46:23 47:19,22       74:20 102:18          19:20 68:9 85:15 97:4
 16:18                   EXAMINATION (4)            48:8,10,14,19,20          139:19               finish (2)
epidemiologist (2)        4:2 9:1 141:8 147:5       53:1,9,18 54:19        false (2)                37:24 100:6
 60:22 61:2              examined (4)               55:10 68:21 69:11       63:8 65:9              finished (2)
epidemiologists (2)       8:15 32:2,3 98:11         69:13,15 70:11,24      far (5)                  66:3 96:21
 98:20 143:21            example (7)                71:10,21,22 76:16       46:5 48:13 115:1       first (49)
epidemiology (14)         50:3 51:18 55:20          76:21,24,25 77:2,7        119:8 123:18          11:15 28:10 29:3,23
 21:22 26:14,17,18,20       59:10 61:20 106:15      79:5,20 86:10,11,13    farm (2)                   39:8 40:24 41:1,4,6
   26:25 31:5,24 38:25      126:2                   87:3,6,11,17,18,19      49:20 142:7               42:18 43:1,4,12,16
   61:13 70:2 91:17      excluded (1)               88:2,5 89:4,19         farmed (1)                 45:11,21 46:15 47:4
   102:11,12              30:6                      91:12 92:24 94:24       57:4                      49:19 50:3,16 59:11
equal (2)                exhibit (32)               108:24 110:5,16        farmer (2)                 69:3 73:10 84:4
 64:12 65:7               4:10,14,18 5:2,5,6,7      111:7 113:13,24         57:7,8                    94:25 95:6 97:23
equals (2)                  5:12,13,14,15,16,17     114:3,18 120:11        farmers (3)                104:2,3 105:9
 29:12,13                   10:8,9,19 11:12         124:14,16 125:10        56:17,22 57:1             109:13,21,21,24
Eriksson (5)                18:23 19:3 27:19        126:10,16 127:7,15     farming (13)               110:4,6,9,20 115:1
 75:18 86:21 87:2,10        40:17 72:25 73:1        127:21 128:1,3,12       45:1,16,18,25 48:6        117:1 119:6 120:16
   87:15                    85:4 93:7 95:8          131:14 134:7              49:16,21 51:11,14       121:2,5,10,10 139:4
error (8)                   103:1,4 122:5,9         144:19,23 145:1,17        55:25 57:9,25 58:2      147:24
 43:1 51:10,16 135:13       133:21 134:4            145:23 146:1,3,21      farther (1)             fits (1)
   138:23 140:7          Exhibits (2)               147:11                  67:7                    46:15
   146:20 150:5           93:10 101:11            exposures (9)            fatal (2)               five (9)
errors (11)              exist (2)                 23:15 46:11 71:24,24     96:12 100:8             48:13,25 52:13 68:5
 40:20 43:2 50:1 53:1     15:10 129:4               72:1,1 73:24 91:14     feel (1)                   69:14 80:4 85:12
   53:8,11 54:18 66:8    expanded (1)               113:16                  45:24                     117:11 139:19
   66:15 106:10 129:2     29:8                    extent (2)               field (1)               fix (1)
Esfandiary (5)           expands (1)               52:2 114:17              57:20                   45:23
 3:12 8:3,3 63:12 97:5    110:19                  extremely (1)            fifth (1)               flaw (6)
ESQ (4)                  expect (3)                100:14                   68:18                   15:15 43:4 44:21
 3:6,12,18,19             31:13,24 135:24                                  figure (3)                 45:21 49:15 100:8
essentially (1)          experience (1)                      F              33:14 106:16,17        flawed (4)
 108:17                   104:23                  F (1)                    figures (6)              108:23 119:2,6 132:1
estimate (5)             expert (17)               149:1                    48:9 106:11 114:11     flaws (23)
 39:8 40:2 55:17,18       5:7 10:14 11:11 13:5    facets (1)                  128:17 134:22         12:6 13:14 15:4,9
   81:7                     15:5 40:18 43:5        44:13                      140:4                   25:5,22 40:21,24
estimates (4)               45:8 69:21,22 72:22   fact (16)                fill (4)                   43:2,3 44:8 48:1
 31:23 39:7 105:15          72:23 83:12 91:8       31:25 48:4 55:5 61:19    50:15 51:19 97:16         49:1,5 96:13 114:22
   107:12                   103:5 139:21,22         62:23 65:22 76:16         127:19                  129:2 141:12,17,23
et (5)                   expertise (1)              92:15 95:16 120:12     filled (1)                 144:12 145:2
 14:18 93:12,14,16        104:23                    131:22 135:6 138:8      42:11                     146:23
   135:23                expires (1)                138:11 139:8           final (1)               focus (1)
evaluate (2)              148:20                    144:16                  86:6                    126:20


                                      TSG Reporting - Worldwide       877-702-9580
           Case 3:16-md-02741-VC Document 1137-4 Filed 02/16/18 Page 46 of 58


                                                                                                             Page 6

focuses (1)                71:1 72:7,15 74:6        81:9,15 82:21 83:4     30:4 67:16 147:5,25      56:9,18 57:8,9,10
 69:24                     74:12,22 76:4 77:5       83:19 84:2 85:24        149:12                  57:24 58:1,9,11,23
focusing (2)               78:15 79:8,12,16         86:15,23 87:1,13      future (2)                58:24,24 59:12,14
 82:9 129:15               80:14,22 81:9,15         88:9,21 89:7,23        113:18 123:15            61:8 62:2 68:22
folks (1)                  82:18 83:4,19 84:2       90:16,25 91:22 92:3                             69:2,4 70:23 71:14
 139:9                     84:20 85:3,17,24         92:11 97:6,11                    G              72:11 73:17 78:4,8
follicular (2)             86:15,23 87:1,13         100:15 101:1,12       gap (3)                   78:13 79:5 83:2,14
 35:5 39:7                 88:9,21 89:7,9,23        102:15 103:10         50:15 59:21 111:25        88:7 89:10,12 90:14
follow (4)                 90:16,25 91:22 92:3      104:15 106:13         gaps (2)                  91:18 95:23 96:4,19
 51:18 75:9 78:20 86:2     92:11 93:23 94:18        108:6,13,21 110:25    112:9 127:19              96:25 97:1,9,17
follow-up (50)             95:7,11 96:20 97:11      111:18 112:12         gather (3)                98:6,11 99:1,11,20
 12:22 13:10 14:16         98:12 99:12 100:6        113:20 114:8          52:3 100:13 144:17        100:10 101:8,22,23
   24:25 29:10 41:9        100:15 101:1,3,12        115:11,20 116:2,12    gathered (4)              102:4,24 106:9
   43:8,16,22 45:1,11      101:25 102:15            117:10 118:19         103:21 133:18 143:15      107:20 108:19
   46:1 47:17,19 48:21     103:10 104:15            123:2,12 124:7          146:13                  110:23 113:4 115:8
   52:9 68:23 69:12        105:3,19 106:3,13        125:6 126:8,18        gathering (2)             117:8 124:1,10
   72:18,19 73:13          107:18 108:6,13,21       127:2 128:6,19        99:25 100:2               125:3 126:17,20,24
   75:23,25 76:11,15       109:5,14,17 110:25       129:7,23 130:7,24     general (29)              130:14,22 131:13
   78:1,18 79:2,21         111:18 112:12            131:16 132:17         4:23 5:10 23:1 26:19      131:14 133:11
   80:1 85:21 88:18        113:6,20 114:8,12        134:10,24 137:2,22      31:17,19,21 38:19       135:17 137:8
   89:20 90:23 96:11       115:10,20 116:2,12       138:6                   54:12 55:14 56:22       138:12
   96:14,15 97:23          116:22 117:10         formed (1)                 56:25 58:23 61:12     glyphosate-containi...
   111:9 113:12,15,23      118:19 119:14          9:8                       62:22 63:1 69:20      12:1,10
   118:10 122:24           120:22 121:6 123:2    formula (6)                71:18 72:3,4 77:6     glyphosate-exposed...
   132:9 142:5 144:17      123:12 124:7 125:6     58:9 60:4,5,8,18          93:24 95:15 97:15     29:11
   146:2,3,16              125:17 126:8,18          143:1                   99:22 107:19 124:3    glyphosate-resistan...
follows (1)                127:2,17 128:6,19     formulations (1)           124:20 126:4          56:4,12
 8:16                      129:7,23 130:7,24      92:19                   generally (7)           go (9)
force (1)                  131:16 132:12,17      forth (1)                15:21 31:4 71:20        40:17 41:23 44:6 86:8
 89:21                     133:13 134:10,24       149:9                     107:7 122:24 132:9      88:13 116:6,7,19
Forgie (213)               136:7 137:2,22        forward (1)                147:19                  146:15
 3:6 4:5 8:1,1,18 9:14     138:6 139:24           146:15                  generate (1)            goalpost (1)
   10:22,24 11:4,7         140:15,23 141:9       found (6)                60:17                   76:2
   12:13 13:12 14:19       145:8 147:2 148:1      16:24 30:13,23 55:4     generic (1)             goes (4)
   15:16,23 16:12,19     form (139)                 57:2 130:5            70:20                   44:11 81:19 115:2
   17:2 18:3,16,21        12:13 13:12 14:19      four (15)                Gibbons (1)               119:8
   19:5,8,13,20 20:14      15:16,23 16:12,19      29:11 35:15,20 48:9     134:13                  going (32)
   20:18,25 21:15          17:2 22:25 23:20         52:14 62:4,4,13       give (11)               10:2 18:3,13,18 19:10
   22:14,20,25 23:20       24:9,16,21 25:19         63:9,25 64:17,21      11:25 12:3,7,16,25        19:12,17 20:21
   24:9,16,21 25:19        28:7,24 29:19 30:9       65:4 115:11 134:6       13:8 40:22 41:2         22:15 27:21 40:8,13
   28:7,24 29:19 30:9      30:15 31:1,16 32:4    fourfold (1)               51:19 62:10 83:12       53:25 62:3 64:17
   30:15 31:1,16 32:4      33:19 34:24 35:21      37:7                    given (2)                 68:10 74:7 79:5,22
   32:12,15 33:19 34:1     36:15 37:17 38:12     Framingham (2)           15:10 149:11              83:12 93:2,23 96:17
   34:6,24 35:21 36:10     39:22 41:19 43:25      104:8,14                gives (4)                 101:13 104:17
   36:15 37:17,21 38:6     45:3 46:2,16 48:16    free (1)                 92:9,12,13 124:19         117:18,24 123:14
   38:12 39:21 40:7        49:3,7,24 50:24        27:11                   giving (3)                138:2 140:25 141:6
   41:19 43:25 45:3        51:6,22 53:6,20       frequency (1)            139:20 145:20,20          148:2
   46:2,16 48:16 49:3      54:8 55:21 56:20       48:10                   glyphosate (108)        GOLDMAN (1)
   49:7,24 50:24 51:6      57:12 58:3,12 59:5    front (2)                9:10 11:16 17:13,18     3:8
   51:22 53:6,20 54:8      60:11,19 61:18         10:15 88:10               20:3,17 21:10,24      good (8)
   55:21 56:20 57:12       62:18,21 63:13 64:8   full (5)                   22:10 23:12 25:8      7:4 9:3,4 38:1 52:7
   58:3,12 59:5 60:11      65:10 66:16 67:8,17    29:3,23 47:4 94:14        27:25 28:13,16 29:8     92:20 133:1 139:1
   60:19 61:18 62:18       70:4,14 71:1 72:7        109:21                  29:25 46:9 47:6,16    gotten (1)
   62:21 64:2,8 65:10      72:15 74:6,12,22      full-time (1)              48:8,11 49:19,20,22   144:6
   66:3,10,16,25 67:8      76:4 77:5 78:15        27:13                     50:5,7,8,12,13,14     Gray (1)
   67:17 68:7 70:4,14      79:8,12 80:14,22      further (5)                53:14,15,18 56:3,7    144:15


                                      TSG Reporting - Worldwide      877-702-9580
          Case 3:16-md-02741-VC Document 1137-4 Filed 02/16/18 Page 47 of 58


                                                                                                            Page 7

greater (9)               131:6 132:6,15        37:19 58:18 135:14      Hope (1)                    99:8 100:23 101:22
39:18 40:2 65:15          133:8,19 134:11       head (3)                143:9                       103:9,17,20 104:4
  86:21 87:5,10,12        135:19 136:22         26:12 88:13 89:17       hours (3)                   104:24 105:16,23
  89:5,21                 137:13 138:1,15       headquartered (1)       8:24 27:5,5                 107:6,16,22 108:5
Griffis (220)             140:1,22 145:6        7:19                    huge (1)                    108:10,12 109:3
3:18 4:4 8:5,5 9:2,16     147:1,6,25            health (19)             57:4                        110:21 111:17,20
  11:1,10 12:15 14:3    group (36)              8:23 9:12 13:22 21:23   Huntington (2)              111:23 112:2,5,7,22
  15:1,19 16:1,14,22    22:18 33:3 35:13          22:8 23:15 79:1,22    2:11 7:14                   114:25 115:1,2,7,16
  17:4 18:14,19 19:1      36:24 37:9 62:14,20     93:13,15,17 96:13     hurt (1)                    115:19,22,25 116:9
  19:7,10,19,22 20:15     63:10,21,25 64:16       100:17 102:13         65:23                       116:16 117:3,6
  20:23 21:5,18 22:17     64:21 65:2,3,3,8,18     104:13 126:12         hypothesis (3)              118:17,25 119:5,7,8
  22:22 23:3,21 24:11     77:15,16 81:6,8         128:24 132:24         125:2,14 126:24             119:10,13 120:14
  24:19,22 26:4 28:9      120:13 131:22,24        144:24                hypothesized (1)            124:4 127:14,23
  29:1,21 30:11,17        132:2,4,20 135:11     Heart (2)               128:4                       129:20 130:13
  31:3,18 32:6,14,16      135:12 138:20,25      104:8,14                                            132:1 133:6 143:1,6
  33:21 34:3,9 35:1       139:1,16,17 140:5,5   HEDLUND (1)                         I               143:11,17,18,24
  35:24 36:11,18 38:4   grouping (1)            3:8                     i.e (4)                     144:2 146:19
  38:8,15 40:1,6,15     30:7                    held (2)                 9:9 34:10 108:18        impute (8)
  41:20 44:4 45:6       groups (17)             2:10 7:12                  135:25                 46:22 52:20 58:8
  46:3 47:1 48:24       17:14 35:15,17,20       helpful (1)             IARC (8)                    60:25 96:4 110:12
  49:4,10 50:19 51:2      36:23 37:15 61:14     27:8                     16:24 17:10 18:12          111:24 132:3
  51:8 52:18 53:12        61:15 62:14 63:9,25   helps (1)                  21:11 22:7,23 24:7    imputed (6)
  54:2,14 55:24 57:6      64:15,22 65:2,4,16    65:23                      24:13                  106:11 111:7 113:16
  57:15 58:6,14 59:24     122:20                Heltshe (7)             IARC's (1)                  113:22 118:4,13
  60:13 61:1 62:8,19    guess (19)              5:15 91:7 103:4 106:2    21:22                   include (4)
  63:5,18 64:5,24       32:22 44:18 45:12         106:8 107:5 130:4     ideally (1)               66:14 112:2 115:16
  66:1,5,11,12,21         46:22 50:17,18 54:1   herbicide (1)            86:1                       116:9
  67:3,9 68:4,9,17        59:23 60:3,6 63:15    59:2                    identification (6)       included (4)
  70:9,21 71:11 72:9      92:14 96:17 120:8     hereinbefore (1)         10:21 18:24 73:2 93:8    9:20 45:19 115:21
  72:17 73:3 74:10,15     120:11 131:21         149:9                      103:2 122:7              116:16
  74:24 76:18 77:10       138:24,24 139:12      hereunto (1)            identified (6)           including (9)
  78:11 79:3,10 80:2    Guessing (1)            149:16                   15:3 41:5 43:4 44:22     16:25 17:20 20:17
  80:18 81:5,12,17      99:25                   high (9)                   48:1 68:19               21:23 22:8 28:2,18
  83:1,11,22 84:6,23    guidance (1)            43:6 47:5,5 48:10       ignoring (2)                104:7 105:13
  85:9,19 86:9,20,24    41:2                      72:1 124:23 139:5,7    105:12 107:17           Incorporated (1)
  87:8,22 88:16 89:2                              147:20                III (1)                   7:19
  89:11 90:3,20 91:2             H              high-dose (2)            104:11                  incorporates (1)
  91:24 92:7 93:4,9     H (1)                   147:14,15               impact (1)                126:25
  94:12,21 95:9,14      4:8                     higher (3)               111:7                   increase (19)
  96:23 97:7,24 98:7    habits (1)              36:25 81:7 136:1        implications (1)          37:7 46:8,18 51:20
  99:3 100:3,11,22      132:24                  higher-exposed (2)       105:12                     56:3 57:1,2 64:18
  101:7,20 102:9        half (1)                65:3 77:16              important (2)               67:11,12,15 68:1
  103:3,12 104:21       71:9                    highest (2)              14:13 18:22                73:15 75:17 77:20
  105:8 106:1,7,14      halfway (1)             110:17 134:8            impossible (1)              77:22,24 96:7 137:6
  108:1,8,15 109:2,12   104:3                   highly (8)               96:8                    increased (13)
  109:16,20 111:4,19    halves (1)              16:24 22:19,24 24:14    improve (1)               37:10,10 67:5 75:14
  112:16 113:10         36:3                      24:20 70:18 102:7      65:16                      75:20 77:15,25
  114:2,9,24 115:17     hand (1)                  130:16                imputation (92)             78:19,22 80:9,12
  115:23 116:10,17      149:17                  Hodgkin (2)              16:25 21:7,7,9,12          87:20 96:5
  116:24 117:5,15       happen (3)              33:22 34:7                 23:24 24:8 43:13,14   increases (2)
  118:7 119:4 120:15    41:8 54:10 55:23        holidays (1)               43:23 44:11,17         67:13 79:23
  121:1,13 122:3,8,12   happened (1)            27:12                      45:23 46:14 48:3      increasing (4)
  123:4,17 125:1,13     98:5                    Hollingsworth (3)          50:18,20,22 51:4       79:25 97:19 136:24
  126:1,14,21 127:13    happens (3)             3:14 8:6,8                 59:22,25 60:2,8,17       136:25
  127:24 128:16         16:15 51:24 79:11       home (1)                   90:23 91:4 94:16      individual (1)
  129:1,11 130:1,17     hard (3)                85:1                       95:1,5,18 97:3 98:9    145:23


                                     TSG Reporting - Worldwide     877-702-9580
           Case 3:16-md-02741-VC Document 1137-4 Filed 02/16/18 Page 48 of 58


                                                                                                            Page 8

individually (1)         investigators (3)         32:19 39:19 44:10        75:7,7,10 90:13         150:21,22,24
 14:21                    91:3,11 115:5            48:18 50:7,9,13          147:21               linked (2)
individuals (2)          involved (5)              51:17 52:22 56:8,8    latest (1)               30:5 53:8
 107:8,10                 70:1 101:9,24 142:17     57:14 58:4,17,20       113:13                 Lisa (5)
influenced (1)              143:14                 59:14,17,18,19,21     LAW (1)                  1:23 2:12 7:21 149:4
 127:20                  involving (1)             61:20 63:1,7,14        3:2                       149:22
information (13)          93:12                    65:8 66:13 71:3,8     lays (1)                list (6)
 10:13 25:3 42:21        issue (14)                78:25 80:17,24 83:9    24:24                   10:16 44:5,7 46:5
   43:19 45:15,17 96:9    41:7 47:15,23 61:5       87:23 88:6,13,17      lead (1)                   47:25 66:14
   110:16 113:13            66:17 100:14 114:1     89:3 90:1,18 93:5      12:6                   listed (3)
   127:19 128:23            114:4 126:10 127:9     96:5 98:15,23         Leading (2)              66:6 104:11 105:1
   131:3 142:12             127:11 139:15          101:20 102:3,5,17      145:6 147:1            listen (1)
informative (6)             140:20 144:23          104:19 106:24,24      least-exposed (1)        19:12
 16:25 22:19,24 24:20    issues (11)               108:2 109:9 112:13     81:6                   lists (2)
   25:2,23                12:5 13:14 25:4,22       116:5 119:23          leaves (2)               20:16 104:7
initial (6)                 50:21,23 60:24         121:14 125:9 127:6     112:22,24              literally (1)
 42:12 45:13,19 46:20       102:24 114:22          128:23 131:17,20      leaving (1)              27:5
   121:11 127:20            135:9,14               133:16 135:7           110:21                 literature (1)
Initiative (1)           item (1)                  138:19,23 142:14      left (7)                 27:3
 104:13                   84:4                     142:15,16,18,23        37:25 110:11 111:13    litigation (4)
Institute (7)                                      143:6,19 144:16          113:1 115:18,24       1:4 7:9 9:9 150:1
 10:2,18 11:22 15:4                 J              146:2                    139:20               little (3)
   25:13,17 26:6         January (6)             knowledge (1)           left-hand (2)            31:9,10 54:4
instruct (4)              1:18 2:5 7:1,15        71:15                    29:22 104:2            LLP (2)
 18:13 19:17 20:21          149:17 150:2         known (1)               legal (1)                8:6,8
   94:10                 job (2)                 105:13                   7:18                   locations (1)
intention (1)             1:25 27:13             knows (1)               length (1)               75:9
 64:25                   journal (7)             69:6                     14:16                  logistic (1)
interested (2)            10:1 12:5 25:12,16     Koutros (7)             let's (14)               94:16
 27:16 149:15               26:5 102:11,12       5:13,14 93:14,16         23:4 33:10 35:18       long (14)
interesting (2)          journals (5)              94:22 101:9,10           40:25 45:4 69:1       48:20 68:6 69:3,11,15
 76:9 139:9               26:14,15,19,20 99:6                               107:3 109:13            71:21 72:1 73:22
interim (2)              jury (1)                           L               114:25 117:1 119:5      74:18 75:8 76:15,19
 47:21 78:24              127:25                 labeled (1)                122:3 133:23,24         142:19 145:10
International (1)                                 7:5                    leukemia (5)            longer (17)
 102:11                            K             lack (8)                 34:20 77:19 82:4,23     48:22 69:7 71:7 72:5
interpret (1)            Kathryn (2)              30:2 43:15,19,22          147:19                  74:1,17 75:3,15
 80:16                   3:6 8:1                    44:14 53:16 115:8    leukemias (1)              78:18 79:2,15,21
interrupted (1)          keep (2)                   117:7                 33:12                     80:1 88:8,19 90:12
 78:10                   37:22 38:2              lag (7)                 level (1)                  146:3
interval (4)             kidney (1)               78:21 82:6,12 83:23     124:25                 look (25)
 31:12 39:13 40:4        32:11                      84:8,17 85:11        levels (2)               11:8 14:20 20:5 27:19
   110:19                kind (14)               lagged (1)               33:5 64:1                 32:19 64:25 72:24
intervals (3)            43:17,21 46:14 54:6      30:4                   liability (3)              75:18 76:9,17 77:14
 31:23 33:4,17             92:1,5,8 96:2,8       Lakewood (1)             1:4 7:8 150:1             77:18,21 86:16
interview (4)              98:24 106:21 120:3     3:5                    lifetime (3)               88:14 106:18 116:6
 122:24 123:7,10           124:24 147:22         lapse (1)                47:16 68:22 69:2          116:8,14 119:22
   132:9                 kinds (2)                89:4                   likelihood (3)             125:7 132:19
introduce (1)            60:14 133:4             large (7)                39:2 51:20 128:11         133:20,23 136:9
 7:24                    Kirby (2)                27:23 28:14 31:24      limited (3)             looked (8)
introduced (2)           3:18 8:5                   34:22 77:21 104:6     8:22,24 111:9           24:7 39:11 87:3,16,17
 51:10 131:4             know (90)                  143:9                limiting (1)               102:16 110:10
introduction (3)         11:5 13:18 16:23 17:8   larger (1)               107:23                    122:15
 56:4,16 104:1             17:12,20,22 21:11      13:10                  Line (14)               looking (13)
investigates (1)           21:13 23:6 24:6,24    latency (9)              6:2 150:6,7,9,10,12     16:6 33:3 39:6 84:13
 31:5                      25:1,25 26:1,2         47:15,23 48:14 68:21      150:13,15,16,18,19      85:6 95:24 106:15


                                      TSG Reporting - Worldwide     877-702-9580
           Case 3:16-md-02741-VC Document 1137-4 Filed 02/16/18 Page 49 of 58


                                                                                                            Page 9

   106:17,20,23            113:4 115:9 130:23    MD (1)                  metrics (2)              monographs (1)
   108:12 113:18           131:14 133:12,25      8:13                    30:3 59:20               22:11
   128:4                   134:21 136:12         MDL (1)                 middle (7)               Monrovia (3)
looks (3)                  137:9 138:13          1:5                     73:12 94:14 96:6         1:17 2:12 7:14
 13:18 31:7 36:22          140:12 145:11,15      mean (11)                 97:21 106:9,22,23      Monsanto (3)
loop (1)                   147:8,12,16           17:8 24:15 25:24        mind (1)                 3:15 8:6,8
 126:22                  lymphomas (2)             38:25 53:5 60:15      49:11                    Montgomery (10)
Los (2)                   33:12 77:23              61:6 66:14 79:4       mine (1)                 5:16 121:20,23 122:4
 3:11 7:1                                          87:10,11              90:19                      122:10,13,15
loss (1)                           M             meaning (1)             minimum (3)                123:22,24 132:7
 105:13                  M.D (7)                 56:13                   75:11,16 78:1            morning (3)
lot (9)                  1:16 2:10 4:3,20 5:9    meaningful (1)          minute (1)               7:4 9:3,4
 26:22,24 27:1,10          148:11 150:3          73:15                   60:1                     Moskowitz (5)
   51:16 52:11 76:23     M1 (2)                  means (8)               minutes (2)              1:23 2:12 7:22 149:4
   77:2 99:1             36:25 37:6              39:18,19 52:6 53:8,19   68:6 139:20                149:22
lots (2)                 M2 (2)                    53:22,23 71:9         mischaracterizes (8)     most-exposed (1)
 56:17 61:8              36:24 37:9              measure (2)             79:9,13 89:24 119:15     81:7
low (5)                  major (4)               36:19 39:1                124:8 125:18 129:8     move (1)
 41:9 45:22 48:2 139:5   56:2 104:25 114:22      measured (2)              136:8                  137:17
   140:19                  126:12                55:4 128:14             misclassification (31)   moving (1)
lower (14)               making (1)              measuring (1)           46:10 55:11,15 92:25     76:2
 55:11,19 86:13          71:18                   73:25                     93:2 108:24 113:25     multiple (24)
   106:21 135:3,8,16     malathion (12)          media (1)                 114:4 124:14,16,25     13:20,23 20:16 22:9
   136:2,13,14 137:23    5:6 17:5,9,11,20 18:1   7:5                       125:4,11 126:11,16       23:17,23 24:2 28:19
   138:9,9 140:11          18:12 21:17,20 22:3   median (18)               126:25 127:8,16,21       30:7,20 32:2,8 35:8
lower-exposed (1)          22:6,16               47:16,17 48:18 68:22      128:2,3,12 136:18        65:1 94:16 95:16,17
 65:2                    malignancies (1)          68:23 69:2,13 70:24     141:12,17,23             100:23 104:3,7,24
lowest (2)               28:1                      72:13,18,19 73:13       144:12,19,23 145:1       105:16 108:3 136:4
 84:8 134:7              man (1)                   75:10 88:5,8,18         146:21                 myeloid (2)
loyalty (1)              26:23                     145:25 146:1          misclassifications (1)   82:4,22
 100:20                  marginal-zone (1)       medical (2)             114:18                   myeloma (3)
lung (4)                 35:2                    140:3,9                 misrepresent (1)         28:19 30:7 35:8
 32:10 93:12,25          mark (2)                medium-exposed (1)      14:4
   135:22                72:23 122:3             65:3                    missed (2)                        N
lymphocytic (3)          marked (13)             melanoma (2)            47:3 49:6                n (4)
 34:19,19 77:19          4:9 10:7,14,21 18:23    32:10 135:23            missing (5)              3:1 4:1 29:12,12
lymphohematopoie...        19:2 27:22 73:1       Mental (1)              53:17 104:5 105:10       N.W (1)
 28:18 30:21 33:11,15      93:8,10 103:2 122:6   104:13                    105:12 110:12          3:16
   82:17 84:1,5,15         124:9                 mentioned (5)           mistakenly (1)           name (2)
   133:24 137:17         marriage (1)            13:13 46:18 142:25      113:15                   7:17 150:1
lymphoid (1)             149:14                    143:5 145:3           mistakes (1)             named (1)
 28:1                    Marriott (2)            met (1)                 16:3                     145:5
lymphoma (64)            2:11 7:13               9:5                     mix (1)                  national (10)
 9:10 12:11 23:11        match (1)               method (14)             133:2                    10:1,17 11:22 15:4
   33:23,24 34:14,17     61:22                   23:24 43:13,23 44:17    moieties (2)               25:12,16 26:6 104:6
   34:19,22 35:2,5,11    matched (1)               44:18 58:18 59:23     35:14 36:3                 104:12,25
   36:13 37:8 38:10,17   103:24                    60:2 97:14 98:9,19    moment (2)               nature (1)
   39:8 53:18 69:5,18    materials (2)             102:6 127:23 143:7    31:21 35:18              125:12
   69:23 70:12,24        5:2 10:15               methodologic (2)        MONDAY (2)               NCI (32)
   71:14 72:12 73:22     math (1)                135:9 140:20            1:18 7:1                 11:22 15:15 21:8 23:5
   76:12,20 77:4,15,18   62:9                    methodology (6)         monograms (1)              23:24 24:13 25:10
   77:21 78:6,14 80:1    matter (7)              14:5 24:4 25:1 27:4     19:4                       27:19 29:4 40:21,25
   80:6,20 81:13 82:4    7:8 63:6,7 113:17         98:25 128:10          monograph (13)             41:16 42:4 44:8
   82:14 87:21 88:7        130:8 131:8 149:15    methods (4)             5:6 17:6,9,10,13 18:2      47:21 68:19 88:4,19
   89:5,13 90:14 91:18   maximum (1)             13:11 42:5 43:14          18:12 20:3 21:20         90:12,22 91:16 99:6
   108:19 110:23         52:13                     116:20                  22:3,6,11,16             99:9 108:4 115:5


                                      TSG Reporting - Worldwide     877-702-9580
          Case 3:16-md-02741-VC Document 1137-4 Filed 02/16/18 Page 50 of 58


                                                                                                        Page 10

  123:11,20 124:2       non-exposed (1)           134:19 136:24           114:8 115:10,20         116:18,21 118:15
  126:2 130:21          48:12                     137:5,7                 116:2,12 117:10         121:14 127:10
  133:21 134:4          non-exposures (1)       number (30)               118:19 123:2,12         129:12,21 135:4
NCRA (4)                113:16                  4:9,21 7:6,11 8:21        124:7 125:6 126:8       136:17,21 137:12
1:24 2:13 149:5,23      non-Hodgkin (34)          14:15 15:3 18:23        126:18 127:2 128:6      137:14 138:11
nearly (1)              34:8,14,17 35:11 38:9     29:11 40:13,20          128:19 129:7,23         139:11 140:23
143:15                    38:17 53:18 69:5,18     49:15 65:17,20          130:7,24 131:16       omitted (2)
Nebraska (1)              69:23 70:12,23          67:23 68:15 70:2,19     132:17 134:10,24      117:3,6
70:7                      71:14 72:12 73:22       70:20 73:1 75:12        137:2,22 138:6        omitting (1)
necessarily (2)           76:20 77:14,18          87:16,18,19 103:1     objection (23)          107:7
67:19 126:20              78:13 80:6,20 81:13     117:18,23 141:5       9:14 18:17 36:10        once (1)
need (15)                 89:5,12 90:14 91:18     142:6 148:4             93:24 98:13 99:12     114:10
11:1 51:25 73:23 79:1     108:19 110:23         numbers (15)              101:25 105:3,19       ones (4)
  79:14,20,20 85:10       113:4 115:9 134:21    10:19 61:14 62:11,20      107:18 109:5 113:6    36:5 49:8 105:1
  110:12 111:16           136:12 137:9 147:8      64:13,22 65:15          114:12 119:14           119:25
  112:17 143:17,20      non-Hodgkin's (23)        67:11,24 68:1 80:23     120:22 121:6          opinion (3)
  143:24 144:2          9:10 12:11 23:11          80:25 93:7 122:5        125:17 127:17         11:15 12:8 14:2
needed (3)                33:24 36:13 76:12       136:11                  133:13 136:7          opinions (2)
52:16 143:12,18           77:4 78:5 79:25                                 140:15 145:6 147:1    9:8 141:11
needs (3)                 82:3,14 87:21 88:7              O             objections (1)          opposed (1)
48:22 69:4 70:11          130:23 131:13         o'clock (2)             18:15                   126:23
negative (10)             133:12,25 138:13      10:12,12                obliterate (1)          optimal (4)
13:17,23,25 32:17,23      140:12 145:11,15      object (144)            54:22                   47:7 61:5,9 62:17
  33:15,23,25 124:19      147:11,16             12:13 13:12 14:19       obscure (1)             optimum (1)
  124:21                non-optimal (1)           15:16,23 16:12,19     54:25                   65:5
negatives (1)           48:12                     17:2 18:3 22:25       observed (2)            oral (4)
14:7                    non-participants (2)      23:20 24:9,16,21      28:15 29:24             4:10,15 32:9 135:22
neoplasms (2)           122:23 132:8              25:19 28:7,24 29:19   obtained (3)            order (3)
84:5,15                 non-respondents (2)       30:9,15 31:1,16       44:25 48:5 49:16        8:21 70:13 131:7
never (6)               52:23 115:4               32:4 33:19 34:24      obvious (2)             original (12)
62:12 63:23 131:1       non-responders (2)        35:21 36:15 37:17     66:9 135:2              9:20,21 10:8,13 12:20
  133:17 142:25         123:19 133:5              38:12 39:21 41:19     occurred (6)              13:1,3,4,5 41:22
  143:17                non-response (2)          43:25 45:3 46:2,16    45:12 50:2 113:25         42:6 72:23
new (3)                 43:6,7                    48:16 49:3,7,24         114:19 127:22         originally (1)
7:20,20 25:3            non-significant (4)       50:24 51:6,22 53:6      128:2                 15:11
NHANES (1)              33:2,6 55:12,13           53:20 54:8 55:21      occurs (1)              others' (1)
104:11                  non-statistically (1)     56:20 57:12 58:3,12   119:19                  98:3
NHL (11)                80:12                     59:5 60:11,19 61:18   odds (7)                outcome (3)
11:16,23 12:2 28:2,18   non-user (1)              62:18,21 63:12 64:8   37:7,11 76:12 77:16     31:7 55:3 149:15
  29:25 30:5,7 73:16    50:4                      65:10 66:16,25 67:8     135:15 138:8          outcomes (4)
  101:16 117:8          non-whites (1)            67:17 70:4,14 71:1      140:11                23:11,16 31:8 71:17
nights (1)              132:23                    72:7,15 74:6,12,22    oh (3)                  outliers (1)
27:11                   nonsensical (2)           76:4 77:5 78:15       41:17 85:4 146:8        136:5
no-dose (1)             136:20 137:11             79:8,12 80:14,22      okay (57)               outline (1)
37:16                   Northern (2)              81:9,15 82:21 83:4    11:9 16:23 26:13 34:6   49:12
non- (1)                1:2 7:10                  83:19 84:2 85:24        38:4,6 42:12,24       outlined (1)
43:6                    Notary (1)                86:15,23 87:1,13        43:10,17 44:9,21      49:9
non-differential (18)   148:18                    88:9,21 89:7,23         47:2,13 48:25 50:8    overall (9)
53:2,5,7,19,21 54:20    noted (1)                 90:16,25 91:22 92:3     51:3 53:13 54:3       28:1,17 30:1 33:14,24
  55:14 66:8,20         148:6                     92:11 94:2,5 95:11      55:25 57:16 60:6        81:13 82:17 84:1
  124:17 125:4 129:6    notice (5)                97:5,11 100:15          63:6 64:22 65:17,24     114:23
  129:10 134:17         4:10,14 10:8,10 11:2      101:1,12 102:15         72:2 73:5 74:16       overreport (1)
  136:18 137:15,21      null (16)                 103:10 104:15           75:9 76:8 78:2 82:8   53:15
  138:4                 33:17 39:15 54:13,21      106:13 108:6,13,21      84:11 85:20 90:10
non-diseased (1)          54:25 55:6,16 66:24     110:25 111:18           98:8 99:4,25 110:4             P
64:14                     67:2,7,16 124:18        112:12 113:20           114:25 115:18         P (6)


                                     TSG Reporting - Worldwide     877-702-9580
          Case 3:16-md-02741-VC Document 1137-4 Filed 02/16/18 Page 51 of 58


                                                                                                        Page 11

  3:1,1 81:22 82:1,11   97:17 98:25 100:9       period (18)             134:12                 prevents (1)
  136:25                parties (1)             45:17 48:20 59:21       pointing (2)           137:9
P-trend (11)            149:13                    71:21 73:22 75:7,8    54:5 77:13             previous (2)
33:2 36:20 81:19,23     parts (1)                 76:15 80:20 96:6      points (1)             29:8 30:6
  81:23 82:5,12,23      119:21                    97:21,22 111:25       137:14                 primary (1)
  83:24 84:8,14         Pass (1)                  113:12 118:10         pool (3)               109:23
p.m (2)                 140:22                    124:12 142:18         9:19 23:7 126:3        principle (1)
148:3,6                 passed (1)                147:12                pooled (1)             61:13
page (37)               102:13                  person (5)              42:3                   prior (5)
4:2 6:2 11:13,14        pathologist (2)         53:13,14 60:2 69:4      poor (2)               9:5 10:7 45:1 72:20
  19:24 20:5 21:14      70:3,6                    70:11                 92:21 132:24             146:13
  28:12 29:2 43:12      pathology (1)           personality (1)         Portier's (2)          probably (25)
  47:4 52:19,25 61:7    143:8                   60:15                   90:4,9                 25:14,21 42:14,15
  66:10 73:4 94:14,23   patients (3)            perspective (4)         positive (5)             45:13 48:22 51:12
  95:4,5 104:2 107:5    62:4 78:20 79:7         27:24 28:14 29:7        13:21,24 54:22           51:16 57:10,13 71:2
  109:13,18 150:6,7,9   pattern (4)               102:13                  124:22 137:19          71:4,13 74:5,18
  150:10,12,13,15,16    31:22 34:8 135:21,21    pesticide (11)          positives (1)            75:4,11,24 76:8
  150:18,19,21,22,24    Pedram (2)              28:15 44:25 45:15       14:6                     79:19,20 99:22
pancreas (2)            3:12 8:3                  48:5 49:15 73:21      possible (10)            128:14 138:25
32:10 135:22            peer (9)                  93:1,3 142:6,13       23:10,15 78:19           139:16
paper (23)              25:15,20,25 26:1,5,15     146:22                  107:10 144:4         problem (8)
13:9 23:25 24:14          95:19 99:5 102:10     pesticides (10)           145:14,16,18 147:7   52:1 105:11,24 120:2
  25:11 27:2,20 40:21   peer-reviewed (4)       17:22,24 20:12 30:5       147:10                 124:15 126:12
  40:25 42:18 44:16     24:3 95:22 144:10         92:18 95:25 98:2,6    possibly (1)             127:15 129:13
  76:10 91:5,7 95:23      145:4                   133:2,3               136:4                  problematic (2)
  99:9 103:8 121:20     pending (2)             phase (4)               potential (2)          97:18 124:2
  121:21,23 123:5       82:19 85:18             107:8 119:24 120:7      124:18 144:18          problems (2)
  126:3 139:4 140:21    people (48)               120:10                potentially (1)        41:7 123:15
papers (8)              16:3 42:15 44:20        phone (1)               105:14                 procedure (21)
24:3 91:10 95:21,23       51:10,19 52:5 60:14   37:25                   power (13)             21:12 24:8 51:4,18
  95:24 98:3 102:22       61:8 63:21 64:14      PI (1)                  63:3,9,16 64:18 65:5     90:23 91:4 94:17
  121:24                  65:18 71:9 86:2       70:7                      65:16,21 66:2,22       95:1,5,19 99:8
paragraph (18)            88:8 98:17,18         pick (1)                  67:5,12,15 105:14      102:14 103:9,17
11:14 28:11 29:4,23       103:14,18 110:9       27:15                   pre-trial (1)            108:5 112:8,23
  41:7 43:12 44:23        111:23 112:5,10,25    piece (2)               8:21                     115:2,2 117:3,7
  45:7,9 47:4 73:7,10     119:20,23 120:4,5,6   115:18,24               precision (1)          procedures (1)
  73:13 94:15,25          120:9,17,18 121:15    pieces (1)              107:12                 17:1
  104:3 109:22,22         121:16,24 122:1,16    51:3                    predict (4)            process (4)
parameters (1)            122:17 123:6          plaintiffs (6)          58:8,23 59:10 67:6     133:7 143:11,24
107:12                    129:15 130:11         3:3,9 4:24 5:11 8:2,4   predicted (1)            144:2
parenthetical (1)         131:9,19 132:2,4,5    plant (1)               103:17                 produce (1)
39:13                     134:5,6 143:10        57:20                   preferable (3)         77:3
part (6)                perceive (1)            plausible (1)           107:7,17,23            product (1)
17:24 27:22 34:4        44:7                    96:3                    prepare (1)            59:1
  114:1 125:21          percent (30)            please (8)              143:11                 Products (3)
  127:23                41:10,14,23 42:9        7:24 8:10 11:13 12:17   present (2)            1:4 7:8 150:1
participants (4)          44:15,20 61:9,9         13:7 20:19 22:21      3:21 20:13             professional (1)
111:8,10 122:23           62:15,15,15,16,16       106:4                 presumably (1)         60:16
  132:8                   77:17,17,20,22        point (19)              113:24                 Progress (1)
participate (1)           107:9 110:18 112:3    31:22 38:1 39:7,8       pretending (1)         104:12
100:21                    112:20,21 115:3         40:2 47:5 55:17,18    103:15                 project (1)
participation (2)         118:4,14 131:19         60:1 76:14 77:1       pretty (6)             58:24
96:11,15                  135:7 141:18,21         81:7 119:6,7 126:22   18:7 51:15 58:7,8      proof (1)
particular (4)            142:2                   128:18 130:4            96:2 128:7           11:23
31:6,7 38:18 54:24      perform (1)               135:25 136:1          Prevention (1)         propensity (1)
particularly (3)        41:17                   pointed (1)             26:17                  131:12


                                     TSG Reporting - Worldwide     877-702-9580
          Case 3:16-md-02741-VC Document 1137-4 Filed 02/16/18 Page 52 of 58


                                                                                                           Page 12

proper (1)              quartile (2)            ran (1)                   37:22 57:17 124:20       142:4
27:6                    65:4 110:18              70:6                       135:2 137:7 139:3     regression (1)
properly (2)            quartiles (5)           random (4)                  140:6 150:6,7,9,10     94:16
52:17 88:15             35:20,23 81:1 134:7      53:10 103:14 135:13        150:12,13,15,16,18    related (2)
prospective (2)           134:15                   138:23                   150:19,21,22,24        5:3 149:12
146:10,14               question (27)           randomnesses (1)         reasonable (3)           relates (1)
prostate (7)            13:16 22:1 25:6,24       54:4                     38:11 140:2,8            1:6
32:10 93:17 94:6 95:3     44:2,3 52:1,12        range (1)                recall (11)              relative (12)
  95:10 101:10            53:10 58:16 64:3,4     106:9                    15:14,20 16:2,4,4,15     30:24 31:9,22 33:3,16
  135:23                  64:6 69:7 84:7        ranging (1)                 16:16 17:3 73:20         55:5,9 106:10
protective (2)            85:17 88:15,24         69:13                      74:11,16                 134:12,14,20
135:17 138:12             99:16 104:18          rarely (1)               recap (1)                   136:25
provides (1)              117:14 133:6           59:2                     47:24                   relatively (7)
25:2                      139:23 141:22         rate (8)                 received (1)              43:6 48:2,10 57:23
PTO (1)                   142:11 146:8,9         41:5 43:7,7 44:11        10:16                      59:2 71:8 97:20
4:21                    questionable (3)           45:22 48:2 90:23      recently-published ...   reliability (2)
Public (1)              13:25 102:8 130:16         110:17                 11:18                    14:10,14
148:18                  questioning (1)         rates (1)                Recess (4)               reliable (2)
publication (21)        8:25                     41:8                     40:10 68:12 117:20       24:14 118:17
5:4 8:23 9:13,25 18:8   questionnaire (42)      ratio (4)                   141:2                 relied (2)
  18:8,10 19:6,16       41:12,15,18 42:9,11      36:25 37:7,11 110:17    recommend (1)             89:22 108:10
  21:1,2 25:12,18         42:12,16 45:11,14     ratios (9)                129:18                  rely (3)
  29:6 48:23 102:22       45:20 51:19 52:9       76:12 77:16 78:1        recommended (1)           11:21 86:12 115:7
  141:13 144:13           97:23 110:6,10,11        124:23 135:3,15        25:11                   relying (4)
  145:2 146:9,24          111:9,12,24 112:4,6      138:8 139:12          record (13)               78:6,12,16 120:17
publications (9)          112:11 115:4 118:6       140:12                 8:19 19:11 40:9,14      remain (1)
22:9 23:7,17,23 95:17     119:22,24 120:5,8     raw (1)                     68:11,16 117:19,24     143:14
  95:18 143:2 144:11      120:10,18,19 121:5     125:24                     141:1,6 148:3         remember (17)
  145:4                   121:16,25 122:2,17    reach (1)                   149:10 150:4           26:7,9,11 51:14 61:6
publish (1)               123:9,19 131:11,23     14:11                   rectum (2)                  74:13,23 86:18,25
131:1                     132:21 141:19         reached (1)               32:9 135:22                87:15,25 88:1 89:15
published (14)          questionnaires (7)       119:11                  Reducing (1)                141:13 142:8 143:2
9:25 12:4 18:9,11       43:9 96:12,16 111:11    read (18)                 66:22                      145:12
  21:1 90:13 91:3,5       129:16 142:3           22:20 27:2,3 28:3,20    refer (1)                repeat (4)
  91:10,20 93:11,13       146:16                   29:14 30:8 71:19       17:9                     21:25 22:1 29:24 44:1
  93:16 130:19          questions (23)             90:4,8 94:1,3,19      reference (3)            report (31)
purpose (2)             6:1 21:16 22:15 52:10      99:15 101:16,18,18     68:21 76:25 144:15       4:18 5:7 9:21 10:14
118:15 147:18             52:15 64:11 74:7         102:1                 referenced (2)              11:11 13:5 15:6
purposes (1)              82:19 94:10 95:12     reading (3)               94:8 147:23                18:5 19:15 40:18
146:5                     101:14,19 102:2        44:22 84:14 132:13      references (2)              43:5 45:8 49:9,12
pursuant (2)              136:17 141:11,14      Ready (2)                 121:23 123:24              51:11 69:21,22
4:21 8:21                 142:2,4,8 144:7        56:14,17                referring (1)               72:22,23 78:23 83:5
put (1)                   145:9,12 147:25       real (7)                  61:12                      91:8 94:2,4,8 103:5
93:23                   quick (1)                11:8 39:5 96:16         refers (1)                  110:5,19 139:22
                        11:8                       103:20 119:18          16:2                       144:15 147:24
           Q            quickly (1)                124:18 144:3          reflect (1)              reported (5)
Q1 (1)                  18:7                    really (19)               41:15                    1:22 49:22 51:12
134:7                   quite (4)                12:25 14:1 25:5 37:12   reflects (1)                110:16 142:6
Q4 (1)                  10:16 58:18 92:17          46:19 48:20 51:25      46:19                   reporter (4)
134:7                     145:17                   52:16 57:14 58:20     regard (12)               7:21 8:10 78:10 149:6
qualifications (1)                                 59:14 62:25 71:21      21:10 40:3 51:15        Reporting (2)
60:16                             R                78:25 88:25 104:19       100:9 124:4,6          7:19,23
qualified (3)           R (2)                      131:17,20 135:16         126:16 129:5 142:2    represent (1)
60:10,17 143:11          3:1 149:1              Realtime (4)                142:10 145:19          140:4
quality (3)             raised (2)               1:24 2:14 149:5,23         146:20                representative (1)
22:12 52:6 104:11        41:7 126:10            reason (20)              regards (1)               139:17


                                       TSG Reporting - Worldwide    877-702-9580
          Case 3:16-md-02741-VC Document 1137-4 Filed 02/16/18 Page 53 of 58


                                                                                                            Page 13

reputable (1)            20:2 25:25 26:5,15         123:5,20,23           second (38)              sentences (2)
 12:4                      27:1,6,8,15 95:20     risk (22)                 10:10 11:13 34:4 41:6    107:6 109:23
required (2)               116:19                 28:14,17 29:9 36:25       42:16 44:23 45:7,21    separate (1)
 78:18 145:23           reviewed (10)               55:5,9,11 75:14         45:24 48:6 49:22        115:6
research (1)             20:1 21:3,20,21 22:3       76:16 77:25 79:7,23     50:5,17 59:13 66:11    series (3)
 27:17                     22:5 25:10 91:8          80:12 87:3,7,20         103:15 110:11           141:10 142:1,4
respected (1)              98:18 99:21              124:22 134:12           111:5,12,21 112:10     set (3)
 105:1                  reviewers (5)               135:3,4,5 139:12        112:21 115:4 118:5      119:10 149:9,16
respective (1)           25:16,21 26:1 99:5      risks (14)                 119:24 120:7,10,17     severe (1)
 134:14                    102:10                 23:15 30:24 31:9,22       120:19 121:15,25        146:24
respond (15)            reviews (4)                 33:3,16 77:8 78:19      122:2,17 123:19        Shimada (4)
 41:24 44:20 46:24       26:16,18,20,25             78:22 79:25 80:9        131:10,23 141:18        3:19 8:7,7 122:10
  103:14,16 119:23      right (144)                 134:14,20 136:25        141:22                 short (21)
  119:25 121:17          9:6,22 10:3 11:23       role (1)                 secret (1)                48:13 52:2 68:24
  122:18 123:7             14:20 15:6,15 16:11    11:16                    25:25                      70:25 71:3,4,4,8,13
  130:12 131:10,19         16:18,21 20:3 21:24   room (1)                 section (7)                 71:23 73:15 74:4,17
  131:23 132:21            22:13 23:8,12,18       37:25                    20:9 21:21 22:6 28:10      88:6,18 89:19,20
responded (5)              24:4,8 26:10 28:6     Roos (15)                  28:11 107:4 132:13        97:20 145:16
 42:10,16 121:15           28:20,23 29:14         12:20 13:1,3,9 15:12    secular (1)                 147:12,21
  122:16 129:16            30:25 31:15 34:10        22:8 29:6,17 40:23     48:7                    shorter (1)
respondents (3)            35:15,16,20 36:3         42:18,18 73:7 75:23   see (38)                  51:19
 52:21,24 106:11           37:4,6 38:22,23          139:3,4                20:7,9 31:13,24 37:6    Shorthand (1)
responders (2)             39:10,20 40:16        rotate (1)                 39:11,14 40:25 45:4     149:6
 44:24 133:5               41:16 42:1,7 43:13     57:21                     46:7 47:2 73:12        show (9)
responding (1)             43:14 44:5 45:2       Roundup (9)                75:5,12,17,19 76:11     18:1 34:8 37:2 67:21
 51:21                     46:4,11,12 49:1,14     1:4 7:8 11:23 12:1,10     76:16,17 77:15,22         68:2 74:9 76:20
response (15)              50:23 53:4 54:7,17       56:14,17 145:12         77:25 78:18 81:2,4        78:4 79:22
 37:16 41:5,8 43:15        55:2,7,19 56:5,10        150:1                   94:15,25 95:4          showed (2)
  44:11,14 45:22 48:2      56:14,19 57:11,19     row (2)                    103:24 107:14           9:17 121:24
  65:1,7 80:19 81:3,4      58:2 59:4 61:11,16     80:7,7                    110:2 114:20           showing (1)
  81:20 123:8              62:17,23 64:5 67:4    RPR (4)                    118:22 119:10           76:5
responses (3)              72:5,6,14,20 73:17     1:23 2:13 149:4,22        128:10 135:24          shown (1)
 44:19 103:18,21           78:14 80:8 81:8,14                               137:16 139:10           17:5
rest (1)                   81:19 82:2,10,17                  S            seeing (1)               shows (6)
 54:15                     83:14 84:9 85:12,13   S (2)                     103:16                   37:16 80:13 85:10,12
restricted (2)             86:22 87:4,21 91:8     3:1 4:8                 seen (1)                    85:14 123:14
 110:5 121:4               91:21 92:2 96:5       sample (1)                93:20                   significance (2)
result (7)                 97:21,22 102:14        103:14                  selection (8)             67:22 68:3
 54:20 67:13,24 92:24      103:18,22,23 104:8    saying (6)                107:10 119:19 120:3     significant (42)
  108:18 109:1             107:3 108:5,10,12      38:2 70:22 71:13          123:1 129:17,19         12:5 13:14 25:4 31:11
  147:17                   109:4 110:3,13,14        74:16 79:19 107:22      131:3 132:11              36:7,17 37:1,4
resulted (3)               111:14,17 112:11      says (4)                 sense (4)                   38:22,25 39:4,12,18
 46:10 87:20 124:13        112:24 113:19          20:9 104:2 107:5         25:2 136:20 138:14         46:10 55:10,12
resulting (1)              114:3,5,6,7,11,15        132:7                   146:15                    64:19 67:13,20,25
 114:11                    118:18 119:13         scenario (1)             sensitivity (23)            71:23 75:12,13 77:9
results (10)               121:5,9,12 122:18      57:23                    108:3,9,16 109:4,24        77:24 79:23 80:4,10
 12:23 54:12,13 78:25      122:19 123:1,7,8,11   scenarios (1)              110:1,21 111:5,13         80:12 82:24 113:2
  119:3,11,12,18           123:21 124:10          57:22                     111:21 112:21             122:25 124:13
  134:19 137:16            125:16 126:7 127:1    scientific (1)             113:11 114:6,21           125:10 127:7
retrospective (2)          129:22 132:11          99:8                      115:6 117:2 118:3         128:11 132:10
 146:10,12                 135:5,18 137:21       scientifically (4)         118:16 119:9 121:2        136:3,13 137:19
returned (1)               138:5 143:25 144:3     83:16 98:9 99:9,24        121:10 129:14             144:18,25
 41:11                  right-hand (1)           scope (3)                  130:18                 significantly (3)
reverse (1)              29:3                     18:4 29:5 83:5          sentence (5)              75:20 78:22 87:6
 50:10                  Rinsky (6)               score (1)                 11:15 53:4 54:16 66:7   similar (4)
review (10)              5:17 121:22 122:3        106:25                    105:9                   119:10,12,18 120:18


                                      TSG Reporting - Worldwide      877-702-9580
           Case 3:16-md-02741-VC Document 1137-4 Filed 02/16/18 Page 54 of 58


                                                                                                             Page 14

Similarly (1)            solid (3)                   137:1,4,5                98:19 100:14,17,19    subset (3)
 94:22                    27:25 30:20 33:8        started (6)                 101:14,24 102:5        42:21 107:11,13
Simultaneous (1)         somebody (4)              49:18 50:8 59:15,16        104:6,7,11,17,20,25   substance (8)
 78:9                     39:17 57:24 59:11          59:17,19                 105:11 124:21,22       31:14 32:1 70:12,16
simultaneously (1)          69:23                 starting (2)                126:4,7,10,19 128:8      70:19 77:3 98:10
 17:14                   somewhat (4)              10:7 101:4                 128:9 130:3 143:13       135:24
sir (63)                  63:16 64:18 136:1,2     starts (1)                  143:14,19 144:17      substances (8)
 10:23 11:12 12:16       sophisticated (4)         109:22                     146:25 147:13          12:2,10 17:15,18
   14:5 16:23 17:6,21     12:23 13:11 60:22       state (2)                study (147)                 20:16 23:14 71:16
   19:2 20:2 21:6,14        92:1                   19:25 149:2              5:5,12,13,14,15,16,17      99:10
   21:19 22:2 23:6       sophistication (1)       stated (2)                  8:23 9:12 10:18       subtypes (7)
   24:15 26:15 27:20      14:17                    21:3 102:17                11:22 12:4,6,20        28:2 30:1 33:22 34:14
   28:12 29:2,23 30:18   sorry (7)                statement (12)              13:1,3,15,16,21,22       76:13 78:5,14
   31:5,21 32:21 37:4     21:25 24:20 79:18        8:19 18:17 24:18 61:7      13:25 14:10,15 15:5   suggest (1)
   38:25 41:5 46:4          85:6 87:23 117:13        71:19 72:3,4 90:19       15:10,15 16:6,25       83:7
   52:25 61:6 73:4,19       122:11                   96:18,24 105:7           21:23 22:19,24 25:7   suggesting (2)
   74:11 75:22 77:12     sort (3)                    142:5                    25:9,22,24 27:24       140:10,13
   78:3 84:13 85:23       63:24 76:13 137:10      statements (4)              28:6,14,23 29:4,5,7   suggests (3)
   86:10 88:3 90:5       sorts (2)                 18:20,22 19:14             29:17,17 31:5,25       55:18 78:17 79:24
   93:10,18 94:13,22      126:4,5                    101:21                   42:3,4,5 48:13,21     summarizes (1)
   95:3 99:6 100:12      source (1)               STATES (1)                  52:5 54:11 61:21,21    20:10
   104:1 105:10 106:8     140:7                    1:1                        61:24 62:1 63:2       supplemental (26)
   106:24 107:5,14       span (1)                 statistical (5)             66:22 67:5 68:1,20     4:18 5:2 10:6,14
   112:20 122:9 123:5     39:14                    62:11 68:2 105:12,14       68:23 69:16 70:3         11:11 15:5 18:5
   125:14 126:2          spans (1)                   112:8                    71:15 73:7,14 75:18      19:15 40:18 41:11
   133:20 135:20          39:14                   statistically (17)          76:1 77:2 79:1,22        41:18 42:8,20 43:5
   139:19 147:7          speak (2)                 31:11 37:4 38:21,24        87:19,24 88:4,6,17       43:8,19 45:8 83:25
sit (2)                   99:4 123:20                39:3,12,17 67:21,25      88:19,24 89:3,10         84:16,18,22 85:7,11
 60:2 101:17             speaking (5)                75:19 77:24 80:3,10      90:12,13,22 91:16        94:2,4,8
situation (3)             16:18 18:15,20 25:8        81:23 82:24 113:2        92:6,23 93:11,13,14   supplementary (1)
 69:12 97:18 147:22         31:4                     137:18                   93:15,16,18 94:13      84:24
situations (1)           speaks (1)               stepped (1)                 94:17,23 95:3 96:10   support (4)
 96:3                     76:14                    64:6                       96:13 100:8,9,18       4:22 5:9 78:7 83:8
six (3)                  special (1)              stop (2)                    101:9,10,11 102:7     supporting (1)
 37:9 69:14 142:20        130:15                   38:4 56:22                 103:4 104:8,14         126:4
size (1)                 specialist (2)           stopped (4)                 106:8 107:5,23        suppose (2)
 14:15                    7:18 69:22               57:25 58:1 113:14,23       108:4 109:15           59:9 98:22
skill (1)                specific (5)             straddle (1)                118:17 124:2,15,19    supposed (1)
 106:25                   30:20 31:20 72:10,11     33:17                      125:8,12,22 126:13     139:20
skip (1)                    74:19                 straddling (1)              127:6,9,10 128:4,9    sure (8)
 107:3                   specifically (4)          31:12                      128:15,24 129:5,18     11:5 41:17 57:22
slightly (3)              23:5 25:8 53:9 74:14    Street (1)                  130:4,20,21 134:18       65:14 71:21 92:12
 35:25 53:13,15          speculate (1)             3:16                       135:10 139:15            97:12 116:11
small (11)                58:5                    strong (1)                  142:22 144:6,20,21    surprising (3)
 34:19 35:12 37:10,19    speculation (3)           70:17                      144:24 145:22          108:25 114:16 119:2
   38:10 67:23 71:24      58:13 140:14,16         studied (1)                 146:6,10,10           surrounding (1)
   80:24,24 122:25       stable (1)                98:3                    study's (1)               102:24
   132:9                  96:2                    studies (63)              97:3                    survey (16)
smaller (2)              standalone (1)            13:20,24 14:15,21,23    sub-groups (2)            22:8 42:6 43:16,20
 67:24 134:22             130:20                     15:21,22 16:10         62:25 64:17                45:2 46:1 48:6
smallest (3)             standard (1)                20:11 42:14 52:2      subject (1)                 49:19,23 50:3,5,16
 35:12 82:12 83:24        100:24                     69:8,18,19 70:2,7,8    130:22                     50:17 59:11,13
smoked (1)               stands (1)                  71:5,16,19 72:5       Subscribed (1)              103:15
 132:24                   101:25                     80:17 86:7,12,17,19    148:14                  surveys (3)
sole (1)                 start (7)                   88:10,14 89:1,15,16   subsequent (1)            41:9,21 104:6
 71:12                    7:5 27:21 47:25 49:14      89:22 97:14 98:18      22:9                    suspect (2)


                                      TSG Reporting - Worldwide       877-702-9580
           Case 3:16-md-02741-VC Document 1137-4 Filed 02/16/18 Page 55 of 58


                                                                                                             Page 15

   70:12 112:14             118:9 145:25          text (1)                    124:11 141:5           44:18 52:4 146:17
swear (1)                talks (4)                 42:4                       146:12 147:12         trying (6)
 8:11                     93:25 94:5,6 144:16     Thank (4)                   148:6                  44:5,10 47:24 60:24
switch (2)               tape (1)                  8:9 32:15 40:7 148:1    times (7)                   120:8,11
 117:4,15                 106:6                   thing (5)                 29:11 101:4 115:12      TSG (2)
switched (2)             tapes (1)                 46:13 56:1 72:10,11        117:11 123:25          7:18,22
 57:18,18                 117:15                     139:10                   146:1,1               tumors (2)
sworn (3)                technique (2)            things (5)               titled (1)                28:1 33:8
 8:15 148:14 149:9        100:24 105:16            27:15,16 46:24 56:23     68:20                   Turn (3)
Systems (4)              tell (9)                    81:18                 today (8)                 19:2,24 21:14
 1:24 2:14 149:5,23       41:3 47:3 49:17 53:4    think (22)                7:21 10:3 24:6 75:1     Turner (2)
                            56:2,7 62:12 77:12     10:24 13:15 25:4,20        89:17 129:4 144:13     3:22 7:17
          T                 112:18                   37:25 43:3 47:12,14      145:3                 twice (1)
T (3)                    telling (2)                 57:22 62:25 63:1      today's (1)               99:13
 4:8 149:1,1              36:24 37:11                65:15 69:6 73:23       148:5                   two (18)
T-cell (6)               tells (2)                   74:8 75:4 85:3        told (4)                  35:17 37:15 41:21
 35:11 36:13 37:8         135:8 136:15               87:16 124:9 128:7      40:19 56:1 57:7,8          42:2 48:4 61:14,15
   38:10,18 77:22        ten (13)                    129:9 130:12          top (3)                     64:9,10 74:19 82:18
table (35)                52:13 68:7,9 74:3       third (11)                26:11 88:12 89:16          103:24 117:1,2
 30:18,18,19 32:13          75:4,15,20,24 78:20    7:20 46:7,17 80:7       total (1)                   119:21 122:19
   34:1,2,3,5 37:23,24      85:12 86:22 87:5,10      113:11 115:15          28:17                      145:15 147:8
   38:3,5 76:9,17        tend (6)                    117:1 118:8 123:7,9   totally (1)              two- (1)
   77:12 79:24 82:2,11    54:6,23,24 66:23 67:6      123:10                 66:9                     61:22
   82:15,16 83:25 84:4      67:15                 thought (3)              toxic (1)                two-and-a-half (1)
   84:16,18,20,22 85:6   tends (1)                 116:8 129:24 130:2       147:20                   8:24
   85:8,12,15 106:24      16:9                    three (17)               train (1)                types (1)
   133:20,22 134:1,4     term (1)                  19:5 21:2 35:14 48:6     120:14                   118:21
tables (1)                129:3                      52:14 64:16,21        training (1)             typical (1)
 84:25                   terms (4)                   101:4,14 107:6         60:16                    69:8
take (15)                 13:17 16:21 48:14          108:16 109:23         traits (1)
 4:10,14 20:5 25:5,6        65:5                     115:5 118:16 119:9     60:15                             U
   27:5,19 37:24 40:6    tertile (1)                 130:18 145:5          transcription (1)        U.S (1)
   64:15 79:5 94:18       39:9                    three-to-one (1)          150:5                   7:9
   133:20 137:15         tertiles (3)              61:22                   tremendous (1)           Uh-huh (1)
   140:23                 35:22 36:1 81:1         threefold (1)             131:2                   138:17
take-home (1)            test (6)                  77:23                   trend (1)                ultimate (1)
 42:10                    108:4 109:24 111:13     ticking (1)               36:22                   86:5
taken (6)                   113:11 114:6           138:3                   trends (4)               unclear (1)
 8:20 40:10 52:8 68:12      118:16                tie (2)                   48:7 81:22 82:1,11      116:15
   117:20 141:2          tested (2)                18:7 19:14              tried (1)                undercounted (1)
takes (5)                 103:9,13                tied (1)                  44:16                   49:23
 76:19,23 77:2 114:3     testicular (2)            46:25                   true (28)                underlying (1)
   145:10                 32:11 147:18            tightly (1)               15:24 32:23 38:14       114:17
talk (8)                 testified (2)             136:3                      40:5 46:6 50:10       underreport (1)
 23:5 31:19 33:10 41:1    8:16 135:20             time (40)                   51:23 54:9,11,22      53:14
   59:25 69:1 109:11     testifying (1)            9:5 10:10 12:22 13:10      55:8,18 56:22 57:13   understand (8)
   119:5                  140:2                      16:16 17:17 18:9,11      63:8 65:8 67:1,13     16:17 27:4 44:2 127:5
talked (3)               testimony (14)              27:11 40:14 43:20        81:3,11,14 87:7         135:2,10,14 136:16
 32:7 95:15 112:1         74:25 75:2 79:13           45:17 47:17,19 52:8      109:9 125:5 130:25    understanding (1)
talking (22)                83:13 89:25 97:10        52:11 68:15,24           134:19 135:1          125:11
 10:2 16:17 18:10 19:9      124:8 125:18 129:8       69:15 72:18 73:14        149:10                understands (1)
   19:16 38:17,18           136:8 139:21 140:8       73:15,23 76:20 89:4   truly (1)                60:23
   39:20 56:13 62:9         143:3 149:11             94:18 96:2,8 97:21     137:5                   understood (1)
   66:18 69:17,19 73:6   tests (6)                   102:20 106:3          truncated (2)            102:23
   77:11 82:7 84:3        108:3,9 117:2 118:16       109:11 114:19          113:12 118:9            unexposed (7)
   85:7 95:7 107:19         119:9 130:18             115:12 117:24         try (3)                  47:8 61:10 62:6,14


                                      TSG Reporting - Worldwide       877-702-9580
          Case 3:16-md-02741-VC Document 1137-4 Filed 02/16/18 Page 56 of 58


                                                                                                       Page 16

  63:10 64:1 134:6      values (5)                50:15 52:3 58:20     100:21                   138:7 140:16,22
unfair (1)              32:25 33:1 36:6 67:4      63:17 92:14 99:17    Wilshire (1)             145:7 149:8,11,16
76:5                      136:25                  105:17,23 111:6      3:10                    words (2)
unique (3)              variance (2)              128:8,15 131:2,11    window (1)              71:7 110:6
96:18,24 97:1           66:24 67:1                149:14               59:16                   work (7)
uniquely (1)            variety (1)             ways (1)               withdraw (1)            17:25 26:22,24 27:1
124:1                   50:1                    108:11                 147:2                    27:10 97:9,13
UNITED (1)              various (5)             we'll (10)             withdrawing (1)         workers (1)
1:1                     34:14 53:1 54:18 66:7   19:19 31:19 41:1       103:13                  69:9
unlagged (1)              80:25                   42:24 50:21 59:25    witness (166)           working (3)
30:4                    version (1)               78:21 117:16 119:7   4:2 8:11,14 9:15 11:6   17:14,14 22:18
unpublished (1)         9:5                       140:23                 12:14 13:13 14:20     works (3)
9:18                    versions (1)            we're (10)               15:17,24 16:13,20     85:15 97:8,12
unsuccessful (1)        56:13                   10:2 18:10 19:10,16      17:3 23:1 24:10,17    worse (3)
45:24                   versus (3)                20:21 37:23 38:5       25:20 28:8,25 29:20   123:8 130:5,9
update (2)              62:5 65:19 139:7          39:6 66:17 117:18      30:10,16 31:2,17      wouldn't (15)
11:18 146:17            video (3)               We've (1)                32:5 33:20 34:4,7     16:17 50:7,13 52:11
updated (1)             1:15 2:9 7:18           19:20                    34:25 35:22 36:16      54:23 59:14,17,18
28:13                   video-recorded (1)      weak (1)                 37:18 38:13 39:23      59:19 80:11 83:16
usage (1)               7:6                     70:17                    44:1 45:4 46:17        113:17,17 114:20
47:6                    VIDEOGRAPHER...         weaken (2)               48:17 49:8,25 50:25    137:15
use (63)                3:22 7:4 8:9 40:8,12    12:9,18                  51:7,23 53:7,21       write (3)
28:13,16 29:9,25          68:10,14 106:5        weaknesses (1)           54:9 55:22 56:21      27:7 29:7 46:13
  35:13 44:25 45:15       117:4,17,22 140:25    40:21                    57:13 58:4 59:8       wrong (5)
  46:9 47:16 48:5,7       141:4 148:2           weekends (1)             60:12,20 61:19        41:3 47:15 62:7 124:6
  49:15,19,20,22 56:3   videotaped (2)          27:11                    62:22 63:14 64:9       137:20
  56:25 57:10 58:10     4:11,15                 weigh (2)                65:13 66:4,17 67:1    wrote (1)
  58:19,23,24 59:3,3    view (6)                14:7,24                  67:19 70:5,15 71:2    28:12
  59:20,22 60:5 62:12   22:7 69:3 70:10 98:8    weighing (1)             72:16 74:13,23 76:7
  68:4,22 69:2 77:1       116:1 136:23          14:14                    77:6 78:16 79:14,18            X
  78:1 92:23,25 94:3    volume (1)              weight (10)              80:15,23 81:10,16     X (2)
  96:1,4,5 97:18 98:5   20:13                   11:25 12:3,7,16,25       82:22 83:6,20 84:3    4:1,8
  98:20 102:25                                    13:2,2,8 15:11         84:21 85:5,25 86:18
  111:16,25 118:3,12              W               40:22                  87:2,14 88:12,23               Y
  121:11 124:10         WAGSTAFF (1)            weighted (2)             89:8,10 90:1,17       yeah (14)
  125:3 129:3,20        3:2                     91:19 92:1               91:1,23 92:4,12       11:7 42:20 44:14
  130:10 133:2 139:1    wait (13)               Weisenburger (13)        94:20 95:13 96:22       45:10 47:22 55:8
  143:6,18,24 144:2,3   63:12 64:2,2 79:16      1:16 2:10 4:3,13,17      97:12 98:14 99:18       84:7,19 95:9 107:21
  145:11 146:22           85:4 96:20,20 100:6     4:20 5:8 7:7 8:13      100:7,16 101:2,5,6      109:16 113:21
  147:15                  115:10 136:7            9:3 40:16 148:11       102:3,21 103:11         138:2 143:13
user (2)                  139:24,24,24            150:3                  104:19 105:6,22       year (24)
50:6,11                 want (24)               welcome (1)              107:21 108:7,14,22    45:1,16,18,18,25 48:6
users (1)               8:18 11:4 14:4 19:14    106:18                   109:8,18 111:3          49:16,21 51:11,14
58:10                     40:23 53:3 62:22      went (1)                 112:13 113:9,21         52:15 55:25 56:19
usually (2)               63:2 64:12 68:4       95:19                    114:15 115:13,15        56:19 57:9,20,25
26:8 27:18                71:20 75:8 82:20      weren't (4)              115:21 116:5,14         58:25,25 59:1,1,18
                          85:25 86:1,16 94:19   49:5 57:10 59:12         117:13 118:1,20         142:7 146:22
         V                97:16 101:18,20         133:1                  119:17 120:23         years (68)
valid (3)                 102:1 116:22 144:3    West (3)                 121:9 122:11 123:3    19:5 21:2 29:10 45:13
99:24 100:1 138:22        145:21                2:11 3:4 7:13            123:13 124:9 125:7      47:16,17,18 48:19
validating (1)          Washington (1)          WHEREOF (1)              125:21 126:9,19         50:16 52:10,12
126:5                   3:17                    149:16                   127:5,18 128:7,22       68:22,24 69:1,2,11
validity (3)            wasn't (2)              widely (5)               129:9,24 130:8,25       69:13,14,14 70:24
13:16 14:14 25:7        37:9 118:23             56:10 58:25,25 104:4     131:17 132:18           71:10,13 72:13,18
value (5)               way (18)                  104:25                 133:16 134:25           73:14 74:3 75:4,9
14:8 39:15 136:1,2,19   25:23 33:3 43:10 50:9   willingness (1)          136:9 137:3,23          75:10,16,21,23,24


                                     TSG Reporting - Worldwide    877-702-9580
          Case 3:16-md-02741-VC Document 1137-4 Filed 02/16/18 Page 57 of 58


                                                                                                        Page 17

  75:25 76:1,7,10,24    68:13,15                  34:2,3,5 37:23,24     77:20                   35 (1)
  76:24 77:1,2 78:2     103 (1)                   38:3,5 47:4 49:15     2741 (1)                77:22
  78:20 79:4,6 80:4,5   5:15                      52:19,25 55:12 61:7   1:5                     37 (15)
  80:5,5 85:21 86:3,8   10816 (3)                 106:16,17 107:8                               41:23 44:15,20 84:10
  86:10,13 87:12,17     1:23 2:13 149:22          117:23 133:20,22                 3              84:13 107:9 112:3
  88:1,5,19,20 89:6     11 (1)                    134:1,4 141:5 148:4   3 (23)                    112:20,21 115:3
  89:19,20 142:10,17    103:4                     150:4                 10:13 11:12 34:1          118:4,14 131:19
  142:20 145:15         11:06 (2)               20 (21)                   40:17 55:9,12 76:9      141:21 142:2
  147:9                 117:19,20               6:3,4 62:15,15,15,16      76:17 77:12 79:24
yield (1)               11:16 (2)                 62:16 63:11,11,11       82:2,11 83:25 84:4              4
137:18                  117:21,25                 63:11 69:10 75:10       84:16,18,22 85:6,8    4 (4)
yields (1)              11:41 (2)                 76:10 78:2 79:6         85:12,15 106:24       10:15 109:13,18
57:3                    141:1,2                   80:5 85:12 86:2,8       150:5                   134:15
York (2)                11:55 (2)                 135:7                 30 (4)                  40 (3)
7:20,20                 141:3,6                 20-year (8)             69:11 75:9 86:2,8       42:9 86:2,8
younger (1)             12 (6)                  80:20 82:6,12 83:23     30-11 (1)               413 (1)
132:22                  45:13 52:13 77:17         84:8,16 85:11,16      103:1                   107:5
                          122:9,13 142:20       2000 (1)                30-12 (1)               44 (2)
          Z             12:03 (2)               42:18                   122:5                   41:10,14
                        148:3,6                 20005 (1)               30-13 (1)
          0             12100 (1)               3:17                    122:6                              5
0.04 (2)                3:10                    2005 (19)               30-year (1)             5 (8)
82:5,23                 122 (2)                 9:12 13:9 15:12 22:8    78:21                   6:6 10:17 27:19 28:12
0.05 (3)                5:16,17                   29:6,17 40:23 41:22   31 (4)                    55:19 73:4 133:21
81:24,25 82:2           13 (1)                    42:7,19 73:7 75:23    36:19,22,24 84:12         134:4
0.3 (2)                 123:5                     113:12,14,23          31-1 (2)                5-year (1)
82:16 84:1              1350 (1)                  115:16,22 116:9       4:10 10:19              85:11
0.82 (1)                3:16                      118:12                31-10 (6)               5,779 (1)
110:18                  136023 (1)              2013 (1)                5:14 93:8 94:6 95:8,8   29:12
0.83 (4)                1:25                    9:18                      101:15                50 (2)
134:13,13,22,23         14 (2)                  2015 (1)                31-11 (1)               61:9,9
0.87 (2)                6:5 69:14               19:5                    5:15                    50/50 (3)
134:13,23               141 (1)                 2017 (1)                31-12 (1)               62:10,23 63:3
0.88 (2)                4:5                     5:3                     5:16                    545 (1)
134:13,23               147 (1)                 2018 (42)               31-13 (1)               94:14
0.89 (1)                4:4                     1:18 2:5 7:1 9:25       5:17
39:9                    15 (3)                    10:18 11:22 15:5,15   31-2 (2)                          6
                        77:17 80:5 85:12          21:8 23:5,25 24:14    4:14 10:19              6 (2)
          1             16 (1)                    25:10 27:20 29:4      31-3 (2)                19:3 45:13
1 (9)                   6:4                       40:21,25 41:16 42:4   4:18 10:20              6.7 (3)
7:6 10:8,12 39:14       16-md-02741-VC (2)        44:8 47:21 68:20      31-4 (2)                73:14 74:17 75:23
  40:13 68:15 117:18    1:7 7:11                  88:4,19 90:12,22      5:2 10:20               63 (1)
  134:15 150:4          18 (11)                   91:16 99:7,9 102:7    31-5 (2)                141:18
1,324 (1)               5:6 47:18 68:24 72:18     108:4 115:5 123:11    5:5 10:20               64 (2)
29:13                     75:25 76:1,7 88:19      123:20 124:2 126:3    31-6 (2)                95:4,5
1.0 (1)                   88:20 89:6,20           130:21 133:21         5:6 18:23
55:1                    19 (1)                    134:4 148:15          31-7 (2)                          7
1.2 (1)                 77:20                     149:17 150:2          5:7 73:1                7 (5)
55:13                   1993 (1)                21 (2)                  31-8 (4)                19:24 20:5 29:2 55:20
1.8 (1)                 42:6                    6:5 21:14               5:12 93:7,24 101:15       72:25
55:13                   1999 (2)                22 (6)                  31-9 (4)                700 (2)
10 (9)                  41:22 42:6              1:18 2:5 6:6 7:1,15     5:13 93:7 94:3 101:15   2:11 7:13
4:10,14,18 5:2,5                                  150:2                 34 (2)                  7171 (1)
  74:17 80:5 93:11                2             22nd (1)                4:22 8:21               3:4
  101:11                2 (28)                  149:17                  34,698 (1)              73 (1)
10:11 (2)               10:9 30:18,18 32:13     25 (1)                  111:10                  5:7


                                      TSG Reporting - Worldwide    877-702-9580
          Case 3:16-md-02741-VC Document 1137-4 Filed 02/16/18 Page 58 of 58


                                                                          Page 18

747 (1)
7:20
794 (1)
94:23

           8
8 (4)
28:12 29:2 93:10
  101:11
8.5 (16)
47:17 48:19 68:23
  69:1,13 70:24 71:10
  71:13 72:13 77:1
  79:4 86:10,13 87:12
  88:5 89:19
8:41 (3)
2:6 7:2,16
80226 (1)
3:5
87 (1)
138:2

          9
9 (4)
4:4 6:3 10:12 101:11
9:14 (2)
40:9,10
9:24 (2)
40:11,14
9:58 (2)
68:11,12
90025 (1)
3:11
91016 (1)
7:15
93 (3)
5:12,13,14
97 (1)
42:6
99 (1)
42:7




                            TSG Reporting - Worldwide   877-702-9580
